Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 1 of 167 Page ID
                                  #:5724




               ([KLELW2
               WR'HFODUDWLRQRI5REHUW)URPPHU




                                Exhibit O
                                  1457
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 2 of 167 Page ID
                                  #:5725


                                                                         Page 1

  1                           UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  2
                             Case No. 2:21-cv-04405-RGK-MAR
  3
  4          PAUL SNITKO, et al.,
  5                         Plaintiffs,
  6          vs.
  7          UNITED STATES OF AMERICA; TRACY
             L. WILKISON, in her official
  8          capacity as Acting United States
             Attorney for the Central
  9          District of California; and
             KRISTI KOONS JOHNSON, in her
10           official capacity as an
             Assistant Director of the
11           Federal Bureau of Investigation,
12                          Defendants.
             ________________________________/
13
14
                                   REMOTE DEPOSITION OF
15
                 SUPERVISORY SPECIAL AGENT JESSIE MURRAY, AS A
16              30(B)(6) REPRESENTATIVE OF THE UNITED STATES OF
                     AMERICA FEDERAL BUREAU OF INVESTIGATION
17
18                                Monday, July 11, 2022
                              10:00 a.m. - 3:04 p.m. (PDT)
19
20
21
22
23                            Stenographically Reported By:
24                             Kimberly Fontalvo, RPR,CLR
25                           Realtime Systems Administrator

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1458
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 3 of 167 Page ID
                                  #:5726


                                                                          Page 2

  1         APPEARANCES:
  2
  3         On behalf of Plaintiff:
  4         THE INSTITUTE FOR JUSTICE
            By:      ROBERT FROMMER, ESQ.
  5         By:      ROBERT E. JOHNSON, ESQ.
            By:      Michael Greenberg, ESQ>
  6         901 N. Glebe Road, Suite 900
            Arlington, VA 22203
  7
  8         On behalf of the Defendants:
  9         ASSISTANT UNITED STATES ATTORNEY
            ASSET FORFEITURE SECTION
10          By:      VICTOR RODGERS, ESQ.
            312 North Spring Street, 14th Floor
11          Los Angeles, California 90012
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1459
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 4 of 167 Page ID
                                  #:5727


                                                                         Page 3

  1                                        I N D E X
  2
           Examination                                                       Page
  3
           SUPERVISORY SPECIAL AGENT JESSIE MURRAY
  4        Direct                       By Mr. Frommer                            3
  5        Instruction not to answer                                           73
  6        Instruction not to answer                                           74
  7        Instruction not to answer                                          113
  8        Instruction not to answer                                          114
  9        Certificate of Oath                                                131
           Certificate of Reporter                                            132
10         Read and Sign Letter to Witness                                    133
           Errata Sheet (forwarded upon execution)                            134
11
12                                         EXHIBITS
13
14         No.                                                               Page
15         Exhibit 7             Supplemental Memorandum                       91
                                 on Box Inventory
16
           Exhibit 10            Agent Observations and                        85
17                               Notes form
18         Exhibit 12            Plaintiffs' Amended                              9
                                 Notice of 30(b)(6)
19                               Deposition
20         Exhibit 15            USPV Notice of Forfeiture                    120
21
22
23
24
25

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1460
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 5 of 167 Page ID
                                  #:5728


                                                                         Page 4

  1                     THE COURT REPORTER:             Please raise your
  2              right hand.
  3                     Do you swear that the testimony you are
  4              about to give will be the truth, the whole
  5              truth, and nothing but the truth?
  6                     THE WITNESS:         I do.
  7                                DIRECT EXAMINATION
  8          BY MR. FROMMER:
  9              Q.     Hello.      Thank you for joining me today.
10                      If you could, could you state your full
11         name, title, and address for the record, please?
12               A.     Jessie T. Murray, 4000 West Metropolitan
13         Drive, Suite 200, Orange, California 92868.
14               Q.     Thank you for that.
15                      My name is Robert Frommer.                I'm an
16         attorney with The Institute for Justice.                     We're a
17         non-profit public interest law firm.                   And we're
18         representing the Plaintiffs in this class action
19         challenge concerning the government's execution of
20         seizure warrant at U.S. Private Vaults in
21         March 2021.
22                      Before we begin, I want to go over some
23         ground rules with you for this deposition to make
24         sure that it -- we have the same understanding.
25                      Actually, can I ask you a question before

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1461
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 6 of 167 Page ID
                                  #:5729


                                                                         Page 5

  1        we begin?      Have you had your deposition taken
  2        before?
  3                A.    No.
  4                Q.    Okay.     All right.        I am constantly
  5        surprised by that.          A number of the government
  6        officials haven't been deposed, and I figured you
  7        guys did that all the time.
  8                      Okay.     Well, then, let me go through some
  9        of the ground rules since you haven't done this
10         before.      And hopefully that will keep things smooth
11         and efficient.
12                       So, I'm going to be asking you questions
13         and the court reporter is going to be recording both
14         my questions as well as your answers.                   To assist the
15         court reporter, I'll be sure to speak clearly and
16         audibly, and would ask that you kindly do the same.
17         Okay?
18                 A.    Okay.
19                 Q.    All right.       Now, when you are answering
20         the questions make sure, please, to answer each
21         question verbally.          You can hear it with me right
22         now, the court reporter can't record gestures or
23         things like "uh-huh" or "huh-uh," stuff like that,
24         but, you know, even though that's part of our usual
25         conversation, we need to be careful to say, "yes,"

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1462
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 7 of 167 Page ID
                                  #:5730


                                                                         Page 6

  1        "no," so the court reporter can get that down.                     So
  2        will you be sure to provide clear and verbal
  3        responses?
  4                A.      Yes.
  5                Q.      All right.     Great.
  6                        Normally, when we talk, like we're -- it's
  7        not quite as bad on Zoom, but normally when we talk
  8        with people, we often talk over each other, a lot of
  9        cross-talk and interrupt as part of the normal flow
10         of conversation.         In normal circumstances that's
11         fine.        But with a Zoom deposition, that can make it
12         almost impossible for the court reporter to get down
13         what we're saying.
14                         So, therefore, it's real important that
15         you wait until I finish a question before you begin
16         answering.        And I'd say that even if you think you
17         know where I'm going to go with the rest of it.                        And
18         by the same token, I will do my best to make sure to
19         let you finish your answers before I start up with
20         another question.          Do you understand?
21                 A.      Yes.
22                 Q.      Okay.   Great.
23                         Now, you were sworn in by Kimberly, the
24         court reporter, just a moment ago.                  Do you
25         understand that you have given an oath that says you

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1463
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 8 of 167 Page ID
                                  #:5731


                                                                         Page 7

  1        have to answer my questions truthfully and
  2        completely?
  3              A.     Yes.
  4              Q.     All right.        In fact, do you understand
  5        that's the exact same oath you would be taking if
  6        you were testifying in court in front of the judge?
  7              A.     Yes.
  8              Q.     All right.        Now, if you don't understand a
  9        question I ask, which could very well happen, please
10         just let me know.          Depending on, well, if it was a
11         good question or not, I'll either ask the court
12         reporter to ask that question back or to repeat the
13         question back, or I will rephrase to try to clarify
14         the question.        So, please, will you tell me when you
15         don't understand a question?
16               A.     I will.
17               Q.     Okay.      Great.
18                      Now, and if you don't know the answer to a
19         question, it's fine to say so.                It's fine to say "I
20         don't know."        But if you do know the answer, or if
21         you actually do know the answer, then under the oath
22         you just took, you have you to provide that answer,
23         a full and complete answer in good faith.                     So I'm
24         going to assume, unless you say otherwise, that you
25         understand my questions when I ask them.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1464
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 9 of 167 Page ID
                                  #:5732


                                                                         Page 8

  1                     Now, if you want to talk to your lawyer,
  2        Victor, that's fine.           The only thing I'd say is if
  3        there's a question pending, or if you are in the
  4        middle of a response, you have to finish your answer
  5        and then we can take a break -- we can take a quick
  6        break; you can speak to Victor.                 Okay?
  7              A.     Okay.
  8              Q.     All right.        Because it's important to get
  9        full, complete, and accurate testimony, I have to
10         ask, is there -- are you taking any medication that
11         would -- might make it difficult for you to
12         understand or answer my questions today?
13               A.     No.
14               Q.     Okay.      And is there any other reason why
15         you might not be able to give full, complete, and
16         accurate testimony today?
17               A.     No.
18               Q.     Now, sometimes the government's attorney,
19         Victor, may state an objection after I ask a
20         question.      That doesn't mean you don't have to
21         answer it.      If he's -- he will specifically instruct
22         you not to answer a question.                But an objection --
23         you still have to answer, even if Victor makes an
24         objection, because the purpose of the objection is
25         to simply record it so that if I want to use your

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1465
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 10 of 167 Page ID
                                  #:5733


                                                                         Page 9

  1        answer to a question later on, the government can
  2        say that question was improper under the rules of
  3        evidence.      Do you understand?
  4               A.     Yes.
  5               Q.     All right.       Sometimes -- happens all the
  6        time -- after you've answered a question, you might
  7        remember additional information or a clarification
  8        about some earlier question.               If that happens, it's
  9        fine, just let me know and -- that you would like to
 10        add something, and we'll make sure to do that while
 11        it's still fresh in your mind.                Okay?
 12               A.     Okay.
 13               Q.     If you would like to take a break at any
 14        time, just let me know.             I will finish my line of
 15        questioning, if we're in the middle of a line, and
 16        let you finish your answer and then we can adjourn
 17        for a break.         Okay?
 18               A.     Okay.
 19               Q.     All right.       Good.
 20                      And I understand that it's 10:09 out
 21        there.      I will try to get you out for lunch around
 22        noon, so we'll try to have a -- hard break in about
 23        two hours, okay?
 24               A.     Okay.
 25               Q.     Now, during our conversation, you may

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1466
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 11 of 167 Page ID
                                  #:5734


                                                                       Page 10

  1        think of some documents or materials like a calendar
  2        or appointment book that might help you remember
  3        your answer, if you can think of something like
  4        that, please tell me about it because we might have
  5        that material in our files and we might be able to
  6        provide it to you.          Okay?
  7               A.    Okay.
  8               Q.    All right.        Now, with all that said, do
  9        you have any questions for me?
 10               A.    No.
 11               Q.    All right.        Well, then, let's start out by
 12        introducing an exhibit.
 13                     MR. FROMMER:         This is listed as
 14               Exhibit 12.       It was previously introduced at
 15               the deposition on June 30th.                It is an amended
 16               30(b)(6) notice.
 17                     When you have a moment, if you could take
 18               a look at that, get a chance to familiarize
 19               yourself with the document, please.
 20                     (Thereupon, marked as Exhibit 12.)
 21                     MR. RODGERS:         For the record, I'm just
 22               handing her a copy of the amended notice of
 23               deposition that I have.
 24                     MR. FROMMER:         That's fine.
 25

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1467
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 12 of 167 Page ID
                                  #:5735


                                                                        Page 11

  1           BY MR. FROMMER:
  2               Q.     When you are ready, just let me know.
  3               A.     I'm ready.
  4               Q.     Do you recognize this document?
  5               A.     Yes.
  6               Q.     Can you tell me what it is?
  7               A.     Plaintiffs' Amended Notice of 30(b)(6)
  8        Deposition.
  9               Q.     Okay.      Is it your understanding that you
 10        are appearing today on behalf of the United States
 11        to answer questions regarding the topics listed in
 12        this notice?
 13                      MR. RODGERS:         I'll speak for the witness.
 14               She's here today to answer the questions on
 15               Topic Numbers 8 and 10.
 16           BY MR. FROMMER:
 17               Q.     Okay.      Can you describe your
 18        qualifications to speak on Topics 8 and 10 that are
 19        listed in the exhibit?
 20               A.     I am currently the supervisor of the asset
 21        forfeiture units of the Los Angeles office of the
 22        FBI.     I have been so since 2019.
 23                      Prior to that, I was a special agent on
 24        the asset forfeiture squad for a number of years.
 25        And going back to '96, for about four or five years,

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1468
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 13 of 167 Page ID
                                  #:5736


                                                                       Page 12

  1        I was also an asset forfeiture agent.
  2               Q.    Oh, so you've been -- and was this all at
  3        the FBI?
  4               A.    Correct, all at the FBI, Los Angeles
  5        office.
  6               Q.    Okay.      So how many years, total, while
  7        you've been at the FBI field office in Los Angeles
  8        office, have you been involved in work regarding
  9        asset forfeiture?
 10               A.    Approximately ten years as an agent, and
 11        three years or so as a supervisor.
 12               Q.    Okay.      All right.        And do you get training
 13        to -- is there specialized training that's involved
 14        with doing asset forfeiture work at the FBI?
 15               A.    Yes.
 16               Q.    Can you describe that for me?
 17               A.    There are annual asset forfeiture
 18        conferences and then there are different trainings
 19        throughout the year on different topics in different
 20        locations that you either are invited to or request
 21        to attend.
 22               Q.    So there's periodic trainings that occur
 23        that are specific to asset forfeiture; is that
 24        correct?
 25               A.    Yes.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1469
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 14 of 167 Page ID
                                  #:5737


                                                                       Page 13

  1               Q.    Okay.      And with all that, is there anyone
  2        who you believe would be more knowledgeable than you
  3        on -- to be able to discuss Topics 8 and 10 in the
  4        amended 30(b)(6) notice?
  5               A.    Do you mean more knowledgeable in the FBI
  6        LA office or the FBI in general?
  7               Q.    Well, Topic 8 is about the administrative
  8        forfeiture process with regards to
  9        U.S. Private Vaults.           Topic 10 is about how the
 10        disposition -- disposition of forfeiture proceeds to
 11        constituent agencies who were involved in the
 12        U.S. Private Vaults action.               So I'm focused
 13        specifically on the LA field office.
 14                     So with that, can you think of anyone who
 15        would be more knowledgeable than you on Topics 8 and
 16        10.
 17               A.    I am qualified to speak on those topics.
 18        I don't know if I would say I am the most qualified
 19        person to speak on those topics.
 20               Q.    Well, do you think there is someone who is
 21        more qualified than you to speak on those topics?
 22               A.    In the Los Angeles office, I am most
 23        likely the person most knowledgeable about these,
 24        but there are perhaps other people most qualified.
 25        I wouldn't say that I am the best person

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1470
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 15 of 167 Page ID
                                  #:5738


                                                                        Page 14

  1        knowledgeable about all of these topics.
  2               Q.     Okay.      I am not -- I understand.                 I am not
  3        trying to put you out to be like the world's
  4        foremost authority on civil forfeiture.                     But you do
  5        have good knowledge about the administrative
  6        forfeiture proceedings, both in this case and then
  7        the forfeiture process generally; is that fair to
  8        say?
  9               A.     Yes.
 10               Q.     Okay.      There you go.
 11                      Can you tell me:           What did you do to
 12        prepare for today's deposition?
 13               A.     I spoke with Victor and I also read this
 14        Plaintiffs' Amended Notice of 30(b)(6) Deposition.
 15               Q.     Did you read any other documents besides
 16        the amended notice?
 17               A.     Specifically with regards to
 18        U.S. Private Vaults?
 19               Q.     Specifically with regards to -- in
 20        preparing for this deposition.
 21               A.     No.
 22               Q.     So you didn't happen to look at the -- any
 23        of the -- scratch that.
 24                      So your preparation for today was talking
 25        to the counsel for United States and reviewing the

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1471
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 16 of 167 Page ID
                                  #:5739


                                                                       Page 15

  1        amended 30(b)(6) notice; is that correct?
  2               A.    Yes.
  3               Q.    All right.        But no other documents; is
  4        that correct?
  5               A.    Correct.
  6               Q.    Before we begin talking, I understand that
  7        you are here today as the representative of the
  8        United States.        And what that means is that, unless
  9        I say otherwise, your answers are the answers of the
 10        United States.        But right now I want to get some
 11        background about you, the person, as opposed to you
 12        the representative.
 13                     You may have already done this, but could
 14        you tell me your full name, please?
 15               A.    Jessie.       My middle initial is T-S-U-I,
 16        dash, S-H-I-H.        Last name, Murray, M-U-R-R-A-Y.
 17               Q.    Okay.      Great.
 18                     Do you mind tell me your age, please?
 19               A.    52.
 20               Q.    And are you from Los Angeles originally?
 21               A.    Yes.
 22               Q.    So did you -- are you born and raised
 23        Angeleno?
 24               A.    Yes.
 25               Q.    Where did you go to -- could you tell me

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1472
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 17 of 167 Page ID
                                  #:5740


                                                                       Page 16

  1        your school history, your educational history?
  2               A.    Starting from where?
  3               Q.    Oh, let's start with college.                 I don't
  4        need to know where you went to fourth grade.
  5               A.    I went to and graduated from UC Irvine and
  6        then I went to McGeorge Law School.
  7               Q.    And did you finish law school?
  8               A.    Yes.
  9               Q.    So you have a law degree?
 10               A.    Yes.
 11               Q.    When did you graduate from McGeorge,
 12        roughly?
 13               A.    1994.
 14               Q.    And can you tell me, after you got the
 15        degree from McGeorge, what did you do after law
 16        school?
 17               A.    I held a temporary job while my
 18        application process was going through at the FBI.
 19               Q.    So you had applied immediately after law
 20        school to become a special agent at the FBI?
 21               A.    Yes.
 22               Q.    And so when did you get accepted to join
 23        the FBI?
 24               A.    About a month before I started Quantico,
 25        which was September 17, 1995.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1473
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 18 of 167 Page ID
                                  #:5741


                                                                       Page 17

  1                Q.   You know exactly where I'm going next.                   So
  2        you went to Quantico in September of '95.
  3                     How long does the FBI training at Quantico
  4        last?
  5                A.   Right now it's about four months.
  6                Q.   How about when were you doing it?
  7                A.   I graduated January 17th, so it was a
  8        little bit longer back then, closer to five months.
  9                Q.   Okay.      All right.        And what sort of
 10        things -- is that where they teach you sort of the
 11        nuts and bolts of being an FBI agent?
 12                A.   Yes.
 13                Q.   Okay.      And did you have practice doing
 14        arrests in Hogan's Alley?
 15                A.   Yes.
 16                Q.   And did they teach you there how to, like,
 17        execute a warrant, a search or seizure warrant?
 18                A.   Yes.
 19                Q.   And generally -- and did they teach you
 20        about -- did they -- one thing I'm interested in
 21        when you go through this FBI training is, are there
 22        any modules about, like, constitutional rights,
 23        like, here's people constitutional rights, here's
 24        how we should act so as to avoid infringing on them?
 25                A.   Yes.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1474
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 19 of 167 Page ID
                                  #:5742


                                                                        Page 18

  1               Q.     And did that, if you recall, include some
  2        discussion of how to avoid violating someone's
  3        Fourth Amendment rights?
  4               A.     Yes.
  5               Q.     And what is your official position name
  6        now?
  7               A.     Supervisory special agent.
  8               Q.     Supervisory special agent.
  9                      And is that term basically a --
 10        supervisory special agent is just -- it's, like, a
 11        supervisor of multiple special agents, it's one
 12        level up; is that an accurate description?
 13               A.     Yes.
 14               Q.     So who is it that you are supervising as a
 15        supervisory special agent?
 16               A.     The asset forfeiture squad of the
 17        Los Angeles office.
 18               Q.     Can you tell me a bit about that squad?                  I
 19        don't know much about it.               What is -- can you just
 20        describe to me the asset forfeiture unit in the LA
 21        FBI field office, like how many agents are there,
 22        how -- just -- I mean, I just want you to sort of
 23        tell me about it generally because I don't know
 24        anything about it.
 25               A.     There are two special agents on the squad

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1475
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 20 of 167 Page ID
                                  #:5743


                                                                       Page 19

  1        and other staff positions.
  2               Q.    And what do the special agents do?
  3               A.    They work with the criminal case agents on
  4        asset forfeiture investigations.
  5               Q.    And are they -- so they work with criminal
  6        investigators.        And is the -- what are the two
  7        special agents' names?            Your two asset forfeiture
  8        squad agents who work under you, what are their
  9        names?
 10               A.    Heather Campbell and Doris Webster.
 11               Q.    And you said -- so you have two -- and
 12        they're -- you said they're special agents, right,
 13        so they're full FBI special agents.
 14                     And then you mentioned some other staff
 15        positions, and I was wondering if you can tell me
 16        who those people are?
 17               A.    We have four paralegal specialists.
 18               Q.    Okay.
 19               A.    Do you want their names?
 20               Q.    Sure.
 21               A.    Judy Scott, Steven Olson, Karla Adachi
 22        Adoche, and Katherine Pimentel.
 23               Q.    Can you tell me:           What is their job, the
 24        paralegal specialists, and how does it differ from
 25        the special agents we talked about previously?

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1476
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 21 of 167 Page ID
                                  #:5744


                                                                       Page 20

  1               A.    The paralegal specialists are support
  2        staff positions and they process the case, they
  3        handle the paperwork, they get asset ID numbers, get
  4        reports, upload it, send letters, more of the
  5        administrative part of the asset forfeiture
  6        investigation.
  7               Q.    So they are the ones -- are they the ones
  8        who are, like, processing the evidence as part --
  9        I'm trying to figure out a good way to say this.
 10                     So the asset forfeiture paralegals, are
 11        they involved in collecting and assembling the
 12        evidence that could be used at a potential
 13        forfeiture proceeding?
 14               A.    No.
 15               Q.    So what are they doing?               I really don't
 16        understand then.
 17               A.    They receive the reports, description of
 18        the assets.        They work with the United States
 19        Attorney's Office and the Marshals Service, with all
 20        the various communications about the status of the
 21        investigation, arranging the transfer of custody,
 22        gathering reports, sending notice letters,
 23        communicating with attorneys and sometimes claimants
 24        and victims.        Doing petition investigations when
 25        victims are requesting for money back that we've

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1477
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 22 of 167 Page ID
                                  #:5745


                                                                       Page 21

  1        seized from the defendants.               So they handle the
  2        paperwork, the processing of the case
  3        administratively.
  4               Q.    Okay.      So they're deeply involved in the
  5        administrative processing of forfeiture matters in
  6        your unit; is that right?
  7               A.    Yes.
  8               Q.    And so you said that they were -- you
  9        mentioned a lot about reports and I'm little
 10        confused what you mean by "a report" there.                       So I'm
 11        trying to understand this generally.
 12                     Let's just walk through -- I'm just trying
 13        to understand what asset -- the special agents, I
 14        think I understand.           Although can you describe to me
 15        a little more clearly, you said that the special
 16        agents, your two asset forfeiture special agents,
 17        work in conjunction with the criminal investigators;
 18        is that correct?
 19               A.    Yes.
 20               Q.    And what are they doing when they're
 21        working in conjunction with the criminal
 22        investigators?
 23               A.    They're talking to them about their case.
 24        They're either asking them or helping them identify
 25        assets that could potentially be subject to seizure,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1478
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 23 of 167 Page ID
                                  #:5746


                                                                       Page 22

  1        reviewing bank records regarding tracing of the
  2        criminal proceeds to a particular type of assets.
  3        And at times they're working on seizure warrant
  4        affidavits and then getting those seizure warrant
  5        affidavits sworn out and executing seizure warrants.
  6               Q.    Okay.      So they're working pretty
  7        closely -- your asset forfeiture special agents, it
  8        sounds like they're working pretty close with the
  9        criminal investigators, helping the investigators
 10        identify assets that might be subject to seizure and
 11        potential forfeiture activity, and helping move that
 12        process along, the potential of seizure and
 13        forfeiture, that process along.                 Is that an accurate
 14        statement?
 15               A.    That is a common role that they play.                    And
 16        it depends on the type of investigation.                     Sometimes
 17        they don't have that opportunity to be so fully
 18        involved.      Sometimes we don't find out about
 19        something until right before.                So it can vary the
 20        level of involvement.
 21               Q.    So it's better than -- it's best practice
 22        to get your asset forfeiture people involved in
 23        investigation as early as possible; is that
 24        generally good practice?
 25               A.    Yes.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1479
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 24 of 167 Page ID
                                  #:5747


                                                                       Page 23

  1               Q.    If the asset -- and the reason -- I just
  2        want to make this explicit because I want to make
  3        sure I'm correct.          The reason is because if the
  4        asset forfeiture people are brought into the process
  5        too late, you might not be able to, like, capture
  6        the information or otherwise gather the information
  7        you would need to be able to make a meaningful
  8        decision about whether to seize and/or forfeit a
  9        particular item of property?
 10               A.    That could be one of the reasons, yes.
 11               Q.    What's another reason?
 12               A.    We might not be able to get notice letters
 13        out on time if we don't have the information on a
 14        timely basis.        So that's another reason.
 15               Q.    Oh, so you are saying that if the criminal
 16        people don't loop you in early enough, it might be
 17        that the statutory period for sending out an
 18        administrative forfeiture notice might lapse before
 19        you really have a chance to get involved?                     Is that a
 20        fair summary of what you are saying?
 21               A.    Yes.
 22               Q.    Makes sense to get you in early.
 23                     So you said before you became the
 24        supervisory special agent, you were actually the
 25        special agent on asset forfeiture; is that right?

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1480
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 25 of 167 Page ID
                                  #:5748


                                                                       Page 24

  1               A.    One of the special agents on the asset
  2        forfeiture squad.
  3               Q.    And there's usually what, two?
  4               A.    There have been three at times and more in
  5        the past.      Right now there are two.
  6               Q.    Okay.      Is there a reason that the number
  7        of special agents tasked to asset forfeiture changes
  8        over time, or is it just the demands of the job?
  9               A.    That is a management question.
 10               Q.    Okay.
 11               A.    Higher level executive management, above
 12        my pay grade.
 13               Q.    Okay.      So you know times you've got two
 14        agents, sometimes you've got three agents.                        You
 15        don't know why.         That's just what it is.
 16                     And then you said you have four paralegal
 17        specialists right now; is that correct?
 18               A.    Yes.
 19               Q.    Is that number also subject to some
 20        variations?
 21               A.    That has stayed the same throughout my
 22        time on the squad.
 23               Q.    Okay.      All right.
 24                     It sounds to me like you are really
 25        involved in asset forfeiture, like, stem to stern,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1481
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 26 of 167 Page ID
                                  #:5749


                                                                       Page 25

  1        like the whole process.             Would you say that's -- is
  2        that accurate?        Are you familiar with the overall
  3        forfeiture process?
  4                     MR. RODGERS:         Objection.        Vague and
  5               ambiguous.       Beyond the scope of the topics.
  6               A.    So now I answer, correct?
  7           BY MR. FROMMER:
  8               Q.    Yes.     Now you answer.
  9               A.    I know, generally, the asset forfeiture
 10        process.     I have been involved in the asset
 11        forfeiture squad in the Los Angeles office for many
 12        years.
 13               Q.    So it's fair to say that you are familiar
 14        with the process for seizing items for forfeiture
 15        purposes, correct?
 16               A.    From the agent's perspective, yes.
 17               Q.    And you're familiar with the process of
 18        sending out an administrative forfeiture notice,
 19        correct?
 20               A.    The agents don't send those out.                     I am
 21        familiar with the notice letter, but I don't have a
 22        hand in those getting sent out.
 23               Q.    Okay.      But have you a supervisory role,
 24        correct?
 25               A.    Yes.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1482
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 27 of 167 Page ID
                                  #:5750


                                                                       Page 26

  1               Q.    I understand that you yourself are not
  2        writing out the administrative forfeiture notices,
  3        but that's -- members of your staff do that; is that
  4        correct?
  5               A.    Not my staff.          They do not generate those
  6        notice letters.
  7               Q.    Oh, where do administrative forfeiture
  8        notice letters get originated from then?
  9               A.    From our headquarters in Washington, D.C.
 10               Q.    Okay.      So an administrative forfeiture
 11        notice that someone receives, comes out of the D.C.
 12        headquarters; is that fair to say?
 13               A.    Yes.
 14               Q.    And now is that the case just for your
 15        field office, or is that generally how it works for
 16        the FBI altogether?
 17                     MR. RODGERS:         Objection.        Beyond the scope
 18               of the deposition notices.
 19               A.    Generally, all the FBI office
 20        administrative forfeiture notices get sent from
 21        headquarters in Washington, D.C.
 22           BY MR. FROMMER:
 23               Q.    So you're involved in the seizure
 24        decisions.      I assume -- are you also involved in the
 25        decision of whether to move for administrative

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1483
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 28 of 167 Page ID
                                  #:5751


                                                                       Page 27

  1        forfeiture as to any given piece of property?
  2               A.    I as a supervisor of the asset forfeiture
  3        squad. I make the call, along with our special
  4        agents, about whether or not we go forward.
  5        Sometimes the agents make the decision on their own.
  6        Sometimes we discuss it.
  7               Q.    I'm actually -- I'm quite interested in
  8        this because it's something that I just don't
  9        understand.
 10                     So let's say that -- let's say the FBI has
 11        seized an asset, okay?            And you are thinking maybe
 12        potentially we want to pursue administrative
 13        forfeiture on this.           Can you just walk mow through
 14        the process by which you and your team decide
 15        whether, in your opinion, the FBI should pursue or
 16        not pursue administrative forfeiture?                   I don't know
 17        anything about this process.
 18                     MR. RODGERS:         Objection.        Calls for a
 19               narrative.
 20               A.    We look at the facts of the investigation
 21        and whether or not there's probable cause for the
 22        seizure.
 23           BY MR. FROMMER:
 24               Q.    So if there is -- okay.               Well, I get that.
 25        Let's say you have a seized item.                  The item has

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1484
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 29 of 167 Page ID
                                  #:5752


                                                                       Page 28

  1        already been seized.           Then you -- so you have the
  2        seized item.       It's in some warehouse.              I don't know.
  3        And you are deciding whether to recommend -- whether
  4        to recommend pursuing administrative forfeiture on
  5        that property, on that piece of property.                     Can you
  6        just -- what I'm trying to understand is sort of
  7        that process by which you make those determinations.
  8        Can you describe to me how you work with the special
  9        agents to decide whether, yes, we should recommend
 10        that this go through administrative forfeiture or
 11        instead it should be returned?
 12                     MR. RODGERS:         Same objection.
 13               A.    It depends on if we have a seizure
 14        warrant, then the seizure warrant, there's been an
 15        affidavit that's been reviewed by a magistrate
 16        judge, and the magistrate judge has signed off on
 17        that, that's one of the ways.                And then another way
 18        is a probable cause seizure pursuant to an arrest or
 19        search warrant.         So we look at the facts of the
 20        investigation to decide whether we pursue it.
 21           BY MR. FROMMER:
 22               Q.    Pursue it is what -- that's what I'm
 23        getting at.       I'm not talking so much about the
 24        seizure.     I'm assuming the FBI already has the item
 25        in its custody.         I'm talking about more the decision

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1485
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 30 of 167 Page ID
                                  #:5753


                                                                       Page 29

  1        on whether to move on forfeiture.                  That's what I'm
  2        trying to understand.            So I'm little confused by
  3        your word "it" there.
  4               A.    So if I have gone -- if we have gone
  5        through the effort to get a seizure warrant, then
  6        the decision has been made that we're going to seize
  7        and attempt to ultimately forfeit that.                    And the
  8        same with a probable cause seizure via an arrest or
  9        search warrant.
 10                     If the agent has decided at that time that
 11        they are going to seize the items and that there's
 12        probable cause to believe that the asset represents
 13        proceeds of the criminal activity, then we have
 14        decided to go forward with that the asset forfeiture
 15        process.
 16               Q.    Okay.      I think I understand.             So basically
 17        once an item is in your custody, once the property
 18        is in your custody, then you're determining do we
 19        have probable cause to believe that this is -- this
 20        property is either -- either criminal proceeds or,
 21        you know, otherwise forfeitable.                 And if that's the
 22        case, then the office recommends pursuing
 23        administrative forfeiture.              Is that an accurate
 24        summary?
 25               A.    Yes.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1486
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 31 of 167 Page ID
                                  #:5754


                                                                       Page 30

  1               Q.    And you said that when you have a seizure
  2        warrant, that's sort of already -- that's sort of
  3        already answers that question?                I think that's what
  4        you said.      Like when you have a seizure warrant,
  5        that sort of already determines that, what, that you
  6        can and should move forward on forfeiture?
  7                     MR. RODGERS:         Objection.        Beyond the scope
  8               of the topics.
  9               A.    For the most part, if we have a seizure
 10        warrant, then there's been a determination that
 11        there's probable cause for the seizure and we would
 12        take that through the asset forfeiture process,
 13        whatever asset has been seized pursuant to the
 14        seizure warrant.
 15           BY MR. FROMMER:
 16               Q.    Okay.      Are there ever, like, situations
 17        where there could be something seized pursuant to a
 18        seizure warrant, but the government -- what I'm --
 19        I'm a little confused by here is -- you are saying
 20        you have the seizure warrant.                Once you seize the
 21        item, then you basically have probable cause to move
 22        forward on the forfeiture.
 23                     I'm wondering is there any subsequent
 24        investigation by the special agents or paralegal
 25        specialists into the facts and circumstances

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1487
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 32 of 167 Page ID
                                  #:5755


                                                                       Page 31

  1        surrounding the property that you are considering
  2        whether to forfeit or not?
  3                     MR. RODGERS:         Objection.        Beyond the scope
  4               of the topics.
  5               A.    Yes, there are times when we do
  6        investigations after the seizure has been effected.
  7           BY MR. FROMMER:
  8               Q.    And what kind of situations would you
  9        conduct that sort of the investigation?
 10                     MR. RODGERS:         Same objections.
 11               A.    Generally, those, in my experience, occur
 12        when there's a probable cause seizure pursuant to an
 13        arrest or search warrant.
 14           BY MR. FROMMER:
 15               Q.    Now, why is it more likely in that
 16        situation as opposed to the one we talked about
 17        before?
 18                     MR. RODGERS:         Same objection.
 19               A.    For instance, if we execute a search
 20        warrant, there may be items that we didn't expect to
 21        find, but the investigation and perhaps items at the
 22        search warrant or events that occurred at the search
 23        warrant provide probable cause to seize that item.
 24           BY MR. FROMMER:
 25               Q.    And then in that situation, the special

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1488
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 33 of 167 Page ID
                                  #:5756


                                                                       Page 32

  1        agents might conduct additional investigation to
  2        determine whether to move forward on forfeiture or
  3        not; is that correct?
  4                     MR. RODGERS:         Same objection.
  5               A.    To do a little more investigation to
  6        supplement the probable cause.
  7           BY MR. FROMMER:
  8               Q.    Oh, okay.        I see.
  9                     So you've seized the item, but you're
 10        investigating to try to get a bit more evidence that
 11        this is criminal proceeds or otherwise forfeitable,
 12        and then if you can find that evidence, then you're
 13        more likely to bring the administrative forfeiture
 14        action; is that fair?
 15                     MR. RODGERS:         Same objections.
 16               A.    Not always the probable cause will be
 17        there, then it can strengthen the probable cause,
 18        and sometimes just one piece of evidence leads to
 19        other pieces of evidence, so there's still other
 20        things, other stones left unturned, so there's going
 21        to be some additional investigation sometimes after
 22        the fact, after the seizure has been made.
 23           BY MR. FROMMER:
 24               Q.    Okay.      And all this requires, you know --
 25        and I'm assuming to conduct this sort of

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1489
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 34 of 167 Page ID
                                  #:5757


                                                                        Page 33

  1        investigation, you need to collect evidence; is that
  2        fair to say?
  3                      MR. RODGERS:         Same objection.
  4               A.     Not always will it be about collecting
  5        evidence.       More investigation if it is warranted.
  6           BY MR. FROMMER:
  7               Q.     Well, yeah.         And by that I -- that's fair.
  8        I mean, in that situation, you are conducting an
  9        investigation to see if you can collect more
 10        evidence that points to whether you should pursue
 11        forfeiture or not.           Is that fair?
 12                      MR. RODGERS:         Same objection.
 13               A.     Not always collecting evidence.                  But doing
 14        more work.
 15               Q.     Okay.
 16               A.     Because we can interview someone and write
 17        a report, and I wouldn't characterize that as
 18        collecting evidence.            To me, collecting evidence is
 19        more I take a tangible object versus I'm
 20        investigating and writing a report.
 21           BY MR. FROMMER:
 22               Q.     Okay.      That's fine.         But there is
 23        sometimes subsequent investigation in order to make
 24        a decision about whether to move for forfeiture or
 25        not.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1490
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 35 of 167 Page ID
                                  #:5758


                                                                       Page 34

  1                     Can you explain to me one thing I'm a
  2        little confused by in the overall forfeiture process
  3        is the U.S. Marshals Service.                Can you explain to me
  4        how -- what their role is in the forfeiture process?
  5                     MR. RODGERS:         Objection.        Beyond the scope
  6               of the topics.
  7               A.    The marshals have custody of the assets as
  8        they go through the asset forfeiture process.
  9           BY MR. FROMMER:
 10               Q.    Okay.      So the marshals are the ones who
 11        hold, physically possess the items that are going
 12        through the forfeiture process?
 13                     MR. RODGERS:         Same objection.
 14               A.    Yes, except for currency.                The currency
 15        gets deposited into the bank.                So they don't
 16        physically hold the currency in its original state.
 17           BY MR. FROMMER:
 18               Q.    So do the U.S. Marshals -- so the U.S.
 19        Marshals, when you say they physically possess
 20        property, other than currency, is that all property
 21        that's been seized or is it just that property that
 22        is potentially subject to forfeiture proceeding?
 23                     MR. RODGERS:         Objection.        Beyond the scope
 24               of the deposition topics.
 25               A.    The marshals take custody of seized assets

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1491
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 36 of 167 Page ID
                                  #:5759


                                                                       Page 35

  1        that are going through the asset forfeiture process.
  2           BY MR. FROMMER:
  3               Q.    Okay.      Other than currency?
  4                     MR. RODGERS:         Same objection.
  5               A.    They take custody of it, but it's not the
  6        physical asset anymore because the currency has been
  7        deposited into the Marshals Service bank account.
  8           BY MR. FROMMER:
  9               Q.    Okay.      And I was wondering about this.               So
 10        when there's currency, and the Marshals Service, you
 11        know -- I understand that -- that you take the
 12        currency and then you deposit it in a bank, into the
 13        marshal -- into the marshal's account.                    So is the
 14        money -- so is that money at that point in the asset
 15        forfeiture fund?         Or is it in a separate account
 16        that's just controlled by the marshals?
 17               A.    As far as I know, it's in the Marshals
 18        Service bank account, and not the asset forfeiture
 19        funds.
 20               Q.    Okay.      Now, when that cash you said --
 21        when that cash is seized and deposited, does all
 22        cash that's seized and deposited get put into CATS?
 23               A.    Each asset that is currency that gets
 24        deposited with the Marshals Service has its own
 25        CATS ID number.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1492
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 37 of 167 Page ID
                                  #:5760


                                                                       Page 36

  1               Q.    And are there situations where cash would
  2        not be deposited with the U.S. Marshals Service?
  3               A.    In general, there may be -- I don't know
  4        how broad you are asking.
  5
  6
  7
  8               Q.    Well, that's why I was wondering, and let
  9        me actually turn here because I know that with
 10        U.S. Private Vaults, some money -- some currency
 11        didn't get into CATS, it just went to -- from what I
 12        understand, just went into evidence, and it didn't
 13        get put into CATS.          Is that your understanding?
 14                     MR. RODGERS:         Objection.        Beyond the scope
 15               of the topics.
 16               A.    I know that there are some currency assets
 17        that were seized and just went to our evidence and
 18        did not go to the Marshals Service.
 19           BY MR. FROMMER:
 20               Q.    Do you know why?
 21                     MR. RODGERS:         Same objections.
 22               A.    We have generally minimum monetary
 23        threshold for our asset forfeiture seizures.
 24           BY MR. FROMMER:
 25               Q.    But why is that?

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1493
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 38 of 167 Page ID
                                  #:5761


                                                                       Page 37

  1                     MR. RODGERS:         Objection.        Beyond the scope
  2                of the topics.        Calls for speculation.
  3                A.   Sometimes because the asset forfeiture
  4        process is lengthy and involves a lot of resources,
  5        if we seize a hundred dollars, we're not going to
  6        take that through the asset forfeiture process
  7        because it's more costly -- it's going to cost us
  8        more than a hundred dollars to take that ultimately
  9        through the asset forfeiture process.
 10           BY MR. FROMMER:
 11                Q.   So the government would end up losing
 12        money pursuing that forfeiture?
 13                     MR. RODGERS:         Same objection.          Poses an
 14                incomplete hypothetical.
 15                A.   Well, the cost would be more than the
 16        value of the asset.
 17           BY MR. FROMMER:
 18                Q.   Okay.      I think we're on the same page with
 19        that.
 20                     Typically, where is that cut-off where the
 21        value of the currency or the amount of currency
 22        isn't enough to make the potentially, you know,
 23        going through forfeiture worth it?
 24                     MR. RODGERS:         Objection.        Beyond the scope
 25                of the deposition topics.             Vague and ambiguous.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1494
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 39 of 167 Page ID
                                  #:5762


                                                                       Page 38

  1               A.    For currency, it's $5,000.
  2           BY MR. FROMMER:
  3               Q.    Okay.      So $5,000 is -- is that the FBI's
  4        policy?
  5                     MR. RODGERS:         Same objection.
  6               A.    Yes.     Generally, that's our minimum
  7        threshold.
  8           BY MR. FROMMER:
  9               Q.    Okay.
 10                     MR. FROMMER:         Let's just take a
 11               five-minute break, if you don't mind.                      Okay?
 12                     MR. RODGERS:         Sure.
 13          (Recess was held from 10:53 a.m. until 11:01 a.m.)
 14           BY MR. FROMMER:
 15               Q.    Let's go back on the record.
 16                     Now, Special Agent Murray, you were
 17        talking before about sometimes there would be an
 18        investigation.        Sometimes there's an investigation
 19        subsequent to the seizure of an asset in order to
 20        determine whether to pursue forfeiture,
 21        administrative forfeiture, judicial forfeiture.                           And
 22        I was -- can you tell me, when you are conducting
 23        that investigation, what is it that your agents are
 24        attempting to determine?
 25                     MR. RODGERS:         Objection.        Beyond the

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1495
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 40 of 167 Page ID
                                  #:5763


                                                                       Page 39

  1               scope.     Calls for a narrative.
  2               A.     It's more not starting another
  3        investigation.        It's continuing the same
  4        investigation and it's just to find out additional
  5        information.       Generally, that situation I spoke
  6        about, is when we are executing a search warrant and
  7        we come across an asset that we didn't know about,
  8        but it's -- there's probable cause.                   So then if it's
  9        a car, then we might follow up with, you know,
 10        title, registration, financing other -- gathering
 11        facts about that asset that we did not know about
 12        beforehand.       That's an example.
 13           BY MR. FROMMER:
 14               Q.     Okay.     And the purpose for that
 15        investigation is to determine whether you believe
 16        that there's probable cause that it's connected to
 17        criminal activity and could be forfeited?
 18                      MR. RODGERS:        Same objection.
 19               A.     When we've seized it, we've already made
 20        that -- I've already -- we, agents, together, alone,
 21        we've made that determination that there is probable
 22        cause.      So this is just additional information that
 23        will support the existing probable cause.
 24           BY MR. FROMMER:
 25               Q.     Okay.     So you are attempting to identify

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1496
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 41 of 167 Page ID
                                  #:5764


                                                                       Page 40

  1        additional information through the subsequent
  2        investigation to buttress the idea that there's
  3        probable cause that this property is forfeitable; is
  4        that accurate?
  5                     MR. RODGERS:         Same objection.
  6               A.    Yes, to strengthen the probable cause.
  7           BY MR. FROMMER:
  8               Q.    All right.        Who does that subsequent
  9        investigation you are talking about?
 10               A.    Sometimes it's the paralegal specialists,
 11        sometimes it's the criminal agents, sometimes it's
 12        the asset forfeiture agent or other agents on the
 13        squad, various people.
 14               Q.    I'm trying to figure out, like, when
 15        they're conducting this investigation, what are the
 16        types of things that an agent or a paralegal
 17        specialist would look at to potentially buttress the
 18        probable cause determination?
 19                     MR. RODGERS:         Objection.        Calls for a
 20               narrative.       Overbroad.        Beyond the scope of the
 21               topics.
 22               A.    Looking at interview reports, bank
 23        records, other type of financial records, database
 24        checks, things like that.
 25

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1497
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 42 of 167 Page ID
                                  #:5765


                                                                       Page 41

  1           BY MR. FROMMER:
  2                Q.   When you say "database checks," like a
  3        criminal -- like NCIC, would be an example of a
  4        database that would be queried?
  5                     MR. RODGERS:         Same objections.
  6                A.   Yes.
  7           BY MR. FROMMER:
  8                Q.   How about the FinCEN database?                  Would that
  9        be a database that would be queried?
 10                     MR. RODGERS:         Same objections.
 11                A.   Sometimes.
 12           BY MR. FROMMER:
 13                Q.   Are there other databases that your agents
 14        frequently query other than NCIC and FinCEN?
 15                A.   DMV, LexisNexis, Accurint.
 16                Q.   What is Accurint?            I haven't heard of
 17        that.
 18                     MR. RODGERS:         Same objection.
 19                A.   I think it's just one for addresses, phone
 20        numbers, identifiers.
 21           BY MR. FROMMER:
 22                Q.   Okay.      And this is all part of
 23        understanding how the government conducts its
 24        administrative -- its investigation and initiation
 25        of administrative forfeiture proceedings.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1498
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 43 of 167 Page ID
                                  #:5766


                                                                       Page 42

  1                     So you've seized an asset, the government
  2        seized an asset.         It's conducted some subsequent
  3        investigation.        It collects all the information.
  4        And at that point, how does the government decide
  5        whether to pursue administrative forfeiture as
  6        against a particular asset?
  7                     MR. RODGERS:         Same objections.
  8                A.   Once again, the acquisition of the seizure
  9        warrant, that's one way where probable cause has
 10        been determined and we're going to go forward.                    And
 11        then during the execution of the arrest or search
 12        warrant, if we seize something based on probable
 13        cause, at that time, that's when a decision has been
 14        made that there's probable cause, that that asset
 15        represents proceeds of criminal activity and we plan
 16        to go forward with the asset forfeiture process.
 17           BY MR. FROMMER:
 18                Q.   And who is making the decision about
 19        whether to pursue administrative forfeiture as to a
 20        particular piece of property?                Is that happening at
 21        the field office level or at the FBI headquarters?
 22        If you could just provide me some explanation for
 23        that.
 24                A.   Generally, at the field office level.
 25                Q.   And when would the decision to pursue

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1499
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 44 of 167 Page ID
                                  #:5767


                                                                       Page 43

  1        forfeiture be made at the headquarters level instead
  2        of the field office?
  3               A.    There may be times where there's a
  4        disagreement, if at the field office level I think
  5        this there's enough PC and headquarters disagrees.
  6               Q.    Okay.      And you keep saying -- so
  7        probably -- is -- probable cause is the standard.
  8        That's the standard that's used to decide whether to
  9        pursue administrative forfeiture or not, whether the
 10        government believes it has probable cause that this
 11        property is tied to some forfeitable activity?
 12               A.    Probable cause to believe that the asset
 13        represents proceeds of criminal activity, yes, tied
 14        to a forfeiture statute.
 15               Q.    Okay.      All right.        I got that.
 16                     So now we've made the decision, and let's
 17        say the government has decided to pursue
 18        administrative forfeiture against a particular
 19        asset, either at the field office level or HQ, or
 20        everybody agrees.
 21                     Once that decision is made, can you tell
 22        me, what does the government do next?
 23               A.    Just a second.          We're making sure we are
 24        plugged in because we have low battery.
 25                     (Discussion off the record.)

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1500
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 45 of 167 Page ID
                                  #:5768


                                                                       Page 44

  1                     MR. FROMMER:         Off the record for a second.
  2                     (Requested portion read back.)
  3                     MR. RODGERS:         Objection.        That question is
  4               overbroad.       It is beyond the scope of the
  5               topics.     It's vague and ambiguous.
  6                     But you can answer to the extent you can.
  7               A.    We do the administrative part, assign a
  8        CATS ID number, we gather reports, we figure out
  9        who's going to get noticed, we input that
 10        information into the FBI computer database.                       We
 11        write a probable cause statement.                  There -- mainly
 12        we gather the reports from the criminal case agents
 13        to support the asset forfeiture process.
 14           BY MR. FROMMER:
 15               Q.    Okay.      So you're filling out the notice
 16        and -- now, you said something about CATS ID numbers
 17        because -- and I'm little confused, so maybe you can
 18        explain this to me.
 19                     You said, during your answer just now,
 20        that you would assign a CATS ID number.                    Now, my
 21        understanding from your previous testimony was that
 22        cash -- all cash above 5,000 gets a CATS ID number
 23        as it's processed in the system.
 24                     So when you are talking about CATS ID
 25        numbers in this context, are you talking about for

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1501
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 46 of 167 Page ID
                                  #:5769


                                                                       Page 45

  1        items which aren't currency?
  2               A.    Every asset gets a CATS ID number,
  3        currency or otherwise.
  4               Q.    And when does that occur?
  5               A.    Generally, at the time of seizure.
  6               Q.    Okay.      All right.        So -- okay.        I think I
  7        understand.
  8                     Is that the case even if something is
  9        processed as evidence?            Does it gets a CATS ID
 10        number even if it's been processed as evidence?
 11               A.    Generally, no.
 12               Q.    So in what situations does an asset get a
 13        CATS ID number?
 14               A.    When there's been a determination that the
 15        asset is going through the asset forfeiture process.
 16               Q.    Okay.      So CATS ID number is generated when
 17        there's a preliminary determination that this asset
 18        is going to go through the asset forfeiture process;
 19        is that accurate?
 20               A.    Yes.
 21               Q.    And is that true for -- and that's also
 22        true for cash over $5,000; is that accurate?
 23               A.    Yes.
 24               Q.    Now, would there be a situation where you
 25        would find cash above $5,000, but it wouldn't result

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1502
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 47 of 167 Page ID
                                  #:5770


                                                                       Page 46

  1        in a CATS ID number being generated?
  2               A.    If that cash is collected and seized as
  3        part of the criminal investigation and retained as
  4        evidence, then it's not going through the asset
  5        forfeiture process, so it won't get a CATS ID
  6        number.
  7               Q.    Okay.      I see.      So once an item has been
  8        determined that this asset is going through the
  9        asset forfeiture process, that's when it gets -- at
 10        that moment of determination, that's when a CATS ID
 11        number is created for it; is that accurate?
 12               A.    Yes.
 13               Q.    All right.        So you prepare the
 14        administrative forfeiture notice and you pursue the
 15        administrative forfeiture notice -- you fill it out,
 16        and then that gets sent out to -- who does that
 17        administrative forfeiture notice get sent to?
 18               A.    All interested parties.
 19               Q.    And what does the government do to
 20        determine which parties are interested?
 21               A.    We review the reports from -- surrounding
 22        the seizure to figure out who those parties are.
 23               Q.    Okay.      And then the notice gets sent to
 24        those people and they have -- how much time do they
 25        have to respond once they receive the administrative

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1503
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 48 of 167 Page ID
                                  #:5771


                                                                       Page 47

  1        forfeiture notice?          If you remember offhand.
  2               A.    I don't.       Maybe 45 days.
  3               Q.    Okay.      All right.
  4                     And it's my understanding that once
  5        someone receives an administrative forfeiture
  6        notice, that they have really three options:                      One
  7        would be to simply to walk away from the money or
  8        the asset; the second would be to file -- submit a
  9        judicial claim; and then the third one would be to
 10        zero submit a petition for remission and/or
 11        mitigation.       Is that accurate?
 12               A.    Yes.
 13               Q.    So let's say the FBI files an admin for
 14        notice, sends it to a claimant, and a claimant files
 15        a judicial claim.          What happens at that point?
 16                     MR. RODGERS:         Objection.        Vague and
 17               ambiguous.
 18               A.    When somebody receives a notice of
 19        administrative forfeiture by the FBI, and they
 20        respond by filing a valid claim with our office,
 21        then we gather all of the reports from the field
 22        office and we prepare a packet and refer it to the
 23        United States Attorney's Office.
 24           BY MR. FROMMER:
 25               Q.    And then once they receive it, they

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1504
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 49 of 167 Page ID
                                  #:5772


                                                                       Page 48

  1        independently review whether to pursue judicial
  2        forfeiture; is that correct?
  3                     MR. RODGERS:         Objection.        Speculation.
  4               Poses an incomplete hypothetical.
  5               A.    We refer it to the United States
  6        Attorney's Office and they decide whether or not to
  7        continue the process.
  8           BY MR. FROMMER:
  9               Q.    And let's say instead that the property,
 10        the claimant, instead files a petition for remission
 11        or mitigation.        My understanding of that is -- can
 12        you tell me -- scratch that.               Let me think how to
 13        say this in a cleaner way.
 14                     Okay.      So let's say instead of filing a
 15        claim, the titular property owner files a petition
 16        for remission or mitigation.               Once the FBI receives
 17        that petition, what are -- what next steps do the
 18        FBI take?
 19                     MR. RODGERS:         Objection.        Beyond the scope
 20               of the topics.
 21               A.    Generally, conduct a petition
 22        investigation.
 23           BY MR. FROMMER:
 24               Q.    And how does -- what is a petition
 25        investigation?        How does that differ from the

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1505
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 50 of 167 Page ID
                                  #:5773


                                                                       Page 49

  1        investigation we were talking about earlier where
  2        the government is deciding --
  3                     (Discussion off the record.)
  4          (Recess was held from 11:20 p.m. until 11:27 p.m.)
  5                     (Requested portion read back.)
  6           BY MR. FROMMER:
  7               Q.    I will finish it.            Which is, deciding
  8        whether to pursue forfeiture in the first place?
  9                     MR. RODGERS:         Objection.        Vague and
 10               ambiguous.       Beyond the scope of the topics.
 11               A.    Additional investigation is completed to
 12        find out if the petition should be granted and
 13        oftentimes the petitioner will submit additional
 14        documentation that is reviewed.
 15           BY MR. FROMMER:
 16               Q.    Okay.      So the remission investigation is
 17        looking at any additional information to better
 18        inform whether the permission -- the petition should
 19        be granted or not; is that accurate?
 20                     MR. RODGERS:         Same objection.
 21               A.    Yes.
 22           BY MR. FROMMER:
 23               Q.    Can you tell me what is the -- so
 24        ultimately the government looks at all this
 25        information, conducts this investigation, and it has

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1506
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 51 of 167 Page ID
                                  #:5774


                                                                       Page 50

  1        to make a decision about whether to grant or deny a
  2        petition.        And I'm trying to figure out, like,
  3        what's the standard by which the government decides
  4        whether to grant a petition for remission or not?
  5                        MR. RODGERS:      Objection.        Beyond the scope
  6                of the topics.        Calls for a legal conclusion.
  7                A.      So we look at all the facts after probable
  8        cause has been determined and are there other facts,
  9        documentation, supporting evidence that warrant the
 10        petition being granted and the money being returned
 11        or some portion of it being returned.
 12           BY MR. FROMMER:
 13                Q.      I get that.      I guess what I'm trying to
 14        figure out is, like, is the decision whether to
 15        grant a petition something more than just a gut
 16        call?        Are there objective indicia that the
 17        government looks at in deciding whether to grant a
 18        petition for remission?
 19                        MR. RODGERS:      Objection.        Beyond the scope
 20                of the topics.        Calls for a legal conclusion.
 21                Vague and ambiguous.
 22                A.      I can only offer an explanation of, okay,
 23        we have seized money from somebody.                   We have
 24        probable cause to believe that it's proceeds of drug
 25        trafficking, but then the petitioner submits

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1507
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 52 of 167 Page ID
                                  #:5775


                                                                       Page 51

  1        documentation showing that his grandmother just
  2        bequeathed him the same amount of money that was
  3        seized and he has additional supporting
  4        documentation from the bank, maybe showing a
  5        deposit, withdrawal, et cetera, to show that this
  6        money, in his opinion, does not represent proceeds
  7        of drug trafficking.           And then so that is viewed in
  8        light of everything, and it's not really just a gut
  9        instinct.      It's based on the facts whether or not
 10        the petition should be granted.
 11           BY MR. FROMMER:
 12               Q.    Who makes that decision about whether to
 13        grant a petition for remission?                 Is that happening
 14        at the agency level?           Well, it must be.           But who at
 15        the agency is deciding whether to grant or deny a
 16        petition for remission?
 17                     MR. RODGERS:         Objection.        Beyond the scope
 18               of the topics.         Lacks foundation.
 19               A.    At the field office level, the paralegal
 20        specialist conducts the petition investigation and
 21        recommends whether or not the petition should be
 22        granted or denied, and that is forwarded to our
 23        headquarters office and legal forfeiture unit makes
 24        the ultimate decision.
 25

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1508
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 53 of 167 Page ID
                                  #:5776


                                                                       Page 52

  1           BY MR. FROMMER:
  2               Q.    So the field office, the paralegals make
  3        the initial investigation determination, and then
  4        that is reviewed by officials at FBI headquarters;
  5        is that accurate?
  6                     MR. RODGERS:         Same objection.
  7               A.    The paralegal specialist makes the
  8        recommendation.         It gets sent to headquarters.
  9        Legal forfeiture unit and our Office of General
 10        Counsel makes the ultimate determination.
 11           BY MR. FROMMER:
 12               Q.    Okay.      All right.        So let's say that
 13        someone has gone through this process and a petition
 14        for remission ultimately is denied.                   At that point,
 15        what happens to the seized funds at that point?                       Or
 16        property, I guess it could be -- it could be
 17        property other than cash.
 18                     MR. RODGERS:         Objection.        Beyond the scope
 19               of the topics.         Calls for a legal conclusion.
 20               Lacks foundation.          Poses an incomplete
 21               hypothetical.
 22               A.    The asset remains in the custody of the
 23        Marshals Service, and the asset forfeiture
 24        process -- administrative asset forfeiture process
 25        continues.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1509
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 54 of 167 Page ID
                                  #:5777


                                                                       Page 53

  1           BY MR. FROMMER:
  2               Q.    Well, I'm saying, like, the petition --
  3        they filed an administrative forfeiture, they filed
  4        a petition.       Let's say we only have one person
  5        filing a petition.          And then the FBI denies that
  6        petition.      It's my understanding at that point, the
  7        forfeiture process is at an end; is that correct?
  8                     MR. RODGERS:         Objection.        Poses an
  9               incomplete hypothetical.              Beyond the claims of
 10               the class.       Irrelevant.        Assumes facts not in
 11               evidence.
 12               A.    If the petition is denied, the asset
 13        forfeiture process continues.                And the asset remains
 14        in the custody of the Marshals Service until the
 15        conclusion of that process.
 16           BY MR. FROMMER:
 17               Q.    What remains in that process?                 That's what
 18        I'm confused about.           Let's say we have an asset that
 19        was seized from somebody.              You think you have
 20        probable cause, that it's forfeitable.                    That person
 21        submits a petition.           You deny that petition.             No
 22        other claimants have come forward to file a petition
 23        or a claim.       What's left of the process at that
 24        point?
 25                     MR. RODGERS:         Same objections.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1510
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 55 of 167 Page ID
                                  #:5778


                                                                       Page 54

  1               A.    We send out the notices.               We wait for a
  2        time to expire.         We package up our part and it goes
  3        to the legal forfeiture unit.                And so it's just
  4        waiting out that process.              Just because a petition
  5        investigation is denied, does not mean the next day
  6        the process is done and the item is forfeited.
  7           BY MR. FROMMER:
  8               Q.    Well, that's what I'm wondering.                     What
  9        else is left after the -- because my understanding
 10        is that by filling -- submitting a petition, the
 11        claimant is, in essence, saying that the government
 12        can forfeit this property and it's just asking that
 13        it be returned to them.             And I'm wondering, like,
 14        once the government says no to that, what -- I'm
 15        still -- you keep saying that there's more to the
 16        forfeiture process, but I'm not sure what of the
 17        forfeiture process is left at that point.
 18                     MR. RODGERS:         Objection.        Speculation.
 19               Beyond the scope of the topics.                 Calls for a
 20               legal conclusion.          Lacks foundation.
 21               A.    Sometimes it's just time.                The legal
 22        forfeiture unit has thousands of cases, so it's a
 23        matter of workload and when they have that
 24        particular case on their desk and make the final
 25        determination.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1511
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 56 of 167 Page ID
                                  #:5779


                                                                       Page 55

  1           BY MR. FROMMER:
  2               Q.    Okay.      I see.      I see.
  3                     And once that final determination is made,
  4        is it at that point when the property, whether that
  5        be funds or -- let me rephrase.
  6                     Once there's been a final determination
  7        and the property is forfeited -- let's talk about
  8        currency because it's simpler -- at that point, is
  9        the now forfeited currency transferred from the U.S.
 10        Marshals Service to the asset forfeiture fund?
 11               A.    I don't know about the movement of money
 12        once the declaration of forfeiture has been issued.
 13        I'm just not familiar with that process.
 14               Q.    Okay.      Does your -- so is that all
 15        handled -- is that handled at all at the FBI field
 16        office level, or is that all happening at FBI HQ?
 17               A.    FBI HQ issues the declaration of
 18        forfeiture.       Then we get the letter.              And then
 19        that's really more the paralegal specialists, their
 20        duties.     So then they ultimately inform the Marshals
 21        Service of the declaration of forfeiture.                     So I
 22        don't know exactly what happens after that.
 23               Q.    Okay.      All right.
 24                     Do you have -- do you have any familiarity
 25        with the process by which money is released from the

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1512
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 57 of 167 Page ID
                                  #:5780


                                                                        Page 56

  1        asset forfeiture fund and sent to participating
  2        agencies?
  3               A.     Generally, after an item has been declared
  4        forfeited and then if the local agency has submitted
  5        their forms, then I know, generally, then they would
  6        get the approved percentage.                How or what form,
  7        whether it's check or wire, I don't know.
  8               Q.     Oh, yeah, I don't care about the
  9        particulars of how the -- how an agency ultimately
 10        gets the money.          I am just wondering -- so if
 11        there's an agency -- are you talking here
 12        specifically about local agencies that might have
 13        been involved in a seizure and forfeiture, or are
 14        you also talking about the federal forfeiture
 15        agencies that were involved?
 16               A.     For anybody who is putting in a sharing
 17        request, whether it's other federal agencies or
 18        locals, after the declaration of forfeiture occurs,
 19        then after that is when they would receive any
 20        proceeds.       But like I said, I don't know the
 21        particulars about that.
 22               Q.     Okay.      Are you involved in that process at
 23        all, the process of requesting forfeiture funds from
 24        AFF?
 25               A.     I am not involved in the process of

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1513
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 58 of 167 Page ID
                                  #:5781


                                                                       Page 57

  1        requesting money.          I don't know -- do you mean the
  2        sharing program?
  3               Q.     Yeah, the sharing.           That's exactly that I
  4        meant.      After the -- there's been a final
  5        declaration of forfeiture.              Let's say there's
  6        million dollars.         Let's just use a hypothetical just
  7        because it's a little bit easier.
  8                      So let's say there's a million dollars.
  9        There's been a final declaration of forfeiture.                       And
 10        then -- let's use the agencies here.                   So you have
 11        the DEA, USPIS, FBI, and some local agencies
 12        involved.
 13                      I might be forgetting one.
 14                      In that situation, those agencies want to
 15        get their share of the million dollars.                    What do
 16        they do?
 17               A.     After the seizure, there's a timeline they
 18        have to submit the DAG-71 form, and that is a form
 19        requesting a certain percentage of the seized asset
 20        based on -- and then they have to write a narrative
 21        of the work that they did that contributed to the
 22        asset seizure.
 23               Q.     Are sometimes those DAGs will -- let's say
 24        you have three our four agencies involved and they
 25        have an agreement whereby they're going to split

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1514
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 59 of 167 Page ID
                                  #:5782


                                                                       Page 58

  1        whatever is forfeited by a certain percentage.                           So
  2        in that situation, would they -- would the
  3        requesting agency on the DAG-71 include -- we have
  4        a -- the participating agencies in the seizure and
  5        forfeiture agreed to split the money, I don't know,
  6        25 percent each four ways?              Or --
  7                     This is what I -- I don't understand this.
  8        This is why I'm asking.             So the more you can help
  9        explain it to me, the more helpful it would be.
 10                     MR. RODGERS:         Objection.        Assumes facts
 11               not in evidence.          Poses an incomplete
 12               hypothetical.        Lacks foundation.
 13               A.    There's no agreement beforehand.                     Each
 14        agency requests a certain percentage based on the
 15        work hours, various factors, manpower.                    What -- did
 16        they have confidential informant information?
 17        What's unique assistance that contributed to the
 18        seizure?     Did they do other types of investigative
 19        activity that resulted in it?                So there's no
 20        predetermined agreement.             They request from the lead
 21        agency, FBI, that based on this narrative, I am
 22        requesting 20 percent.
 23           BY MR. FROMMER:
 24               Q.    Gotcha.
 25               A.    So each agency does that individually.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1515
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 60 of 167 Page ID
                                  #:5783


                                                                       Page 59

  1               Q.     Okay.     I think I understand.
  2                      And who -- so do they request -- so the
  3        other agencies, here, just keeping with this, like
  4        USPIS and DEA, they would send in requests to FBI;
  5        is that correct?
  6               A.     Yes, they fill out the DAG-71 form and
  7        submit it to us.
  8               Q.     And is that the like -- you know, I
  9        mentioned, like, the DEA or USPIS, but is it the
 10        overall agency that is sending the DAG71, or is it
 11        the particular office that helped participate in the
 12        seizure and forfeiture?
 13               A.     I don't know who, whether it's, you know,
 14        DEA headquarters or DEA local, but the local DEA
 15        office is going to have the particulars of what they
 16        contributed to the investigation.                  But I don't know
 17        who ultimately sends it to us.
 18               Q.     Got it.      Okay.     That makes sense, right?
 19        The locals would be the ones who actually have the
 20        facts.      And I wasn't really asking about, like, who
 21        is the one person who -- the agent -- whether it's
 22        technically the agency that sends it to you or the
 23        field office.         What I'm interested in is -- well,
 24        let's say the FBI.          In an instance where the FBI --
 25        you know, if the FBI were going to put in -- let's

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1516
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 61 of 167 Page ID
                                  #:5784


                                                                       Page 60

  1        say they were involved in a forfeiture and getting a
  2        percentage, they're going to put in a DAG-71 to get
  3        a percentage.        Would that DAG-71 -- am I using that
  4        term right, by the way?             Is a DAG-71 a
  5        cross-governmental form?
  6               A.    I don't know, across what?
  7               Q.    Okay.
  8               A.    But, yes, it's familiar through the
  9        federal agencies.
 10               Q.    So what I'm wondering is, you know, FBI LA
 11        field office participates in some activity, leads to
 12        seizure, leads to forfeitures.                Let's say the
 13        forfeiture of that million dollars that we were
 14        talking about before.
 15                     Is it the FBI field office that sends --
 16        that would fill out and send in the DAG-71 seeking a
 17        certain percentage of that million dollars?
 18                     MR. RODGERS:         Objection.        Beyond the scope
 19               of the topics.         Poses an incomplete
 20               hypothetical.        Vague and ambiguous.             Overbroad.
 21               A.    Yes.
 22           BY MR. FROMMER:
 23               Q.    And so let's say that DAG-71 has been
 24        approved by whatever agency.               Does that percentage
 25        of funds, you know -- you said 20 percent.                        So let's

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1517
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 62 of 167 Page ID
                                  #:5785


                                                                       Page 61

  1        say our 20 percent.           Does our 20 percent then go to
  2        the FBI headquarters?            Or does it go to the FBI
  3        field office?
  4                     MR. RODGERS:         Same objections.           Also vague
  5               and ambiguous.
  6               A.    After you submit the DAG, then that's just
  7        part of the file.          Nothing gets distributed until
  8        the declaration of forfeiture.
  9           BY MR. FROMMER:
 10               Q.    Yeah.
 11               A.    And then I -- generally, I don't know.                   I
 12        think ours goes to the asset forfeiture fund, but I
 13        don't know the particulars about where the money
 14        goes, whether it goes back to FBI LA or
 15        headquarters.        My understanding is that it goes into
 16        our general asset forfeiture fund.
 17               Q.    Okay.      Well, I understand that the funds
 18        get into the AFF once there's been a declaration of
 19        forfeiture.       Marshal sends that over into the AFF.
 20                     I'm wondering, like, when the FBI says we
 21        want -- we think we deserve 20 percent of what was
 22        forfeited because of our activities, because of our
 23        participation in the investigation.                   And what I'm
 24        wondering is at that point, you know, you submit the
 25        DAG-71, it's reviewed by the primary agency, they

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1518
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 63 of 167 Page ID
                                  #:5786


                                                                       Page 62

  1        approve it, money is released -- that 20 percent is
  2        released from the AFF, and I'm just wondering, does
  3        it go to the FBI -- does it go into the FBI overall
  4        budget?      Does it go into the budget for the LA field
  5        office?      That's why -- I'm just trying to figure
  6        that out.
  7                      MR. RODGERS:        Same objections.
  8                A.    I don't know.
  9           BY MR. FROMMER:
 10                Q.    Do you have any idea who might know
 11        something like that?
 12                A.    Perhaps our headquarters legal forfeiture
 13        unit.
 14                Q.    Who is your main point of contact with the
 15        legal forfeiture unit?
 16                A.    Stephanie Woods.
 17                Q.    Do you think she would be the right person
 18        to ask -- do you think she would know the answers to
 19        these questions?
 20                      MR. RODGERS:        Objection.        Speculation.
 21                A.    I don't know.         I think she might.
 22           BY MR. FROMMER:
 23                Q.    Okay.     But you are saying, sitting here as
 24        the representative of the U.S., you are not sure
 25        whether forfeiture proceeds would go to the

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1519
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 64 of 167 Page ID
                                  #:5787


                                                                       Page 63

  1        individual field office that participated in the
  2        seizure versus the overall agency; is that correct?
  3                     MR. RODGERS:         Objection.        Beyond the scope
  4               of the topics.         Lacks foundation.           Calls for
  5               speculation.
  6               A.    My understanding is it goes to the general
  7        asset forfeiture fund.            And I am not aware of LA
  8        office, in particular, getting disbursements as the
  9        declaration of forfeitures are issued.
 10           BY MR. FROMMER:
 11               Q.    Okay.      And you said that that process that
 12        we have been discussing applies both to federal and
 13        local agencies that were involved in the seizure of
 14        the forfeited asset; is that correct?
 15               A.    Local agencies and federal agencies can
 16        both submit a DAG for one of our investigations if
 17        sharing is appropriate.
 18               Q.    And do you know who makes the
 19        determination of whether the sharing would be
 20        appropriate?
 21               A.    It depends on if it's a civil
 22        administrative case, the FBI does; or civil judicial
 23        case, then the United States Attorney's Office does.
 24               Q.    Okay.      So how the property was forfeited
 25        determines who considers the request that are

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1520
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 65 of 167 Page ID
                                  #:5788


                                                                       Page 64

  1        encompassed on the DAG-71; is that accurate?
  2               A.    Right.      And it also depends on the amount.
  3        So under a million, civil administrative, the FBI is
  4        the final decision maker.              Under a million, civil
  5        judicial, United States Attorney's Office is the
  6        final decision maker, but they take into account
  7        what the lead law enforcement agency recommends.
  8               Q.    I see.      And then for amounts above a
  9        million, is it that -- is headquarters that's making
 10        that determination?
 11               A.    Over a million and under five, it's the
 12        chief of the AFMLS.           And over five million, it's the
 13        Assistant Attorney General that is the final
 14        decision maker.
 15               Q.    Is there a document that sort of contains
 16        that sort of information in it?
 17               A.    I'm sure that there's an asset forfeiture
 18        policy guide or some sort of manual.
 19               Q.    Do you have, like, an asset forfeiture
 20        policy manual that you reference in conjunction with
 21        your work?
 22               A.    I do have an asset forfeiture policy guide
 23        that I reference.
 24               Q.    And does that -- is that your document in
 25        particular, or is this the asset forfeiture manual,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1521
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 66 of 167 Page ID
                                  #:5789


                                                                       Page 65

  1        this -- is this an FBI publication?
  2                A.   I got it through my work at the FBI.                   I
  3        don't know.
  4                Q.   If you don't know --
  5                A.   Yeah.
  6                Q.   Yeah, if you don't know whether it's FBI
  7        or DOJ, that's fine.
  8                     But do you remember what that document is
  9        called?
 10                A.   I think it's the Asset Forfeiture Policy
 11        Guide.
 12                Q.   Okay.      All right.
 13                     And do you recall -- I understand that you
 14        can't recall everything about how money gets
 15        released to constituent -- or to participating
 16        agencies, but is it your understanding or is it your
 17        belief that the asset policy -- asset forfeiture
 18        policy manual you are discussing would talk about
 19        that?
 20                A.   I think it would reference sharing.
 21                Q.   Okay.      All right.        Great.
 22                     MR. FROMMER:         Now, you guys are almost
 23                near lunchtime; is that right?                It's 11:53?
 24                     MR. RODGERS:         Yeah.      But do you have any
 25                indication as to how much more you have.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1522
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 67 of 167 Page ID
                                  #:5790


                                                                       Page 66

  1               Because I think our preference is to just keep
  2               going through.
  3                     MR. FROMMER:         You guys are going to want
  4               to do lunch.        I have more to do than -- more to
  5               do than -- you should go get lunch.
  6                     MR. RODGERS:         Do you think you have more
  7               than a couple of hours?
  8                     MR. FROMMER:         At least more -- I mean, it
  9               all depends on how it goes.               But at least a
 10               couple of hours.
 11                     MR. RODGERS:         Okay.      Let's do lunch then.
 12               When should we come back?
 13                     MR. FROMMER:         Why don't you be back at --
 14               it's 11:54 your time now, so how about
 15               1:00 p.m. your time?
 16                     MR. RODGERS:         Okay.
 17                     MR. FROMMER:         Okay?      Thank you so much,
 18               Agent Murray.        I'll see you in about an hour.
 19          (Recess was held from 11:54 p.m. until 12:59 p.m.)
 20           BY MR. FROMMER:
 21               Q.    All right.        So this morning we were
 22        talking a bit about forfeiture generally and now I
 23        want to talk a little bit more specifically about
 24        the U.S. Private Vaults matter.
 25                     Let me just start with this:                 When did you

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1523
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 68 of 167 Page ID
                                  #:5791


                                                                       Page 67

  1        first hear about U.S. Private Vaults?
  2               A.    I don't remember what month and I believe
  3        that it was 2020.
  4               Q.    So you -- could it have been, perhaps, in,
  5        like, the summer of 2020, sometime around then?
  6               A.    The summer sounds about right.
  7               Q.    Can you tell me what you heard about
  8        U.S. Private Vaults back in summer of 2020?
  9               A.    The first time I heard about
 10        Private Vaults was on a phone call with my SAC.                       And
 11        he told me a summary of the facts in the
 12        investigation.
 13               Q.    Who was your -- SAC is special agent in
 14        charge?
 15               A.    Yes.
 16               Q.    And who is your SAC?
 17               A.    At that time the SAC that spoke to me
 18        about it wasn't my SAC.             It was the criminal SAC.
 19        Matt Moon, M-O-O-N.
 20               Q.    So, Matt Moon, who is the SAC for the
 21        criminal side in FBI, called you up and told you
 22        about the background of the U.S. Private Vaults
 23        investigation; is that right?
 24               A.    Yes.
 25               Q.    What else did he talk about?                 Did he talk

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1524
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 69 of 167 Page ID
                                  #:5792


                                                                       Page 68

  1        about any plans going forward?
  2               A.    He talked about what agency was going to
  3        lead the seizure of assets in the case.
  4               Q.    And did he tell you that the FBI was going
  5        to be the lead agency on the seizure warrant?
  6                     MR. RODGERS:         Go ahead and answer.
  7               A.    That was what we were discussing, who was
  8        going to be the --
  9           BY MR. FROMMER:
 10               Q.    Oh, so had it not yet been determined
 11        which agency would be the lead agency?
 12                     MR. RODGERS:         Objection.        Speculation.
 13               A.    Not at the time of that phone call.
 14           BY MR. FROMMER:
 15               Q.    So what exactly was he advising you of on
 16        that call?
 17               A.    He wasn't advising me of anything.                   He was
 18        telling me the facts of the investigation and asking
 19        me if the Los Angeles asset forfeiture unit was
 20        capable of handling a possible large-scale seizure.
 21               Q.    Oh, okay.        So in summer of 2020, Matt Moon
 22        called you, talked to you about the
 23        U.S. Private Vaults investigation, and asked whether
 24        the FBI LA field office had the capacity to handle
 25        civil forfeiture regarding U.S. Private Vaults; is

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1525
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 70 of 167 Page ID
                                  #:5793


                                                                       Page 69

  1        that accurate?
  2                     MR. RODGERS:         Objection.        Slight
  3               mischaracterization with respect to the date.
  4               A.    During that phone call, that's what we
  5        discussed.
  6               Q.    Okay.
  7                     (Discussion off the record.)
  8           BY MR. FROMMER:
  9               Q.    So he asked, like, does the LA field
 10        office have capacity to handle civil forfeiture with
 11        regards to the nest of safe-deposit boxes?                        Is that
 12        accurate?
 13               A.    Yes.
 14               Q.    And what did you tell him?
 15               A.    I told him yes.
 16               Q.    And why did you think that the LA field
 17        office had capacity to handle processing civil
 18        forfeiture proceedings for the hundreds of safe-
 19        deposit boxes at U.S. Private Vaults?
 20                     MR. RODGERS:         Objection, slight
 21               mischaracterization of her testimony.
 22                     Go ahead and answer.
 23               A.    We were capable of handling a large-scale
 24        seizure because we have an established asset
 25        forfeiture unit, and have had that unit for many,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1526
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 71 of 167 Page ID
                                  #:5794


                                                                       Page 70

  1        many years, and we have a large complement of asset
  2        forfeiture employees capable of handling and
  3        processing this type of large-scale seizure.
  4           BY MR. FROMMER:
  5               Q.    Okay.      And that makes sense, because you
  6        said you've been in that of office for number of
  7        years, and it sounds like you have a decent number
  8        of both special agents and paralegal specialists
  9        that you have in the unit.
 10                     So when were you discussing could the LA
 11        field office handle civil forfeiture with regards to
 12        U.S. Private Vaults, the two of you were -- is it
 13        fair to say that you two were -- the two of you were
 14        referencing not just necessarily any property owned
 15        by U.S. Private Vaults, the company, but also
 16        potentially the contents of some of the safe-deposit
 17        boxes?
 18               A.    Correct.
 19               Q.    All right.        Now, were you involved -- let
 20        me just ask you this.            This is just a little aside.
 21        I think the answer is almost certainly no.
 22                     Did you help investigate
 23        U.S. Private Vaults at all prior to the securing of
 24        the indictment in March 2021?
 25               A.    No.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1527
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 72 of 167 Page ID
                                  #:5795


                                                                       Page 71

  1               Q.    I figured not.          Just wanted to clear that
  2        up.
  3                     Were you involved in discussions about
  4        applying for a seizure warrant -- for the seizure
  5        warrant for the U.S. Private Vaults nest of boxes?
  6               A.    No.
  7               Q.    Okay.      So you didn't have any
  8        conversations about getting a seizure warrant?
  9               A.    I was not involved in conversations
 10        regarding the substance of the affidavit which would
 11        lead to the seizure warrant.               But I have discussed
 12        and have had discussions regarding the seizure
 13        warrant.
 14               Q.    Okay.      But not that -- but was that after
 15        the government got the seizure warrant or was that
 16        beforehand?
 17               A.    It was leading up to and, you know,
 18        regarding the execution of the seizure warrant.
 19               Q.    Okay.      So you -- you weren't involved in
 20        the discussions about applying for a seizure
 21        warrant.
 22                     So after your initial discussion with
 23        Special Agent in Charge Matt Moon, when was the next
 24        time you recall discussing the potential use of
 25        civil forfeiture with respect to the nest of

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1528
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 73 of 167 Page ID
                                  #:5796


                                                                       Page 72

  1        safe-deposit boxes at U.S. Private Vaults?
  2               A.    There was a conference call and I don't
  3        remember what the date was.               Obviously prior to the
  4        execution of the search and seizure warrants.                     But a
  5        conference call where we were discussing the
  6        logistics of effecting the warrants.
  7               Q.    So was that call, was that close in time
  8        to the actual execution of the warrant in
  9        March 2021?
 10               A.    Yes.
 11               Q.    So do you recall between the time you
 12        spoke with Special Agent in Charge Matt Moon
 13        regarding U.S. Private Vaults in summer of 2020 and
 14        this conference call that was -- sounds like it was
 15        occurring in the run-up to the execution of the
 16        warrant, so probably in, like, March of 2021, do you
 17        remember any other conversations about the potential
 18        use of civil forfeiture with regards to box renters'
 19        property at U.S. Private Vaults?
 20               A.    I recall that there was one other
 21        conference call and that occurred prior to the phone
 22        call/conference call that you referenced right
 23        before the takedown, so I would guess that that
 24        occurred late in 2020.
 25               Q.    I'm assuming that these different calls

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1529
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 74 of 167 Page ID
                                  #:5797


                                                                        Page 73

  1        had slightly different purposes and conversations.
  2        Like the one that happened right before the
  3        execution obviously is probably really focused in
  4        on, like, how are we going to execute this.
  5                      This call that we're talking about in fall
  6        of 2020, sometime in fall, late fall of 2020, what
  7        was the focus of that conversation?
  8                      MR. RODGERS:         I want to -- I'm sorry.             Go
  9                ahead.
 10           BY MR. FROMMER:
 11                Q.    Well, let me ask first:               Who -- with
 12        whom -- who was on that -- in that conversation with
 13        you?
 14                A.    Asset forfeiture, the criminal side, the
 15        other partnering agencies, some locals, some
 16        federals.        Did I mention the United States
 17        Attorney's Office?           Maybe even our legal forfeiture
 18        unit at headquarters in D.C. and some of my squad as
 19        well and maybe some FBI evidence personnel.
 20                Q.    Oh, wow.       This is a big call.            It seems
 21        like a lot -- do you usually have calls of that
 22        size?
 23                A.    When we have a large-scale investigation,
 24        we have a large conference call with lots of
 25        parties.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1530
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 75 of 167 Page ID
                                  #:5798


                                                                       Page 74

  1                Q.   Makes sense.         That's fair.
  2                     And this was considered a large-scale
  3        investigation; is that correct?
  4                A.   I considered this a large-scale
  5        investigation.
  6                Q.   I think that's fair to say by any account.
  7                     So in that fall conversation, where you
  8        had the other agencies and some of the locals and
  9        your asset forfeiture people, and I think you said
 10        legal forfeiture, and the USAO, what was the topic
 11        of conversation in that fall -- fall 2020 phone
 12        call?
 13                     MR. RODGERS:         Objection.        Instruct the
 14                witness not to call on the attorney-client
 15                privilege grounds.
 16                     MR. FROMMER:         I'm asking about the general
 17                subject matter of the -- I'm not asking about
 18                any particular attorney statements.                  I'm just
 19                asking what was the general topic of
 20                conversation on that call.
 21                     MR. RODGERS:         If you want to go through
 22                the topics one by one, that is fine.                  The
 23                problem with the way you asked the question is
 24                it requires the witness to advise you of the
 25                topics.    That advice to you may, in fact,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1531
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 76 of 167 Page ID
                                  #:5799


                                                                       Page 75

  1               disclose the contents of an attorney-client
  2               communication.         I'm not willing to allow her to
  3               speak generally about the topics without more
  4               directed questions.
  5           BY MR. FROMMER:
  6               Q.    Okay.      Did you discuss -- were the
  7        different people on that fall 2020 call, were they
  8        talking about potential use of civil forfeiture
  9        at -- strike that.
 10                     On that fall 2020 call, were participants
 11        in that call discussing the potential use of civil
 12        forfeiture as to the nest of safe-deposit boxes at
 13        U.S. Private Vaults?
 14                     MR. RODGERS:         Objection.        Instruct the
 15               witness not to answer that question.                   Clearly
 16               requires the witness to disclose the contents
 17               of attorney-client communications.
 18           BY MR. FROMMER:
 19               Q.    After that fall 2020 call, was it your
 20        understanding that you were going to pursue -- not
 21        you personally -- but that the FBI was going to
 22        pursue civil forfeiture against some or all of the
 23        contents of the safe-deposit boxes?
 24                     MR. RODGERS:         Would you repeat that
 25               question, please?

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1532
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 77 of 167 Page ID
                                  #:5800


                                                                       Page 76

  1                     (Requested portion read back.)
  2               A.    Generally speaking, that was an option,
  3        but in the fall of 2020, that wasn't determined
  4        because I needed to see the final draft of the
  5        affidavit before I would make a determination as to
  6        whether or not there was probable cause.
  7           BY MR. FROMMER:
  8               Q.    Okay.      And so you needed to evaluate the
  9        affidavit that was submitted in support of the
 10        seizure warrant in order to determine whether you
 11        felt that there was probable cause to move forward
 12        with potential forfeiture actions?                  Is that
 13        accurate?
 14               A.    Yes.
 15               Q.    Okay.      And you had not seen that -- the
 16        affidavit in support of a seizure warrant at that
 17        point; had you?
 18               A.    I don't know when I saw the first draft,
 19        if it was late 2020 or early 2021.                  But I wanted to
 20        wait, and did wait, until I saw the finalized
 21        version of the affidavit.
 22               Q.    Okay.      So you are -- in the fall of 2020,
 23        after this meeting, is it fair to say that the
 24        United States was prepared to move forward with the
 25        potential use of civil forfeiture as to the nest of

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1533
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 78 of 167 Page ID
                                  #:5801


                                                                       Page 77

  1        safe-deposit boxes, provided that, in your opinion,
  2        the seizure warrant affidavit supplied sufficient
  3        probable cause to do so?
  4                     MR. RODGERS:         Objection.        Poses an
  5               incomplete hypothetical.              Calls for
  6               speculation.        Beyond the scope of the topics of
  7               this deposition.
  8                     Go ahead and answer.
  9               A.    Yes.
 10           BY MR. FROMMER:
 11               Q.    So during that -- during any of your calls
 12        or meetings in the run-up to the -- well, actually,
 13        let me scratch that.
 14                     So you ultimately ended up reviewing the
 15        seizure warrant affidavit; is that correct?
 16               A.    Yes.
 17               Q.    And do you remember when that was,
 18        approximately?
 19               A.    I would estimate early 2021, maybe
 20        February.
 21               Q.    Okay.      So this would have been, like, a
 22        draft version of the affidavit, because it hadn't
 23        yet been submitted, right?
 24               A.    Right.
 25               Q.    Okay.      And you said you reviewed that

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1534
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 79 of 167 Page ID
                                  #:5802


                                                                       Page 78

  1        affidavit to determine whether there was probable
  2        cause to proceed with potential civil forfeiture as
  3        against the nest of safe-deposit boxes, right?
  4               A.    Yes.
  5               Q.    And what was your conclusion having
  6        evaluated that seizure warrant affidavit?
  7               A.    Having evaluated the seizure warrant
  8        affidavit, the finalized version that was going to
  9        be presented to the magistrate, I made a
 10        determination that there was probable cause to
 11        proceed on assets seized in the investigation from
 12        U.S. Private Vaults.
 13               Q.    Now, when you say "assets seized," are you
 14        making any distinction between assets that were
 15        owned by United States Private Vaults, the company,
 16        versus items that were stored inside the nest of
 17        safe-deposit boxes, or did you just feel that there
 18        was probable cause to move for forfeiture on all of
 19        it?
 20                     MR. RODGERS:         Objection.        Beyond the scope
 21               of the topics.         Poses an incomplete
 22               hypothetical.
 23                     You can answer.
 24               A.    I was looking at all of the assets of
 25        U.S. Private Vaults, and within that I was

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1535
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 80 of 167 Page ID
                                  #:5803


                                                                       Page 79

  1        considering the contents of the boxes.
  2           BY MR. FROMMER:
  3               Q.    Okay.      And when you were considering the
  4        contents of the boxes, as opposed to the rest of
  5        U.S. Private Vaults' assets, were you looking at the
  6        same sort of evidence to make that probable cause
  7        determination?
  8                     MR. RODGERS:         Objection.        Vague and
  9               ambiguous with respect to same sorts of
 10               evidence.
 11           BY MR. FROMMER:
 12               Q.    Well, sorry if my question is unclear.
 13                     What I'm trying to figure out is you said
 14        you reviewed the seizure warrant affidavit, and
 15        based on that, you had determined that there was
 16        probable cause to move forward with potential
 17        forfeiture as to the assets at U.S. Private Vaults.
 18                     I'm just asking, did you do one analysis
 19        as to all the property, or do you do a separate
 20        probable cause analysis as to U.S. Private Vaults,
 21        the company's property, versus the nest of
 22        safe-deposit boxes and the property therein?
 23                     MR. RODGERS:         Objection.        The question
 24               goes beyond the scope of the topics.                   Lacks
 25               foundation.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1536
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 81 of 167 Page ID
                                  #:5804


                                                                       Page 80

  1                     You can answer.
  2               A.    Prior to the takedown, I was looking at
  3        probable cause, the same lens for both the assets of
  4        U.S. Private Vaults and the contents of the box,
  5        after the takedown was a different analysis.
  6           BY MR. FROMMER:
  7               Q.    But prior to the takedown, you had
  8        determined -- or at least -- you had determined that
  9        there was probable cause to potentially pursue
 10        forfeiture against some of the property contained
 11        within the nest of safe-deposit boxes.                    Is that
 12        accurate?
 13                     MR. RODGERS:         Same objections.
 14               A.    I determined that there was probable cause
 15        to seize the assets of U.S. Private Vaults and the
 16        contents of the boxes at that location.
 17           BY MR. FROMMER:
 18               Q.    Okay.      So I think I understand that.               Now
 19        I want to -- want to figure out -- okay.                     So let's
 20        move past the fall -- that fall 2020 and let's get a
 21        little bit closer in time towards the takedown, as
 22        you call it, the execution of the seizure warrant.
 23                     So as the FBI was preparing to execute the
 24        seizure warrant, can you just describe to me, how
 25        was your asset forfeiture team involved in the

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1537
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 82 of 167 Page ID
                                  #:5805


                                                                       Page 81

  1        preparations to execute the warrant?
  2               A.    We weren't involved in preparations to
  3        execute the warrants.            We were involved in once the
  4        warrants were executed and assets were seized, then
  5        what was happening after that.
  6               Q.    During this preparation stage, did you --
  7        were there any discussions about what evidence
  8        agents should collect from the individual
  9        safe-deposit boxes?
 10               A.    I don't recall any particular conversation
 11        about that topic.
 12               Q.    Well, do you recall anybody ever saying,
 13        you know, we should have the agents -- we should
 14        have them note if any currency that's in there
 15        smells like marijuana.            Do you remember any
 16        conversations like that?
 17               A.    I do not.
 18               Q.    Do you recall any conversations about
 19        maybe we should take notes about how the money was
 20        packaged or bundled?
 21               A.    I don't remember a particular conversation
 22        about that.
 23               Q.    Do you recall -- do you recall more
 24        generally discussions about, you know, once we're
 25        opening these boxes and going through there, we

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1538
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 83 of 167 Page ID
                                  #:5806


                                                                       Page 82

  1        really should, you know, make observations, we
  2        should record our observations, make some notes
  3        about the box for potential future use?
  4               A.    I don't recall any ticking conversation
  5        about that.
  6               Q.    You don't ever recall discussing this with
  7        Lynne Zellhart?
  8               A.    No.
  9               Q.    When was the first time you recall talking
 10        with Lynne Zellhart about the U.S. Private Vaults
 11        investigation?
 12               A.    Sometime after that first phone call with
 13        SAC Moon, so I would estimate it could be to be fall
 14        of 2020.
 15               Q.    Okay.      And can you tell me, did -- I'm
 16        just going to ask this rather generally.                     What, if
 17        anything, can you recall from that conversation?
 18               A.    It was a while ago, so I don't recall any
 19        specifics.      Just generally, this is -- these are the
 20        facts of the investigation against
 21        U.S. Private Vaults to date and we're planning a
 22        takedown.      In general, that's what I recall.
 23               Q.    And why did -- what was Lynne's purpose in
 24        talking to you about this?
 25                     MR. RODGERS:         Objection.        Speculation.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1539
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 84 of 167 Page ID
                                  #:5807


                                                                       Page 83

  1           BY MR. FROMMER:
  2               Q.    What is your understanding as to why you
  3        spoke with Lynne Zellhart about the
  4        U.S. Private Vaults matter in late-summer 2020?
  5                     MR. RODGERS:         Same objection.          Lacks
  6               foundation.
  7               A.    It was because her investigation could
  8        lead to the seizure of assets.
  9           BY MR. FROMMER:
 10               Q.    Okay.      And was she touching base with you
 11        sort of early in the process so as to make sure she
 12        did things -- that the government collected the
 13        information it might need for potential forfeiture
 14        proceedings?
 15                     MR. RODGERS:         Objection.        Speculation.
 16               Lacks foundation.
 17               A.    It was just touching base to make sure if
 18        that was the direction that we were headed, that I
 19        as the supervisor of the asset forfeiture squad,
 20        that I had people in place to process and handle if
 21        we ended up having a large-scale seizure.
 22           BY MR. FROMMER:
 23               Q.    Now, did she -- at that point, were there
 24        any conversations during that phone call or later
 25        about what steps agents should take to help

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1540
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 85 of 167 Page ID
                                  #:5808


                                                                       Page 84

  1        facilitate the potential use of civil forfeiture as
  2        to -- I'll leave it there.
  3               A.    I don't remember the particulars because
  4        it was a little bit of time ago.                 So I don't recall.
  5               Q.    Let me ask you this:             Is the asset
  6        forfeiture unit that you run, do you generally
  7        advise agents about how to -- about best practices,
  8        what are best practices in preparing for potential
  9        use of civil forfeiture?
 10                     MR. RODGERS:         Objection.        Beyond the scope
 11               of the topics.         Overbroad.        Poses an incomplete
 12               hypothetical.
 13               A.    Yes.
 14           BY MR. FROMMER:
 15               Q.    What kinds of things does your office tell
 16        agents who are contemplating the potential future
 17        use of civil forfeiture about what they should do to
 18        help ensure that they're able to do that.
 19                     MR. RODGERS:         Same objections.
 20               A.    Generally, is first to talk to us as soon
 21        as they think that they might have some assets in
 22        their investigation, share with us their probable
 23        cause and their records, keep us in contact with
 24        regards to the date of the takedown and other law
 25        enforcement activities taking place.                   Is it a

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1541
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 86 of 167 Page ID
                                  #:5809


                                                                       Page 85

  1        search, an arrest?          Are there multiple locations?
  2        Is it just our office, other offices involved, other
  3        agencies involved?          On the day of the takedown,
  4        looking at receipts, taking pictures, where the item
  5        came from, what room, completion of reports, the
  6        parties that are present.
  7           BY MR. FROMMER:
  8               Q.    Okay.      And is the purpose of all that
  9        advice so as to help facilitate the potential use of
 10        civil forfeiture potentially against the property
 11        being seized?
 12                     MR. RODGERS:         Same objections.
 13               A.    Not necessarily to facilitate, but just to
 14        have a complete record of what happened.                     But, yes,
 15        if we pursue asset forfeiture, then we're going to
 16        rely on those facts and reports and observations.
 17                     MR. FROMMER:         I want to actually introduce
 18               another exhibit.          Give me just a second,
 19               please.
 20                     You should have a new exhibit.
 21               Unfortunately, it's listed as Exhibit 0.                   But
 22               it's really Exhibit 10 from a previous
 23               deposition.
 24                     MR. RODGERS:         Hold on just a second.
 25               We're trying to get into ExhibitShare.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1542
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 87 of 167 Page ID
                                  #:5810


                                                                       Page 86

  1                     MR. FROMMER:         Oh, okay.        There should be
  2               one that just says Exhibit 10.
  3                     Are you having problems?
  4                     MR. RODGERS:         Yeah, we are logging into
  5               ExhibitShare.
  6                     MR. FROMMER:         Let's just go off the record
  7               for a minute.
  8                     (Discussion off the record.)
  9                     MR. RODGERS:         We have Exhibit 10.
 10                     MR. FROMMER:         Yeah, it's the same
 11               document.
 12                     (Thereupon, marked as Exhibit 10.)
 13           BY MR. FROMMER:
 14               Q.    Special Agent Murray, have you had a
 15        chance to look over Exhibit 10?
 16               A.    Yes.
 17               Q.    Have you seen not this specific document
 18        before, but have you seen this agent observations
 19        and notes from before?
 20               A.    Yes.
 21               Q.    When did you see it?
 22               A.    Post-takedown.
 23               Q.    Post-takedown.          How did you see it?
 24               A.    As we were receiving the cases, each --
 25        each box that we received had one of these

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1543
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 88 of 167 Page ID
                                  #:5811


                                                                       Page 87

  1        attachments.
  2               Q.    Okay.      So this was a form that was filled
  3        out for each box, to your understanding; is that
  4        correct?
  5               A.    Yes.
  6               Q.    Now, if you could, do you see this -- it's
  7        four down.      It's called "Cash Observations."
  8               A.    Yes.
  9               Q.    Okay?      And it says:         "Agents should note
 10        things such as how the cash is bundled; if it has a
 11        strong odor; if there appears to be drug residue
 12        present; a gun is also present; or anything else of
 13        note."
 14                     And since you work in asset forfeiture,
 15        and you have years of experience in this area, I
 16        wanted to ask a few questions.                So is how cash is
 17        bundled, is that probative as to whether it's
 18        potentially forfeitable criminal proceeds?
 19               A.    It is a factor.
 20               Q.    Can you explain to me?              Why is it a
 21        factor?
 22               A.    It's part of the overall picture that I'm
 23        looking at for probable cause.                So just that in and
 24        of itself may not be, as you said, probative, but
 25        it's part of the overall picture to determine

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1544
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 89 of 167 Page ID
                                  #:5812


                                                                       Page 88

  1        whether probable cause has been met.
  2               Q.    So, is it fair to say then that cash
  3        might -- it might be more likely to be criminal
  4        proceeds if it's bundled using rubber bands, for
  5        instance?      Is that generally -- is that your general
  6        understanding?
  7               A.    Can you please repeat the question?
  8               Q.    Yeah.      It was a bad question.
  9                     Can you explain to me how cash is bundled,
 10        how is that -- how does that relate to whether funds
 11        are potential criminal proceeds?
 12               A.    In most of the times where that is
 13        relevant is drug trafficking cases, narcotics cases.
 14        And how they're bundled, whether they're with
 15        PAYOU sheets, whether there's a sticky note with a
 16        dollar amount and a name, maybe this is money that's
 17        going to someone to purchase drugs, maybe it's money
 18        received from someone to purchase drugs, and how
 19        it's bundled is just part of the overall picture of
 20        what I'm looking at when I do a probable cause
 21        assessment.
 22               Q.    Okay.
 23               A.    Because --
 24               Q.    So information like -- oh, sorry.                    Please
 25        go ahead.      I didn't mean to cut you off.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1545
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 90 of 167 Page ID
                                  #:5813


                                                                       Page 89

  1               A.    It's okay.
  2                     Individuals dealing with large amounts of
  3        currency, that, to me, would fit the bill of someone
  4        who is a narcotics trafficker.                That doesn't
  5        necessarily mean that's definite, but it's just one
  6        factor.
  7               Q.    Okay.      So even this -- even if it's not
  8        determinative, this is evidence which may either
  9        bolster the idea that there's probable cause that
 10        this is criminal proceeds or not; is that right?
 11               A.    Yes.
 12               Q.    And how about the next part where it says:
 13        "If it has a strong odor, marijuana, soil, gas" --
 14        you'll have to explain the soil one to me --
 15        "gasoline, coffee and chemical."
 16                     How -- is that information, noting that
 17        cash smells of marijuana or soil or gasoline or
 18        coffee or chemicals, is that also information that's
 19        useful in determining whether there's probable cause
 20        to believe that property is criminal proceeds or
 21        otherwise forfeitable?
 22               A.    Yes.
 23               Q.    And I would assume if drug residue appears
 24        on money, that that's pretty probative of -- that
 25        this might be criminal proceeds, right?

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1546
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 91 of 167 Page ID
                                  #:5814


                                                                       Page 90

  1               A.    Yes.
  2               Q.    So all of these cash observations, is it
  3        fair to say that all these cash observations are
  4        looking for information which might help show that
  5        there is probable cause to believe that the cash at
  6        issue is criminal proceeds?               Is that fair?
  7               A.    No, because it's really just noting the
  8        cash because once we give it to the marshals, that
  9        cash -- if we're going to process as a forfeiture,
 10        that cash, we can no longer refer to it to see how
 11        does it look, how does it smell, what was near it,
 12        what was of note, how was it bundled, what were --
 13        you know, what did it look like.                 So these are
 14        observation notes because this is the last time --
 15        generally this is the last time it's going to be in
 16        that form because then it's going to go to the
 17        Marshals Service and get deposited to the bank
 18        account.
 19               Q.    Yeah, and then the money is gone and you
 20        wouldn't be able to collect any of that information
 21        afterward, right?
 22               A.    Yes.
 23               Q.    Okay.      So this is your one opportunity to
 24        record information that could be probative later on
 25        regarding whether -- you think there's probable

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1547
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 92 of 167 Page ID
                                  #:5815


                                                                       Page 91

  1        cause to think this is forfeitable currency, right?
  2               A.     Yes.
  3               Q.     And let's go down a little bit.                 You see
  4        all the canine, canine, canine, and this is
  5        relatively straightforward.
  6                      I know, as we talked about, you're an
  7        expert in asset forfeiture.               You've done asset
  8        forfeiture for a number of years.                  You've done a lot
  9        of asset forfeiture cases, I presume.                   Is that fair
 10        to say?
 11               A.     I have done a lot of asset forfeiture
 12        cases.      Even though I have done asset forfeiture
 13        investigations for a long time, I wouldn't be so
 14        bold as to classify myself as an expert.
 15               Q.     That's fine.        That's fine.         And I don't
 16        want to -- I don't mean to classify you as an
 17        expert.      But you do have a good familiarity with
 18        asset forfeiture.          You've been involved with it for
 19        a number of years.
 20                      And I think you would agree with me
 21        whether a canine unit does a sniff, a positive sniff
 22        versus a negative sniff on currency, that is often
 23        probative as to whether that currency is potentially
 24        criminal proceeds, correct?
 25               A.     That is a factor that we look at to

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1548
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 93 of 167 Page ID
                                  #:5816


                                                                       Page 92

  1        determine probable cause.
  2               Q.    And this is another example of the money
  3        was going to go to Loomis and then to the marshals,
  4        it was going to disappear, so if you wanted to get a
  5        canine sniff and record that, you had to do it
  6        before the money left the facility; is that correct?
  7               A.    We had to do it before it went to the
  8        Marshals Service, yes.
  9               Q.    So that's why there were canine units on
 10        site at U.S. Private Vaults, right, to collect that
 11        information before the money went off to the
 12        Marshals Service?
 13               A.    Correct.
 14                     MR. FROMMER:         Give me just a second.           I am
 15               going to introduce another exhibit.                   Hopefully
 16               I do a better job of it this time.                  I'm just
 17               going to copy this.           You should see what is
 18               labeled now as Exhibit 7.
 19                     (Thereupon, marked as Exhibit 7.)
 20                     MR. FROMMER:         Let me know when you have
 21               run across that.
 22                     MR. RODGERS:         We have it.
 23           BY MR. FROMMER:
 24               Q.    All right.        Take a minute, Special Agent
 25        Murray, and familiarize yourself with the document,

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1549
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 94 of 167 Page ID
                                  #:5817


                                                                       Page 93

  1        if you wouldn't mind.            Just let me know when you are
  2        ready.
  3                A.   Okay.      I'm ready.
  4                Q.   All right.        Have you seen this document
  5        before?
  6                A.   It looks familiar.            I think it was
  7        included in something I received, probably in the
  8        big attachment of paperwork close in time to the
  9        actual takedown.
 10                Q.   So you think you would have received this
 11        close in time to the execution of the seizure
 12        warrant?
 13                A.   Yes.
 14                Q.   Do you remember reviewing this at all?
 15                A.   No.
 16                Q.   Do you know who wrote this?
 17                A.   I don't know who drafted -- who authored
 18        this.
 19                Q.   Okay.      Did you have any involvement in
 20        helping create this?
 21                A.   No.
 22                Q.   I figured not, given you barely remember
 23        it.
 24                     Let me see.         Okay.     If you could go to
 25        page -- it's 58.         It's FBI 58, which I think is like

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1550
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 95 of 167 Page ID
                                  #:5818


                                                                       Page 94

  1        Page 3 or 4 of this thing.
  2               A.    Okay.
  3               Q.    The bottom paragraph here, okay, it says:
  4        "FBI evidence techs and asset forfeiture agents will
  5        be working to enter evidence into Sentinel and
  6        generate CATS ID numbers for all cash."
  7                     So you had asset forfeiture agents on
  8        site; is that correct?            At U.S. Private Vaults?
  9               A.    I was the only one on-site.                The other
 10        members of the team were paralegal specialists.
 11               Q.    So you were the only asset forfeiture
 12        agent on site.        Is that fair to say?
 13               A.    Yes.
 14               Q.    And then you had -- your asset forfeiture
 15        paralegals were on-site.             And what were they doing
 16        there?
 17               A.    There was one of us present at all times,
 18        so we took shifts.          We received the asset and
 19        assigned a CATS number to each bag, which
 20        represented each box, and we gave a deposit ticket
 21        with the CATS ID number to go with that bag, so it
 22        could get tracked to Loomis.
 23               Q.    And is your understanding that bags is
 24        when there was more than $5,000 in currency?
 25               A.    No.     Everything was bagged.             Whether or

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1551
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 96 of 167 Page ID
                                  #:5819


                                                                        Page 95

  1        not --
  2               Q.     Even $50?
  3               A.     Yes, everything was bagged.
  4               Q.     Everything was bagged.              Okay.
  5                      And so you had -- so the currency would
  6        get bagged -- well, you were on site, so you can
  7        tell me this.
  8                      Can you just walk me through the process.
  9        The currency gets bagged.               And then what would
 10        happen with the currency?
 11               A.     The contents were bagged and heat-sealed.
 12        A label was put on.            Then they came over to the tent
 13        and we gave them the CAPS number ID assigned to that
 14        asset, and generated a Loomis ticket to go with that
 15        bag.     And then they were compiling the bags and when
 16        there was a large enough group of bags, then there
 17        was -- there were agents that transported the
 18        multiple bags to Loomis.
 19               Q.     Yeah, I understand that, I think Special
 20        Agent Palmerton was in charge of that aspect.
 21                      Now, I do have a question about the
 22        timing.      When the bags are brought to you, were they
 23        getting CATS ID numbers before they were subjected
 24        to a dog sniff or after or would it really be either
 25        way?

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1552
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 97 of 167 Page ID
                                  #:5820


                                                                       Page 96

  1               A.     I believe it was after the dog sniff.
  2               Q.     And regardless of now the dog sniff turned
  3        out, it would get a CATS ID number and get shipped
  4        off to Loomis; is that correct?
  5               A.     Only if there was estimated to have money
  6        over $5,000.
  7               Q.     Had this is what I want to explore.
  8        Because a second ago you said that they bagged all
  9        money.      But then you are saying that only money that
 10        was over $5,000 ended up at Loomis.                   I'm trying to
 11        end up to that sub $5,000.
 12               A.     That money got bagged and went to
 13        evidence.
 14               Q.     Okay.     And that money would not have
 15        generated -- you would not have generated a CATS ID
 16        for that money, correct?
 17               A.     Correct.
 18               Q.     Okay.     Got it.
 19                      Did you ever inventory any boxes yourself?
 20               A.     No.
 21               Q.     Can you look on 59, it's the next page.
 22        It's about halfway down.             It's the last sentence of
 23        the big paragraph, "Search/inventory agents."
 24                      And it reads:         "Anything which suggests
 25        the cash may be criminal proceeds should be noted

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1553
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 98 of 167 Page ID
                                  #:5821


                                                                       Page 97

  1        and communicated to the admin team."
  2                      And I just had a question.               Is that
  3        consistent with your general understanding of how
  4        whenever you execute a seizure warrant, that you
  5        would note this information and communicate it to an
  6        administrative -- sorry.             I'm going all over the
  7        place.      Let me clean this up.
  8                      When they say "admin team" here, should we
  9        understand that to mean your asset forfeiture
 10        paralegals?       Or someone else?
 11                      MR. RODGERS:        Objection.        Calls for
 12               speculation.        Lacks foundation.
 13               A.     I think she means case agents,
 14        supervisors, so Lynne or whoever, Madison, basically
 15        people familiar with the case that were this charge
 16        of the case.       Because there were agents who didn't
 17        belong to Lynne's squad that were helping since it
 18        was a 24/7 operation for multiple days.                    So admin
 19        team is someone who is privy to the case and the
 20        investigation.
 21           BY MR. FROMMER:
 22               Q.     Okay.     All right.        So that's different
 23        then than your asset forfeiture paralegals?
 24                      MR. RODGERS:        Same objection.
 25               Speculation.        Lacks foundation.

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1554
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 99 of 167 Page ID
                                  #:5822


                                                                       Page 98

  1               A.    It could include us, but not necessarily.
  2           BY MR. FROMMER:
  3               Q.    Okay.      So it might -- this sentence might
  4        mean that anything that suggests that cash may be
  5        criminal proceeds, the agent should note that and
  6        provide it to your team, the asset forfeiture team?
  7                     MR. RODGERS:         Objection.        Lacks
  8               foundation.       Calls for speculation.
  9               A.    No, not necessarily our team, just someone
 10        familiar with the case, whether it's the case agent,
 11        or it could include me or the paralegal specialists.
 12        But not necessarily.
 13           BY MR. FROMMER:
 14               Q.    And then let me just go back to 58,
 15        Page 58, so one page up.             It's the paragraph in the
 16        middle that starts "team leader."                  And it -- I think
 17        it's the fourth sentence.              It's halfway in the
 18        paragraph.
 19                     And it basically is talking about all the
 20        paperwork that should be prepared, and it says:                       "A
 21        copy of the paperwork will go to asset forfeiture."
 22                     And my question is, why is a copy of all
 23        the paperwork being created here going to asset
 24        forfeiture?
 25                     MR. RODGERS:         Objection.        Lacks

                                   Exhibit O
                                   9HULWH[W/HJDO6ROXWLRQV
                 aaa
                                      1555
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 100 of 167 Page ID
                                   #:5823


                                                                        Page 99

   1              foundation.        Assumes facts not in evidence.
   2              Calls for speculation.              Beyond the scope of the
   3              topics.
   4              A.     A copy of the paperwork is the seizure 302
   5        or those agent observations that you referenced as
   6        an exhibit because that's part of our probable cause
   7        story.
   8          BY MR. FROMMER:
   9              Q.     Your probable cause story as to whether
 10         there's probable cause to think that the assets in
 11         question are forfeitable or not?
 12                      MR. RODGERS:         Same objections.
 13               A.     A determination was already made that
 14         there was probable cause, so any other information
 15         supplements the existing probable cause.                     So this
 16         would be supplemental information.
 17           BY MR. FROMMER:
 18               Q.     Okay.      All right.        Give me just one
 19         second, please.
 20                      Now, I understand that the government
 21         collected this information.               It was a bit of a
 22         use-it-or-lose-it situation, and so the government
 23         was collecting this information that's on the
 24         observation -- agent observation notes and other
 25         forms.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1556
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 101 of 167 Page ID
                                   #:5824


                                                                       Page 100

   1                     Is it fair to say the United States has
   2        used the evidence it collected from box renters'
   3        boxes in forfeiture proceedings against some box
   4        renters' property?
   5                     MR. RODGERS:         Objection.         Beyond the scope
   6              of the topics of this deposition.                   If this
   7              question is limited to administrative
   8              forfeiture proceedings, that is fine, but to
   9              the extent --
 10                      MR. FROMMER:         Yes.     Okay.      Fine.       Victor,
 11               I get you.        Let me rephrase.           I'll just
 12               rephrase it then.           I'm fine with what you are
 13               saying.
 14                      MR. RODGERS:         Okay.      Sure.
 15           BY MR. FROMMER:
 16               Q.     So has the United States used evidence it
 17         collected on the agent observation notes form and in
 18         other ways, from box renters' boxes, to pursue
 19         administrative forfeiture against some box renters'
 20         property?
 21               A.     We used it as part of the -- as the asset
 22         forfeiture process and part of the probable cause
 23         story as supplement to the probable cause, yes.
 24               Q.     And do you know if the United States has
 25         used the evidence it collected from box renters'

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1557
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 102 of 167 Page ID
                                   #:5825


                                                                       Page 101

   1        boxes to apply for other search and/or seizure
   2        warrants?
   3              A.     I don't know.
   4              Q.     Okay.      That's fine.         How many days were
   5        you at U.S. Private Vaults?
   6              A.     I had a shift that started on Tuesday
   7        until Friday.
   8              Q.     How many hours a day?
   9              A.     I think we did maybe six-hour or
 10         eight-hour shifts.          I don't recall.
 11               Q.     Okay.      And so if you could, just -- and we
 12         talked about this a little, but I just want to come
 13         back to it.
 14                      Can you sort of just tell generally what
 15         were your responsibilities during the execution of
 16         the warrant, of the seizure warrant?
 17               A.     I was there as an asset forfeiture body
 18         doing a shift, along with the paralegal specialists,
 19         so just assigning CATS numbers to the bags and
 20         logging them into our logbook what CATS number
 21         equaled what box.
 22               Q.     So you were processing the bags of
 23         currency, giving them CATS numbers, sending them
 24         along to Loomis.         Were you collecting these agent
 25         observation and notes forms and 302s?

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1558
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 103 of 167 Page ID
                                   #:5826


                                                                       Page 102

   1              A.     Not at the takedown site or that week.
   2        They came to me later on.
   3              Q.     So subsequent to the time of the execution
   4        of the seizure warrant.             Do you remember about how
   5        long after the warrant was executed that asset
   6        forfeiture, your team, got copies of the 302s and
   7        other paperwork?
   8              A.     They would come in batches, but we were
   9        getting them as soon as the week after, and then
 10         they would come -- there were a lot of boxes, a lot
 11         of paperwork, so they were coming in in phases.
 12               Q.     I'm sure.        So now you have the -- let's
 13         move a little bit past the takedown, as you call it.
 14                      So now the boxes have all been processed.
 15         You finally get to leave Olympic and you are back at
 16         the office.       You start getting the 302s and other
 17         paperwork that's associated with the takedown.                    And
 18         at that point, I'm wondering what did the asset
 19         forfeiture unit do next with regard to investigating
 20         the boxes and their owners?
 21               A.     We were drafting up probable cause
 22         statements for each box.             We were inputting the
 23         information into the CATS database for notice
 24         purposes.      We were communicating with the criminal
 25         side as to other information pertaining to each box,

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1559
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 104 of 167 Page ID
                                   #:5827


                                                                       Page 103

   1        if they had additional information.
   2              Q.     And when you say that, when you say you
   3        were interfacing with the criminal side to see if
   4        they had additional information, is that if you are
   5        not quite sure whether there's probable cause to
   6        move forward as to forfeiture for a particular piece
   7        of property, you would interface with the criminal
   8        people to see if they had any additional evidence?
   9        Is that accurate?
 10               A.     No.     There was already a determination
 11         that probable cause has been met, and so any other
 12         information that was coming from the criminal side
 13         or coming from the agent observation and notes at
 14         the takedown, then all of that was to supplement
 15         what we already had.
 16               Q.     Well, let me ask this.              The one thing I
 17         guess I'm confused by.            We've talked about this
 18         probable cause determination.                Was the probable
 19         cause determination done box by box and property by
 20         property, or was it one determination across the
 21         entire U.S. Private Vaults entity and customers?
 22               A.     The probable cause determination was based
 23         on the finalized version of the affidavit and it was
 24         for U.S. Private Vaults as that business and its
 25         contents as its business assets.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1560
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 105 of 167 Page ID
                                   #:5828


                                                                       Page 104

   1              Q.     Well, I guess that's what I'm getting at.
   2        Is the stuff that's inside people's rented
   3        safe-deposit boxes, was that considered part of the
   4        business' assets?
   5              A.     Yes.
   6              Q.     All right.        So when you are deciding -- so
   7        I get it, you are evaluating the evidence, you are
   8        looking at the evidence to decide.                  And I think you
   9        previously testified that the administrator
 10         forfeiture determination about whether to pursue
 11         administrative forfeiture, it happens at the field
 12         office level, but we can explore that.
 13                      What I'm wondering is -- so you are doing
 14         this investigation.           You've got the evidence, you
 15         are doing further investigation -- oh, that's a good
 16         question.
 17                      Your team, your asset forfeiture team, are
 18         they conducting additional investigation as to box
 19         renters to -- for potential additional evidence to
 20         support a probable cause determination?
 21               A.     No.
 22               Q.     Are they investigating or are they looking
 23         at box -- are they doing any investigation of box
 24         holders or box renters?
 25               A.     We did not for this case.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1561
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 106 of 167 Page ID
                                   #:5829


                                                                       Page 105

   1              Q.     So when you were making your probable
   2        cause determination about what pieces of property to
   3        move forward on through administrative forfeiture,
   4        what was it that your team, you and your team were
   5        looking at?
   6              A.     We had already determined that there was
   7        probable cause to move forward and the factor
   8        whether or not it was going to our shop versus
   9        evidence was if it met the minimum monetary
 10         threshold.
 11               Q.     Okay.      Is there any box that had -- is
 12         there any amount of currency that was above $5,000
 13         that the FBI did not move for administrative
 14         forfeiture upon?
 15               A.     No, we initiated civil administrative
 16         forfeiture against all of the boxes that met the
 17         minimum monetary threshold.
 18               Q.     Okay.      Thank you.
 19                      That initial administrative forfeiture
 20         determination, whether they get on the only omnibus
 21         list or not, is that your team, is that the LA field
 22         office making that call, or is that FBI
 23         headquarters?        Just if you can give me some idea?
 24               A.     I don't know what you mean by who gets on
 25         the omnibus --

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1562
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 107 of 167 Page ID
                                   #:5830


                                                                       Page 106

   1                Q.      Oh, sorry.     Sorry.      I know that there's
   2        ultimately an omnibus administrative forfeiture
   3        notice that was sent to U.S. Private Vaults that had
   4        about 400 boxes on it.
   5                A.      Okay.
   6                Q.      And I don't really want to talk about
   7        that.        What I'm trying to determine is when -- there
   8        was a determination made that, yes, we should move
   9        on admin forfeiture, we should pursue administrative
 10         forfeiture against this particular box, was that a
 11         decision that was being made solely by the LA field
 12         office?        Was that decision that was also being made
 13         at FBI HQ?        That's what I'm trying to get more
 14         understanding of.
 15                 A.      It was made at the field office level.
 16                 Q.      Okay.   And I understand about cash.              And I
 17         understand that you said that basically any cash
 18         that was seized that was above the -- that $5,000
 19         FBI minimum, that the FBI pursued administrative
 20         forfeiture against that.             Is that a fair statement?
 21                 A.      Yes.
 22                 Q.      Okay.   Now I have a slightly different
 23         question about, you know, the gold and the silver in
 24         there, you know, non-currency property.                    How did
 25         your office determine whether to pursue

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1563
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 108 of 167 Page ID
                                   #:5831


                                                                       Page 107

   1        administrative forfeiture as against, you know,
   2        precious metals or jewelry or other valuables of
   3        that nature.
   4              A.     Generally, we proceeded against all of the
   5        non-currency valuables if it looks like it was
   6        worth -- if the value would meet our minimum
   7        monetary threshold.           If there was one little tiny
   8        ring that looked like it came from Cracker Jack box,
   9        then we wouldn't.          If there was one coin, one-dollar
 10         gold coin, then we wouldn't.               But the boxes that
 11         contained silver bars and gold nuggets, then those
 12         got bagged and went to valuable evidence.
 13               Q.     And so long as -- is it fair to say then,
 14         so long as the asset -- your asset forfeiture team
 15         looked at that gold or silver that was in the box
 16         and it was above the jurisdictional minimum of
 17         $5,000, that, in those situations, you would pursue
 18         administrative forfeiture against that gold or
 19         silver?     Is that fair?
 20               A.     We didn't review every single bag.                   The
 21         agents would make that determination.                   If it was a
 22         close call, they might come and say, hey, this bag
 23         has this in it.         Yes or no.
 24               Q.     Okay.
 25               A.     But many of the bags were getting --

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1564
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 109 of 167 Page ID
                                   #:5832


                                                                       Page 108

   1        having that determination made by the agents
   2        themselves.
   3              Q.     And by the agents, you are talking
   4        Lynne Zellhart and Madison MacDonald; is that right?
   5              A.     The agents at the search -- at the
   6        takedown.
   7              Q.     The agents at the takedown were themselves
   8        determining whether they thought the precious metals
   9        were potentially forfeitable through administrative
 10         forfeiture?
 11               A.     Yes, because they received their tasking
 12         and guidelines before of this is what's going to go
 13         to asset forfeiture, this is what's going to go to
 14         evidence.      So an agent was able to determine this
 15         bag containing 20 silver bars, you know, that's
 16         going to go through asset forfeiture.
 17               Q.     Okay.      So they run it -- it's your
 18         agent -- I get what are you saying.                   So you have the
 19         agent with the box.           And the agent is going through
 20         the box and sees a bunch of gold and silver that
 21         appears to be like $10,000 worth.                  Just off the top
 22         of my head.       In that situation, what would that
 23         agent do?      I'm trying to figure out, like, would
 24         that agent then somehow note that the gold and
 25         silver was above the jurisdictional minimum?                      How

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1565
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 110 of 167 Page ID
                                   #:5833


                                                                       Page 109

   1        would they communicate that to you?
   2              A.     They would bring it to the table and say,
   3        I need a CATS ID.
   4              Q.     So gold and silver that was above the
   5        jurisdictional minimum was getting CATS ID numbers?
   6              A.     Yes.
   7              Q.     And that was happening on site?
   8              A.     Yes.
   9              Q.     I'm assuming, though, that you took that
 10         silver and gold, instead of taking it to Loomis,
 11         that just went to your valuables vault; is that
 12         correct?
 13               A.     Yes.
 14               Q.     But the agents are saying -- so to your
 15         understanding, the agents were instructed, open the
 16         box, if the box has -- obviously if it has more than
 17         $5,000 in cash, bag, it bring it out, we'll CATS
 18         number it.
 19                      If it's gold and silver, if you think it's
 20         above 5,000, then come and ask for a CATS ID number
 21         and we'll get it in the asset forfeiture system.                      Is
 22         that a fair summary?
 23               A.     Yes.
 24                      MR. FROMMER:         Let me take like five
 25               minutes.       We've got a little bit more to go,

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1566
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 111 of 167 Page ID
                                   #:5834


                                                                       Page 110

   1              Victor, but it won't be all that terrible.                      Let
   2              me get five minutes, okay?
   3                      (Recess was held from 2:15 p.m. until
   4              p.m.)
   5          BY MR. FROMMER:
   6              Q.      Thank you so much.           Sorry for the quick
   7        break.
   8                      I had a question -- I want to jump back
   9        for a second to the petition process.                   When people
 10         would file a petition, is it fair to say they would
 11         often provide paperwork in support of their
 12         petition?
 13               A.      That's what they're supposed to do.
 14         Sometimes petitioners just say, I would like my
 15         money back and provide no additional information.
 16               Q.      Okay.     I understand that.            Some people
 17         just file bare-bones petition, don't provide
 18         anything in support.           But let's talk about the
 19         people who, you know, put actual paperwork in place.
 20                       What I'm trying to do is, okay, so you get
 21         a petition for remission or mitigation, and it has
 22         some papers attached to it, you know, some documents
 23         that are filed in support.              What happens to those --
 24         who reviews those documents?
 25                       MR. RODGERS:        I just want to object.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1567
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 112 of 167 Page ID
                                   #:5835


                                                                       Page 111

   1              Beyond the scope of the topics.                  And beyond the
   2              scope of this proceeding.
   3                     Go ahead.
   4              A.     The paralegal specialist receives them and
   5        reviews them.
   6          BY MR. FROMMER:
   7              Q.     And does that paperwork get uploaded into
   8        some file system?
   9                     MR. RODGERS:         Same objections.
 10               A.     Yes, it does.
 11           BY MR. FROMMER:
 12               Q.     So is it fair to say that papers that
 13         people file as part of the petition process, are
 14         those retained on FBI servers, those documents?
 15                      MR. RODGERS:         Objection.        Beyond the scope
 16               of this litigation.            Objection beyond the
 17               topics in the deposition notice.                  Lacks
 18               foundation.        Irrelevant.
 19                      You can answer.
 20               A.     It's on our FBI computer.
 21           BY MR. FROMMER:
 22               Q.     Is it held -- do you know if those
 23         documents are held inside Sentinel?
 24                      MR. RODGERS:         Same objections.
 25               A.     Our documents go in Sentinel.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1568
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 113 of 167 Page ID
                                   #:5836


                                                                       Page 112

   1          BY MR. FROMMER:
   2                Q.   Your document -- so these documents would
   3        go into Sentinel.
   4                     Is it your understanding that -- scratch
   5        that.
   6                     Are you aware of any mechanism by which
   7        documents are -- that people submit as part of the
   8        petition process, are they ever removed from
   9        Sentinel?
 10                      MR. RODGERS:         Objection.        Beyond the scope
 11                 of the topics.        Beyond the scope of this
 12                 litigation.      Pertains to topics for which this
 13                 witness has not been offered today.                  Lacks
 14                 foundation.      Assumes facts not in evidence.
 15                 Calls for speculation.
 16                      You can answer.
 17                 A.   Not that I'm aware of.
 18           BY MR. FROMMER:
 19                 Q.   Now I can't remember what my question was.
 20                      MR. FROMMER:         Can you repeat my question,
 21                 please?
 22                      (Requested portion read back.)
 23                 A.   The answer is not that I'm aware of.
 24           BY MR. FROMMER:
 25                 Q.   I thought that's what you said before.                   I

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1569
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 114 of 167 Page ID
                                   #:5837


                                                                       Page 113

   1        just wanted to make sure.
   2                        Let me jump a little bit.             And we were
   3        talking about this before.              I want to go back to
   4        that -- it sounded like there were sort of three
   5        meetings that occurred around -- prior to the
   6        takedown, as you call it.              And I understand that
   7        there was a meeting, a big multi-agency meeting in
   8        fall.        I think said it was with the other agencies,
   9        with some local agencies, and some people from the
 10         USAO.
 11                         Do you recall the meeting that I'm talking
 12         about?
 13                 A.      Yes.
 14                 Q.      Okay.   And what I want to figure out is
 15         did any of the local agencies discuss or ask -- why
 16         were the local agencies there?                Why were local
 17         agencies at that fall 2020 meeting?
 18                         MR. RODGERS:      Objection.        Calls for
 19                 speculation.       To the extent the reason that
 20                 these local agencies were at the meeting was at
 21                 the request of any attorney, I instruct you not
 22                 to answer.
 23                 A.      Because they were a part of the
 24         investigation.
 25

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1570
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 115 of 167 Page ID
                                   #:5838


                                                                       Page 114

   1          BY MR. FROMMER:
   2                Q.   And how were they part of the
   3        investigation?
   4                A.   I am not privy to how each local agency
   5        contributed to the investigation.                  I just know that
   6        there were locals and postal and DEA, and I don't
   7        know how they played a part, but that they were part
   8        of the investigation.
   9                Q.   Okay.      That's fair.         I understand that you
 10         weren't involved in the investigatory part of the
 11         case.
 12                      So did the -- at that meeting, were the
 13         local agencies asked about -- to be involved in the
 14         takedown, as you call it?
 15                      MR. RODGERS:         Objection.        Instruct the
 16                 witness not to respond on attorney-client
 17                 privilege grounds.
 18                      MR. FROMMER:         I didn't ask any contents of
 19                 any attorney communication.              I simply asked --
 20                 I asked an operative thing.              Were these local
 21                 agencies asked to be part of the takedown?
 22                      MR. RODGERS:         You asked whether those
 23                 local agencies during the course of a meeting
 24                 in which attorneys were present asked to be
 25                 part of the takedown.           That is the exact

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1571
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 116 of 167 Page ID
                                   #:5839


                                                                       Page 115

   1              content of a conversation.
   2          BY MR. FROMMER:
   3              Q.     Do you recall any non-attorney discussing
   4        the potential use of civil forfeiture at that fall
   5        2020 meeting?
   6                     MR. RODGERS:         Same objection.          Same
   7              instruction.
   8                     MR. FROMMER:         Victor, I would like to
   9              point out now that I've asked numerous
 10               questions that don't go to any attorney-client
 11               communication.          You're using the privilege to
 12               simply prevent any inquiry into meetings where
 13               attorneys were simply present, even though
 14               that's not the -- that is simply not the
 15               contour of the attorney-client privilege.
 16                      MR. RODGERS:         My instruction stands.            You
 17               can ask questions and you already have.                     It is
 18               obvious locals were at the execution of the
 19               warrant.       I'm not sure why there's a need to go
 20               into attorney-client communications concerning
 21               the locals.        Because you already have the
 22               information from another source.
 23                      MR. FROMMER:         Let me ask a different
 24               question then.
 25

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1572
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 117 of 167 Page ID
                                   #:5840


                                                                       Page 116

   1          BY MR. FROMMER:
   2              Q.     Were the local agencies told if they
   3        participated in the excuse of the seizure warrant,
   4        that they would be entitled to receive some of the
   5        asset forfeiture proceeds that may accrue as a
   6        result?
   7              A.     Not that I'm aware of.
   8              Q.     Do you know how the local agencies got
   9        paid for their time that they spent at
 10         U.S. Private Vaults during the takedown?
 11                      MR. RODGERS:         Objection.        Speculation.
 12               A.     I presume they were paid --
 13                      MR. RODGERS:         Don't presume.          If you know,
 14               tell him.       It doesn't help if you guess.               But
 15               if you have an estimate, please go ahead and
 16               say it.       But if not, please don't speculate.
 17               A.     They got paid by their employer to do
 18         their job.
 19           BY MR. FROMMER:
 20               Q.     Have you received any DAG-71s from any of
 21         the local agencies that participated in the takedown
 22         at U.S. Private Vaults?
 23               A.     Yes.
 24               Q.     Which agencies?
 25               A.     I don't remember all of them.                 I think

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1573
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 118 of 167 Page ID
                                   #:5841


                                                                       Page 117

   1        Beverly Hills, maybe Almonte, DEA, postal, maybe
   2        Monrovia.      I don't remember.
   3              Q.     And in those DAG-71s, are they requesting
   4        a certain percentage of any and all property that
   5        was seized and forfeited from the nest of security
   6        boxes?
   7                     MR. RODGERS:         Objection.        Overbroad.
   8                     You can answer.
   9              A.     They requested percentage of particular
 10         assets.
 11           BY MR. FROMMER:
 12               Q.     Particular assets?
 13               A.     Right.      So one at a time.            So a DAG for
 14         each asset.
 15               Q.     Okay.      So as assets are forfeited and
 16         become -- get deposited in the asset forfeiture
 17         fund, then these local agencies will submit DAG-71s
 18         for a percentage of the particular asset that's been
 19         forfeited; is that correct?
 20               A.     No, you have to submit the DAG within a
 21         certain amount of days after the time of seizure.
 22         So you have to put that in place.                  And then you wait
 23         to see if the assets gets forfeited.
 24               Q.     Okay.      So these agencies then, did they
 25         send in, like -- did they each send in, like, 400 or

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1574
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 119 of 167 Page ID
                                   #:5842


                                                                       Page 118

   1        400 different DAG-71s?            Did they send in a different
   2        DAG-71 for each and every box?
   3              A.     I am not privy to the inner workings of
   4        the DAG form, but it's online, so I -- however you
   5        submit it.      But my understanding is that you have to
   6        submit a request for each asset.                 But you may be can
   7        do that with one push of a button.
   8              Q.     So when you say "asset," would they --
   9        these local agencies, would they be -- by the term
 10         "asset," do we mean like -- because you said before
 11         that currency got a CATS ID.               And gold and silver,
 12         for instance, that appeared to be above the
 13         jurisdictional minimum would get a CATS ID.
 14                      So when referring to an asset, like they
 15         are asking for a percentage of the asset, does that
 16         tie back to the specific CATS number that was
 17         assigned?      Is that -- I just want to make sure we're
 18         using the term "asset" the same way.
 19               A.     Yes.
 20               Q.     Okay.      So there would be a CATS number
 21         for, let's say, $100,000 of currency, that gets --
 22         and then within a certain amount of time of the
 23         seizure of that $100,000, all these local agencies
 24         would submit DAG-71s asking for a certain percentage
 25         of whatever is ultimately forfeited; is that

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1575
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 120 of 167 Page ID
                                   #:5843


                                                                       Page 119

   1        correct?
   2              A.     Yes.
   3              Q.     And then, I guess, you sit and wait to see
   4        what ultimately happens to the asset and then
   5        distribute if the asset is ultimately forfeited.                       Is
   6        that an accurate statement?
   7              A.     Once the declaration of forfeiture has
   8        been issued, then -- I don't know how soon after,
   9        but then the sharing occurs.
 10               Q.     And this is for the state and locals.                    So
 11         you would have received then -- I think I asked this
 12         before, so I apologize.             So roughly how many DAG-71s
 13         has your office received as a result of the actions
 14         of U.S. Private Vaults?
 15               A.     I am not -- once again, I don't know -- I
 16         don't work in that database that has the DAG, but
 17         every asset that we had in U.S. Private Vaults, if
 18         someone put in a request, then they put in a request
 19         for all of the assets that we seized.
 20               Q.     Okay.
 21               A.     But I don't get 500 pieces of paper across
 22         my desk.     In the database.
 23               Q.     Yeah, I get that.            I'm just trying to
 24         figure out how many DAG-71s actually got filed with
 25         you, I guess.        Because it sounds like there's

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1576
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 121 of 167 Page ID
                                   #:5844


                                                                       Page 120

   1        different DAG-71 for everything that has its own
   2        CATS ID number.         And then you have, for each asset
   3        with its own CATS ID, you have multiple agencies
   4        that were involved in the takedown.                   So it seems, if
   5        you multiply those numbers together, that you have
   6        potentially thousands of DAG-71s that you have
   7        received as -- that the LA field office has received
   8        as a consequence of U.S. Private Vaults' takedown.
   9        I'm just asking if that seems accurate.
 10                      MR. RODGERS:         Objection.        Speculation.
 11               Lacks foundation.
 12               A.     There's a lot of DAGs but they're in the
 13         database.      They get submitted online.               So they're
 14         there, but I'm not seeing them across my desk on a
 15         daily basis.
 16           BY MR. FROMMER:
 17               Q.     Okay.
 18               A.     But all of the agencies that put in for
 19         sharing for all of the Private Vaults assets, that
 20         information is in whatever database holds the DAG.
 21               Q.     Okay.      All right.        I got that.        I was just
 22         asking more a number question.                I was just trying to
 23         get at -- how many -- you are in a unique position
 24         to know this.        How many assets got CATS ID numbers
 25         as a result of the U.S. Private Vaults takedown?

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1577
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 122 of 167 Page ID
                                   #:5845


                                                                       Page 121

   1        I'm not asking you for a precise number.                     Just give
   2        me a ballpark.
   3                     MR. RODGERS:         Objection.        Lacks
   4              foundation.        Calls for speculation.
   5              A.     I think there was around 400.
   6          BY MR. FROMMER:
   7              Q.     And were all of those 400 CATS ID numbers,
   8        did they -- let me rephrase.
   9                     The government put out an administrative
 10         forfeiture notice in late May of 2021, correct?
 11               A.     I don't know the exact dates, but I know
 12         they sent out notice.
 13               Q.     And actually, let me go back.                  Let me
 14         introduce that because I do want to --
 15                      MR. FROMMER:         I'm going to introduce
 16               another exhibit.           Give me just a second.
 17                      I think we're on 15.             You should have that
 18               in a just a second.            Let me know when you have
 19               received it.         This is, I think, Exhibit 15.
 20                      (Thereupon, marked as Exhibit 15.)
 21                      MR. RODGERS:         We have it.
 22           BY MR. FROMMER:
 23               Q.     Just take a look at it.               Take a minute and
 24         look through it.
 25               A.     I see the date of May 20.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1578
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 123 of 167 Page ID
                                   #:5846


                                                                       Page 122

   1              Q.     And are you familiar with this document?
   2              A.     Yes.
   3              Q.     Can you describe to me what this document
   4        is?
   5              A.     It's the initial -- the start of our
   6        administrative forfeiture process for FBI and this
   7        is for U.S. Private Vaults.
   8              Q.     Were you involved in putting this
   9        together?
 10               A.     I was not involved in putting this
 11         together.      Staff members on my squad input the
 12         information that then fills, populates, this notice
 13         letter that I said gets sent out by our headquarters
 14         in Washington, D.C.
 15               Q.     Okay.      So this document would have been
 16         transmitted by asset forfeiture headquarters in
 17         D.C.; is that correct?
 18               A.     I think it's the FSPU, forfeiture seized
 19         property unit, they generate the notice letters.                      In
 20         Washington, D.C., at our headquarters.
 21               Q.     What's their name again?
 22               A.     It's the FSPU, forfeiture and seized
 23         property unit.
 24               Q.     Never heard of that before.                Forfeiture
 25         and seized property unit.

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1579
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 124 of 167 Page ID
                                   #:5847


                                                                       Page 123

   1                     And what is their -- what is their -- what
   2        are their responsibilities?               Do they process
   3        forfeiture notices?           Is that their job?
   4              A.     They process the notices and they process
   5        the cases from our office.
   6              Q.     What do you mean when they process the
   7        cases from your office?
   8              A.     They generate the notice letters.                    They
   9        oversee the information that we put in on the case.
 10         They send letters to us about deadlines or things
 11         that have been accomplished in the case.                     They kind
 12         of oversee the field office as a forfeiture cases.
 13               Q.     So they are a unit in the headquarters.
 14         They are providing support and also helping oversee
 15         the asset forfeiture process.
 16                      So this would have come out of the FSPU
 17         based on information that you and your team
 18         collected and input; is that correct?
 19               A.     Yes.
 20               Q.     And this reflects you and your team's
 21         judgments about property for which there was
 22         probable cause to move for forfeiture; is that
 23         correct?
 24               A.     Well, every case that we submitted to
 25         them, that was our statement that we believed there

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1580
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 125 of 167 Page ID
                                   #:5848


                                                                       Page 124

   1        was probable cause for asset forfeiture.
   2              Q.     Do you recall if there are any boxes or
   3        any CATS ID numbers, assets, that you submitted
   4        saying we believe there's probable cause for
   5        forfeiture here, where the FSPU overruled you or
   6        said, no, this property should just be returned?
   7              A.     Are you asking about just Private Vaults?
   8              Q.     Yeah, just Private Vaults.
   9              A.     The entity that would do that is the legal
 10         forfeiture unit, and, no, they did not in the
 11         U.S. Private Vaults case.
 12               Q.     So the legal forfeiture unit took your
 13         list of we believe these assets should be pursued
 14         via administrative forfeiture, and they approved it
 15         and didn't disapprove any of your suggestions; is
 16         that correct?
 17                      MR. RODGERS:         Objection.        Lacks
 18               foundation.        Calls for speculation.
 19                      You can answer.
 20               A.     They did not order us to return any
 21         particular box and they approved our cases going
 22         forward.
 23           BY MR. FROMMER:
 24               Q.     And once the government sent out -- can
 25         you explain to me how -- I do want to walk back a

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1581
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 126 of 167 Page ID
                                   #:5849


                                                                       Page 125

   1        little bit just for a second on the administrative
   2        forfeiture process because I -- I understand there's
   3        a thing called a petition.              Then I understand
   4        there's a thing called a claim.                 And I think you
   5        testified earlier that once a claim is filed, then
   6        the property has to go through judicial forfeiture;
   7        is that correct?
   8              A.     No, it doesn't have to.               Once a claim is
   9        filed, the case goes from civil administrative, then
 10         we refer it to the United States Attorney's Office
 11         for them to decide whether or not it should continue
 12         as a civil judicial case.
 13               Q.     That's what I meant.             Thank you for that.
 14                      So do you understand if
 15         U.S. Private Vaults, the company, did it file any
 16         sort of judicial claim in response to this asset
 17         forfeiture notice?
 18                      MR. RODGERS:         Objection.        Beyond the
 19               scope.
 20                      You can answer.
 21               A.     I think it did.
 22           BY MR. FROMMER:
 23               Q.     So you terminated -- pursuant to what you
 24         are saying then, you terminated all the
 25         administrative forfeiture proceedings that were

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1582
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 127 of 167 Page ID
                                   #:5850


                                                                       Page 126

   1        underway and forwarded the information along to
   2        Victor and the U.S. Attorney's Office, correct?
   3                     MR. RODGERS:         Objection.        Calls for a
   4              legal conclusion.           Potentially deals with
   5              matters that invoke the work-product doctrine.
   6                     I will allow you to -- I will allow the
   7              witness to answer the question yes or no.
   8                     THE WITNESS:         Can you repeat the question,
   9              please?
 10                      MR. FROMMER:         I'd love to know what the
 11               question was myself.
 12                      (Requested portion read back.)
 13               A.     Yes.
 14           BY MR. FROMMER:
 15               Q.     So you terminated all the administrative
 16         forfeiture proceedings that were underway?
 17                      MR. RODGERS:         Objection.        Calls for a
 18               legal conclusion.           The witness doesn't
 19               terminate proceedings.              The law terminates
 20               proceedings.
 21                      But the witness can answer the question,
 22               without speculating, whether all these cases
 23               were transferred to the United States
 24               Attorney's Office, if the witness knows.
 25               Because this is beyond the scope of the

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1583
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 128 of 167 Page ID
                                   #:5851


                                                                       Page 127

   1                deposition notice.
   2                A.   I know not all of them were because we
   3        still have administrative forfeiture cases going
   4        forward from U.S. Private Vaults.
   5          BY MR. FROMMER:
   6                Q.   You still have administrative forfeiture
   7        proceedings going forward?
   8                A.   Yes.
   9                Q.   Is there any like time limit about how
 10         long an administrative forfeiture proceeding can
 11         last?
 12                      MR. RODGERS:         Objection.        Calls for a
 13                 legal conclusion.         Calls for speculation.
 14                 Lacks foundation.
 15                 A.   I don't know if there's a timeline that it
 16         has to be concluded.           But there are timelines for,
 17         you know, notice, and then response timelines, and
 18         there are timelines within that process, but I don't
 19         know from start to finish if there is a set
 20         deadline.
 21           BY MR. FROMMER:
 22                 Q.   Approximately how many administrative
 23         forfeiture cases that involve U.S. Private Vaults
 24         would you say are still circulating within the FBI?
 25                      MR. RODGERS:         Okay.      Objection.       This goes

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1584
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 129 of 167 Page ID
                                   #:5852


                                                                       Page 128

   1              beyond the scope of any topic.                  This witness
   2              isn't prepared to testify on this issue,
   3              doesn't know anything about this issue.                     It's a
   4              legal conclusion.
   5                      This is a case involving property that has
   6              been returned to people.               Those have all been
   7              terminated.        This question has anything to do
   8              with that.
   9              A.      I don't know.
 10           BY MR. FROMMER:
 11               Q.      Okay.     That's fine.         I just had a
 12         question.      That's all there was.
 13                       MR. FROMMER:        I think we're almost done.
 14               Why don't you give me five minutes so I can
 15               sort of collect myself.              If we have more
 16               questions, I think it's probably only a few
 17               more.     Okay?
 18           (Recess was held from 2:56 p.m. until 3:00 p.m.)
 19                       MR. FROMMER:        I do think that we are
 20               pretty much done.           I do have one or two more
 21               questions and that should be it.
 22           BY MR. FROMMER:
 23               Q.      I just want to go back.              We were talking a
 24         little bit before about when someone receives a
 25         petition or receives an administrative forfeiture

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1585
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 130 of 167 Page ID
                                   #:5853


                                                                       Page 129

   1        notice and they file a petition with papers in
   2        support.     You had testified that those papers make
   3        their way into Sentinel and they stay there for some
   4        indeterminate time.
   5                     My question is:           Let's say someone instead
   6        of filing a petition for remission, they file a
   7        judicial claim and provide documents in support of
   8        their judicial claim.            What happens to those
   9        documents they filed in support in that
 10         circumstance?
 11               A.     It's just a claim.            So when somebody
 12         receives notice of an administrative forfeiture
 13         case, and they file a claim, it comes to us, and
 14         then we make copies of our files and we fill out a
 15         referral notice, request, letter, and we send it to
 16         United States Attorney's Office, and they get a copy
 17         of everything that we have on the case, and then we
 18         also keep that in our FBI database and note that
 19         claim was filed, case was referred to United States
 20         Attorney's Office, judicial packet, and that's noted
 21         in our case database.
 22               Q.     Got it.       So it sounds like in that
 23         situation, judicial claim -- you get a judicial
 24         claim, FBI keeps a copy of the paperwork that was
 25         filed in support of the claim, and also sends a copy

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1586
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 131 of 167 Page ID
                                   #:5854


                                                                       Page 130

   1        of that paperwork to the United States Attorney's
   2        Office along with the referral.                 Is that accurate?
   3              A.     The claim, yes.           Not judicial claim, but
   4        just, yes, straight claim, yes, we keep a copy, and
   5        then we make a copy and we send it to the United
   6        States Attorney's Office.
   7              Q.     Okay.      And the copy that you keep, that
   8        goes into Sentinel, I guess, I'm assuming; is that
   9        right?
 10               A.     Yes.
 11               Q.     So it ends up the same place that papers
 12         submitted in support of a petition ends up.                       Because
 13         you said previously those go into Sentinel, too.
 14               A.     It goes to Sentinel.
 15               Q.     Okay.      All right.
 16                      MR. FROMMER:         All right.        You know, I
 17               think that's it.           I think I have what I need.
 18               I will say thank you so much, Special Agent --
 19               Supervisory Special Agent Murray for coming.                      I
 20               really appreciate it.             I hope not to have to
 21               bring you back, but there were a lot, as you
 22               know, Victor and I had some back and forth
 23               about attorney-client privilege and whether
 24               that was appropriate.             It might be that I need
 25               to bring you back depending on how that

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1587
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 132 of 167 Page ID
                                   #:5855


                                                                       Page 131

   1               resolves itself.           But for today, we're all
   2               done.     Thank you so much for your testimony.
   3               It's been very, very helpful.
   4                       THE WITNESS:        Thank you.
   5                       MR. RODGERS:        Thank you.
   6                       (Discussion off the record.)
   7                       MR. RODGERS:        I believe so.          But, quite
   8               frankly, I have to have my paralegal get in
   9               touch with you.
 10                (The deposition concluded at 3:04 p.m. PDT)
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1588
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 133 of 167 Page ID
                                   #:5856


                                                                       Page 132

   1                              CERTIFICATE OF OATH
   2
   3
   4
   5
   6                       I, the undersigned authority, certify
   7
   8          that SUPERVISORY SPECIAL AGENT JESSIE MURRAY
   9
 10           appeared remotely before me and was sworn on the
 11
 12           11th day of July, 2022.
 13
 14                        Signed this 13th day of July, 2022.
 15
 16
 17
 18
 19
 20                                 ________________________________
 21
 22                                 KIMBERLY FONTALVO, RPR
 23                                 Notary Public, State of Colorado
 24                                 My Commission No. 20214007135
 25                                 Expires: 2/23/2025

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1589
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 134 of 167 Page ID
                                   #:5857


                                                                        Page 133

   1                              CERTIFICATE OF REPORTER

   2

   3          STATE OF COLORADO

   4

   5                          I, KIMBERLY FONTALVO, Registered

   6              Professional Reporter, do hereby certify that I

   7              was authorized to and did stenographically report

   8              the foregoing remote deposition of SUPERVISORY

   9              SPECIAL AGENT JESSIE MURRAY; that a review of the

  10              transcript was requested; and that the transcript

  11              is a true record of my stenographic notes.

  12                          I FURTHER CERTIFY that I am not a

  13              relative, employee, attorney, or counsel of any

  14              of the parties, nor am I a relative or employee

  15              of any of the parties' attorneys or counsel

  16

  17              connected with the action, nor am I financially

  18

  19              interested in the action.

  20

  21                          Dated this 13th day of July, 2022.

  22

  23

  24                                  <%3190,Signature%>

  25                                  KIMBERLY FONTALVO, RPR, CLR


                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1590
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 135 of 167 Page ID
                                   #:5858


                                                                         Page 134

   1     Victor Rodgers, Esquire

   2     victor.rodgers@usdoj.gov

   3                                    July 14, 2022

   4     Snitko, Paul Et Al         v. United States Of America Et Al

   5          7/11/2022, Jessie         Murray (#5312932)

   6          The watermarked transcript is available for

   7     review.

   8          Within the applicable timeframe, the witness should

   9     read the testimony to verify its accuracy. If there are

  10     any changes, the witness should note those with the

  11     reason, on the attached Errata Sheet.

  12          The witness should sign the Acknowledgment of

  13     Deponent and Errata and return to the deposing attorney.

  14     Copies should be sent to all counsel, and to Veritext at

  15     erratas-cs@veritext.com.

  16

  17      Return completed errata within 30 days from

  18    receipt of testimony.

  19        If the witness fails to do so within the time

  20    allotted, the transcript may be used as if signed.

  21

  22                         Yours,

  23                        Veritext Legal Solutions

  24

  25


                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1591
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 136 of 167 Page ID
                                   #:5859


                                                                       Page 135

   1     Snitko, Paul Et Al          v. United States Of America Et Al
   2     Jessie     Murray (#5312932)
   3                             E R R A T A        S H E E T
   4     PAGE_____ LINE_____ CHANGE________________________
   5     __________________________________________________
   6     REASON____________________________________________
   7     PAGE_____ LINE_____ CHANGE________________________
   8     __________________________________________________
   9     REASON____________________________________________
 10      PAGE_____ LINE_____ CHANGE________________________
 11      __________________________________________________
 12      REASON____________________________________________
 13      PAGE_____ LINE_____ CHANGE________________________
 14      __________________________________________________
 15      REASON____________________________________________
 16      PAGE_____ LINE_____ CHANGE________________________
 17      __________________________________________________
 18      REASON____________________________________________
 19      PAGE_____ LINE_____ CHANGE________________________
 20      __________________________________________________
 21      REASON____________________________________________
 22
 23      ________________________________                   _______________
 24      Jessie     Murray                                            Date
 25

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1592
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 137 of 167 Page ID
                                   #:5860


                                                                        Page 136

   1     Snitko, Paul Et Al        v. United States Of America Et Al

   2     Jessie    Murray (#5312932)

   3                        ACKNOWLEDGEMENT OF DEPONENT

   4          I, Jessie     Murray, do hereby declare that I

   5     have read the foregoing transcript, I have made any

   6     corrections, additions, or changes I deemed necessary as

   7     noted above to be appended hereto, and that the same is

   8     a true, correct and complete transcript of the testimony

   9     given by me.

  10

  11     ______________________________               ________________

  12     Jessie    Murray                                   Date

  13     *If notary is required

  14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

  15                            ______ DAY OF ________________, 20___.

  16

  17

  18                            __________________________

  19                            NOTARY PUBLIC

  20

  21

  22

  23

  24

  25


                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1593
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 138 of 167 Page ID
                                   #:5861

    >DFNQRZOHGJPHQW@                                                            3DJH

                                                                    
                                    
                                                   
                                                    
                                                    
      
                                             
                                                         
                                           
                                                            
                                         
                                                            
                                               
                                                        
                             
                                              
                             
                                                 
                             
                                             
                             
                                                     
                             
                                                                 D
                            
                                            
                                                          DP 
                                        
                                                           DEOH 
                                         
                                                              
                                         
                                                                   
                                         
                                                          
                                     
                                                          DFFHSWHG 
     WK                                    
                                                                  DFFRPSOLVKHG
                                   
                                                                 
                                                    
                                                              DFFRXQW 
      
                                                   
      
                                                 
      
                                                            DFFUXH 
      
                                                            DFFXUDF\ 
      
                                                                      DFFXUDWH 
     WK                                   
                                                                         
                                   
                                                                         
                          
                                                                         
     WK                       
                                                                         
                        
                                                                         
                                      
                                                                         
                    V      V 
                                                                         
     WK                                
                                                                       DFFXULQW 
                  WK               
                                                                       DFNQRZOHGJHPHQW
                                  
                                                                         
                               
                                                                       DFNQRZOHGJPHQW
                                                                         

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                        1594
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 139 of 167 Page ID
                                   #:5862

    >DFTXLVLWLRQDQVZHU@                                                             3DJH

     DFTXLVLWLRQ                           DO 
     DFW                        DJHQW         
     DFWLQJ                               DOOH\ 
     DFWLRQ                     DOORWWHG 
                           DOORZ 
     DFWLRQV                            DOPRQWH 
                                                 DOWRJHWKHU 
     DFWLYLWLHV         DGPLQLVWUDWLYHO\             DPELJXRXV 
                                                      
     DFWLYLW\           DGPLQLVWUDWRU                  
                                   
               DGRFKH                      DPHQGHG 
                        DGYLFH                
     DFWXDO         DGYLVH                 
                       DGYLVLQJ                 
     DGDFKL             DII                        DPHQGPHQW 
     DGG                                    DJHQW V           DPHULFD 
     DGGLWLRQDO           DIILGDYLW         DJHQWV        
                          DPRXQW 
                           
                             
             DIILGDYLWV               
     DGGLWLRQV          DIPOV                    DPRXQWV 
     DGGUHVV             DIWHUZDUG                  DQDO\VLV 
     DGGUHVVHV          DJH                        
     DGMRXUQ             DJHQFLHV                    DQJHOHQR 
     DGPLQ                         DQJHOHV 
                                  
     DGPLQLVWUDWLYH                             
                            
                                      DQQXDO 
                     DJR          DQVZHU 
                                    
                  DJUHH               
                    DJUHHG               
                       DJUHHPHQW           
               DJHQF\                          
                      DJUHHV              
                    DKHDG          
                                 
                                 

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                          1595
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 140 of 167 Page ID
                                   #:5863

    >DQVZHUEDFN@                                                                  3DJH

               DVLGH                    DWWDFKPHQW 
            DVNHG                 DWWDFKPHQWV 
     DQVZHUHG                        DWWHPSW 
     DQVZHULQJ                        DWWHPSWLQJ 
                                          
     DQVZHUV      DVNLQJ             DWWHQG 
                         DWWRUQH\ 
     DQ\ERG\                       
                                           
     DQ\PRUH                           
     DSRORJL]H                             
     DSSHDUDQFHV                                      
     DSSHDUHG        DVSHFW            DVVHWV       
                     DVVHPEOLQJ               DWWRUQH\ V 
     DSSHDULQJ        DVVHVVPHQW                
     DSSHDUV          DVVHW              
                                  
     DSSHQGHG                          
     DSSOLFDEOH                      DWWRUQH\V 
     DSSOLFDWLRQ                     
     DSSOLHG                        
     DSSOLHV                        DXGLEO\ 
     DSSO\                                      DXWKRUHG 
     DSSO\LQJ               DVVLJQ         DXWKRULW\ 
     DSSRLQWPHQW              DVVLJQHG           
     DSSUHFLDWH                       DXWKRUL]HG 
     DSSURSULDWH             DVVLJQLQJ       DYDLODEOH 
                    DVVLVW            DYRLG 
     DSSURYH                  DVVLVWDQFH       DZDUH 
     DSSURYHG                DVVLVWDQW       
                                                 E
     DSSUR[LPDWHO\               DVVRFLDWHG 
                                                                        E 
                         DVVXPH 
                                                                          
                                 
                                                                          
     DUHD                    DVVXPHV 
                                                                        EDFN 
     DUOLQJWRQ                     
                                                                          
     DUUDQJLQJ              DVVXPLQJ 
                                                                          
     DUUHVW               
                                                                          
                    
                                                                          
     DUUHVWV                 DWWDFKHG 
                                                                          
                                   
                                                                          

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1596
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 141 of 167 Page ID
                                   #:5864

    >EDFNFDVH@                                                                    3DJH

                      ERWWRP             EXWWUHVV 
                        ER[                    F
              EHOLHYHG          
                                                                        FDOHQGDU 
               EHOLHYHV           
                                                                        FDOLIRUQLD 
     EDFNJURXQG       EHORQJ             
                                                                          
                      EHTXHDWKHG          
                                                                        FDOO 
     EDG           EHVW          
                                                                          
     EDJ                       
                                                                          
            EHWWHU       
                                                                          
                                 
                                                                          
     EDJJHG      EHYHUO\            
                                                                          
           EH\RQG        
                                                                          
                    ER[HV 
                                                                          
     EDJV                  
                                                                          
                        
                                                                          
                   
                                                                        FDOOHG 
     EDOOSDUN                
                                                                          
     EDQGV                     
                                                                          
     EDQN                 
                                                                        FDOOV 
                   
                                                                          
                         
                                                                          
     EDUH                    
                                                                          
     EDUHO\                      
                                                                          
     EDUV                             EUHDN 
                                                                          
                     ELJ           
                                                                          
     EDVH                       
                                                                          
     EDVHG       ELOO              EULQJ 
                                                                          
             ELW           
                                                                        FDPSEHOO 
                     EURDG 
                                                                        FDQLQH 
                           EURXJKW 
                                                                          
     EDVLFDOO\                
                                                                        FDSDEOH 
                    EXGJHW 
                                                                          
                         EXQFK 
                                                                        FDSDFLW\ 
     EDVLV     ERG\            EXQGOHG 
                                                                          
     EDWFKHV          EROG               
                                                                        FDSV 
     EDWWHU\          EROVWHU             
                                                                        FDSWXUH 
     EHKDOI     EROWV            EXUHDX 
                                                                        FDU 
     EHOLHI           ERQHV           EXVLQHVV 
                                                                        FDUH 
     EHOLHYH     ERRN                
                                                                        FDUHIXO 
          ERUQ             EXWWRQ 
                                                                        FDVH 
       
                                                                          

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1597
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 142 of 167 Page ID
                                   #:5865

    >FDVHFRPSOHWH@                                                                3DJH

                 FLYLO       
                              FROOHFWHG 
                             
                             
                                 FROOHFWLQJ 
                               
                                  
                            FROOHFWV 
                     FODLP        FROOHJH 
     FDVHV                     FRORUDGR 
            FHQWUDO                 
           FHUWDLQ             FRPH 
                          
     FDVK                                  
             FHUWDLQO\        FODLPDQW         
               FHUWLILFDWH                  FRPHV 
                       FODLPDQWV           
           FHUWLI\                            FRPLQJ 
                        FODLPV               
           FHWHUD            FODULILFDWLRQ       FRPPLVVLRQ
               FKDOOHQJH         FODULI\              
     FDWV           FKDQFH           FODVV        FRPPRQ 
                       FODVVLI\       FRPPXQLFDWH 
          FKDQJH      FOHDQ                
                    FOHDQHU           FRPPXQLFDWHG
            FKDQJHV           FOHDU            
                     FOHDUO\      FRPPXQLFDWLQJ
               FKDUDFWHUL]H                         
               FKDUJH           FOLHQW       FRPPXQLFDWLRQ
                               
                                          
                       FKHFN                              FRPPXQLFDWLRQV
     FDXVH       FKHFNV      FORVH           
            FKHPLFDO                    
              FKHPLFDOV        FORVHO\            FRPSDQ\ 
          FKLHI            FORVHU         
          FLUFXODWLQJ     FOU         FRPSDQ\ V 
          FLUFXPVWDQFH          FRIIHH         FRPSLOLQJ 
                            FRLQ           FRPSOHPHQW 
            FLUFXPVWDQFHV         FROOHFW     FRPSOHWH 
                                       

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1598
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 143 of 167 Page ID
                                   #:5866

    >FRPSOHWHGGDVK@                                                              3DJH

     FRPSOHWHG        FRQVLGHUV        FRS\         
                     FRQVLVWHQW                   
     FRPSOHWHO\         FRQVWDQWO\                     
     FRPSOHWLRQ        FRQVWLWXHQW                   FURVV 
     FRPSXWHU                          FRUUHFW        FV 
                     FRQVWLWXWLRQDO                FXUUHQF\ 
     FRQFHUQLQJ                               
                     FRQWDFW                  
     FRQFOXGHG                                  
                     FRQWDLQHG                    
     FRQFOXVLRQ                             
          FRQWDLQLQJ               
              FRQWDLQV                  
               FRQWHPSODWLQJ                  
     FRQGXFW                                   
                FRQWHQW                   FXUUHQWO\ 
     FRQGXFWHG         FRQWHQWV               FXVWRG\ 
     FRQGXFWLQJ                    
                         FRUUHFWLRQV        
                              FRVW             
     FRQGXFWV         FRQWH[W          FRVWO\            FXVWRPHUV 
                FRQWLQXH          FRXQVHO          FXW 
     FRQIHUHQFH                             FY 
          FRQWLQXHV                                  G
     FRQIHUHQFHV                       FRXSOH 
                                                                       G 
     FRQILGHQWLDO     FRQWLQXLQJ        FRXUVH 
                                                                       GF 
     FRQIXVHG         FRQWRXU         FRXUW 
                                                                         
            FRQWULEXWHG        
                                                                         
                       
                                                                       GDJ 
                     FRQWUROOHG       FUDFNHU 
                                                                         
     FRQMXQFWLRQ      FRQYHUVDWLRQ      FUHDWH 
                                                                         
                     FUHDWHG 
                                                                         
     FRQQHFWHG                
                                                                         
                              FULPLQDO 
                                                                         
     FRQVHTXHQFH                              
                                                                         
                      FRQYHUVDWLRQV           
                                                                         
     FRQVLGHUHG             
                                                                       GDJ 
                                
                                                                       GDJV 
     FRQVLGHULQJ       FRSLHV             
                                                                       GDLO\ 
                                
                                                                       GDVK 
                                                   

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                        1599
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 144 of 167 Page ID
                                   #:5867

    >GDWDEDVHGRFXPHQW@                                                            3DJH

     GDWDEDVH                                GLIIHU 
            GHFLVLRQV               GLIIHUHQW 
            GHFODUDWLRQ                    
                                 
                                           
     GDWDEDVHV                      GHVFULEH           
     GDWH          GHFODUH                GLIILFXOW 
                 GHFODUHG                 GLUHFW 
               GHHPHG            GHVFULSWLRQ      GLUHFWHG 
                      GHHSO\                              GLUHFWLRQ 
     GDWHG            GHIHQGDQWV         GHVHUYH          GLUHFWRU 
     GDWHV                           GHVN      GLVDJUHHPHQW 
     GD\           GHILQLWH                           GLVDJUHHV 
             GHJUHH          GHWHUPLQDWLRQ         GLVDSSHDU 
               GHPDQGV                 GLVDSSURYH 
     GD\V         GHQLHG                    GLVEXUVHPHQWV
                                  
                      GHQLHV                       GLVFORVH 
     GHD        GHQ\               GLVFXVV 
                                    
                       GHSHQGLQJ                 GLVFXVVHG 
     GHDGOLQH                                   
     GHDGOLQHV        GHSHQGV                     GLVFXVVLQJ 
     GHDOLQJ                               
     GHDOV                                GHWHUPLQDWLRQV          
     GHFHQW             GHSRQHQW                             
     GHFLGH                         GHWHUPLQDWLYH         GLVFXVVLRQ 
             GHSRVHG                                 
           GHSRVLQJ         GHWHUPLQH           
     GHFLGHG        GHSRVLW              GLVFXVVLRQV 
                                        
     GHFLGHV                            GLVSRVLWLRQ 
     GHFLGLQJ                            
                   GHWHUPLQHG       GLVWLQFWLRQ 
                                          GLVWULEXWH 
     GHFLVLRQ           GHSRVLWHG              GLVWULEXWHG 
                            GLVWULFW 
                       GHWHUPLQHV        GPY 
           GHSRVLWLRQ                          GRFWULQH 
                 GHWHUPLQLQJ      GRFXPHQW 
                                   

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1600
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 145 of 167 Page ID
                                   #:5868

    >GRFXPHQWIDLU@                                                                3DJH

              HIIHFWLQJ         HYHU\ERG\           
           HIILFLHQW         HYLGHQFH         
                 HIIRUW                  H[KLELWV 
     GRFXPHQWDWLRQ         HLJKW                H[KLELWVKDUH
          HLWKHU               
     GRFXPHQWV                           H[LVWLQJ 
                          
           HPSOR\HH               H[SHFW 
                                     H[SHULHQFH 
                    HPSOR\HHV                 
     GRJ       HPSOR\HU              H[SHUW 
     GRLQJ       HQFRPSDVVHG                 H[SLUH 
             HQGHG                 H[SLUHV 
                                     H[SODLQ 
           HQGV         H[DFW          
                     HQIRUFHPHQW                          
     GRM                                H[DFWO\      H[SODQDWLRQ 
     GROODU     HQVXUH                          
     GROODUV    HQWHU             H[DPLQDWLRQ         H[SOLFLW 
           HQWLUH                              H[SORUH 
     GRULV            HQWLWOHG         H[DPSOH             
     GUDIW          HQWLW\                        H[WHQW 
                                       H[FXVH              
     GUDIWHG          HTXDOHG         H[HFXWH                     I
     GUDIWLQJ        HUUDWD       
                                                                        IDFLOLWDWH 
     GULYH                            
                                                                          
     GUXJ        HUUDWDV         H[HFXWHG 
                                                                        IDFLOLW\ 
          HVT           
                                                                        IDFW 
     GUXJV         HVTXLUH          H[HFXWLQJ 
                                                                          
     GXWLHV           HVVHQFH            
                                                                        IDFWRU 
               H           HVWDEOLVKHG      H[HFXWLRQ 
                                                                          
                           HVWLPDWH           
     H                                                 IDFWRUV 
                                       
     HDUOLHU                                                    IDFWV 
                           HVWLPDWHG           
                                                                     
                           HW      
     HDUO\                                                     
                                    
                                                         
                           HYDOXDWH          H[HFXWLYH 
                                                                     
                           HYDOXDWHG       H[KLELW 
     HDVLHU                                                           
                           HYDOXDWLQJ         
     HGXFDWLRQDO                                                    IDLOV 
                           HYHQWV             
     HIIHFWHG                                                       IDLU 
                                                   
                                                                          

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1601
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 146 of 167 Page ID
                                   #:5869

    >IDLUIRUIHLWXUH@                                                                3DJH

                     ILOOHG             IRUHJRLQJ 
                  ILOOLQJ       
           IEL V              ILOOV            IRUHPRVW 
                IHEUXDU\          ILQDO      IRUIHLW 
            IHGHUDO                  
                                            IRUIHLWDEOH 
                                      ILQDOL]HG           
     IDLWK              IHGHUDOV                        
     IDOO      IHHO              ILQDOO\            
            IHOW              ILQDQFLDO         IRUIHLWHG 
               ILHOG        ILQDQFLDOO\        
                    ILQDQFLQJ           
                      ILQFHQ            
     IDPLOLDU               ILQG          
                             
                                       IRUIHLWXUH 
                         ILQH         
     IDPLOLDULW\                               
                                          
     IDPLOLDUL]H                       
                                                     
     IDU               ILJXUH                          
     IEL              ILQLVK        
                               
                                          
                        ILUP                 
              ILJXUHG        ILUVW         
                                         
           ILOH                       
                       ILW                  
                     ILYH           
                                      
            ILOHG                  
                                          
                       IORRU                
             ILOHV     IORZ                  
                      IRFXV                
               ILOLQJ      IRFXVHG        
                        IROORZ               
              ILOO         IRQWDOYR             
                                     

                                       Exhibit O
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1602
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 147 of 167 Page ID
                                   #:5870

    >IRUIHLWXUHJHWWLQJ@                                                           3DJH

             IRUP              IXQGV 
                               
                                
                                 IXUWKHU 
            IRUPV              
                                    IXWXUH 
               IRUWK                               J
               IRUZDUG             
                                                                          JDV 
                        
                                                                          JDVROLQH 
                       
                                                                          JDWKHU 
                     
                                                                            
                    
                                                                          JDWKHULQJ 
                          
                                                                            
                                
                                                                          JHQHUDO 
            IRUZDUGHG           
                                                                            
                            
                                                                            
            IRXQGDWLRQ         
                                                                            
                  
                                                                            
                    
                                                                          JHQHUDOO\ 
                     
                                                                            
                     
                                                                            
                          
                                                                            
                             
                                                                            
                                 
                                                                            
                IRXU          
                                                                            
                         
                                                                            
                                
                                                                            
                 IRXUWK         
                                                                            
                                    
                                                                            
                 IUDQNO\            
                                                                            
            IUHTXHQWO\         
                                                                          JHQHUDWH 
               IUHVK             IURQW 
                                                                            
             IULGD\           IVSX 
                                                                          JHQHUDWHG 
                IURPPHU          
                                                                            
                   IXOO 
                                                                            
                            
                                                                          JHVWXUHV 
                            IXOO\ 
                                                                          JHWWLQJ 
     IRUIHLWXUHV              IXQG 
                                                                            
                                  
                                                                            
     IRUJHWWLQJ                   
                                                                            
                                                           

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          1603
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 148 of 167 Page ID
                                   #:5871

    >JLYHKRXU@                                                                  3DJH

     JLYH           JURXQGV          KHDGTXDUWHUV 
                                    
                 JURXS              
                            JXHVV        
     JLYHQ                            
                                   
     JLYLQJ                             
     JOHEH              JROG             JXLGH           
     JR                                KHDU 
                  JXLGHOLQHV      KHDUG 
                  JXQ                
             JRRG       JXW         KHDW 
                     JX\V         KHDWKHU 
                                       KHOG 
             JRWFKD                     K              
            JRYHUQPHQW                                  
                                                  K 
                                          KHOOR 
                                                  KDOIZD\ 
                                            KHOS 
                                                    
                                         
                                                  KDQG 
                                             
                                                  KDQGLQJ 
                                              KHOSHG 
                                                  KDQGOH 
                                           KHOSIXO 
                                                    
                                                 KHOSLQJ 
                                                    
           JRYHUQPHQW V                               
                                                  KDQGOHG 
                                                          
                                                  KDQGOLQJ 
              JRYHUQPHQWDO                                 KHUHWR 
                                                    
     JRHV                                                  KH\ 
                                                  KDSSHQ 
             JUDGH                              KLJKHU 
                                                    
            JUDGXDWH                                KLOOV 
                                                  KDSSHQHG 
               JUDGXDWHG                                KLVWRU\ 
                                                    
                                                            KRJDQ V 
                                                  KDSSHQLQJ 
     JRLQJ     JUDQGPRWKHU                              KROG 
                                                    
           JUDQW                              
                                                    
                                                    KROGHUV 
                                                  KDSSHQV 
           JUDQWHG                              KROGV 
                                                    
                                           KRSH 
                                                    
              JUHDW                             KRSHIXOO\ 
                                                    
                                                   
                                                  KDUG 
              JUHHQEHUJ                                 KRXU 
                                                  KHDG 
          JURXQG                                 
                                                  KHDGHG 
       

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1604
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 149 of 167 Page ID
                                   #:5872

    >KRXUVLWHPV@                                                                  3DJH

     KRXUV         LQGLYLGXDOV       LQWHUHVW           LQYHVWLJDWLYH
                LQIRUP           LQWHUHVWHG          
     KT                                   LQYHVWLJDWRUV 
                       LQIRUPDQW                     
     KXK              LQIRUPDWLRQ        LQWHUIDFH         LQYHVWLJDWRU\
     KXQGUHG                LQWHUIDFLQJ         
     KXQGUHGV                  LQWHUUXSW           LQYLWHG 
     K\SRWKHWLFDO                    LQWHUYLHZ         LQYRNH 
                                    LQYROYH 
                    LQWURGXFH         LQYROYHG 
                             
                                LQWURGXFHG          
               L                  LQWURGXFLQJ         
                                      LQYHQWRU\            
     LGHD 
                                                       
       
                                    LQYHVWLJDWH         
     LGHQWLILHUV 
                                              LQYHVWLJDWLQJ            
     LGHQWLI\ 
                             LQIULQJLQJ                     
       
                             LQLWLDO                 
     LPPHGLDWHO\ 
                                       LQYHVWLJDWLRQ        
     LPSRUWDQW 
                                                         LQYROYHPHQW 
       
                             LQLWLDWHG                  
     LPSRVVLEOH 
                             LQLWLDWLRQ              LQYROYHV 
     LPSURSHU 
                             LQQHU                    LQYROYLQJ 
     LQFOXGH 
                             LQSXW            LUUHOHYDQW 
       
                                                    
     LQFOXGHG 
                             LQSXWWLQJ               LUYLQH 
     LQFRPSOHWH 
                             LQTXLU\                 LVVXH 
       
                             LQVLGH            LVVXHG 
       
                                                      
       
                             LQVWDQFH                LVVXHV 
     LQGHSHQGHQWO\
                                        LWHP 
       
                             LQVWLQFW                       
     LQGHWHUPLQDWH
                             LQVWLWXWH                
       
                             LQVWUXFW                   
     LQGLFDWLRQ 
                                                  
     LQGLFLD 
                                             LWHPV 
     LQGLFWPHQW 
                             LQVWUXFWHG      LQYHVWLJDWLRQV           
     LQGLYLGXDO 
                             LQVWUXFWLRQ              
       
                                         
     LQGLYLGXDOO\ 


                                        Exhibit O
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1605
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 150 of 167 Page ID
                                   #:5873

    >MDFNORFDO@                                                                   3DJH

               M            NLPEHUO\           NULVWL             OHJDO 
     MDFN                              O              
     MDQXDU\                                                      
                                                   O 
     MHVVLH         NLQG                                 
                                                   OD 
            NLQGO\                                      
                                                     
           NLQGV                                      
                                                     
           NQRZ                                OHQJWK\ 
                                                     
     MHZHOU\                                        OHQV 
                                                     
     MRE                                     OHWWHU 
                                                     
                                            
                                                   ODEHO 
                                                         
                                                   ODEHOHG 
     MRKQVRQ                                       OHWWHUV 
                                                   ODFNV 
     MRLQ                                             
                                                     
     MRLQLQJ                                           
                                                     
     MXGJH                                    OHYHO 
                                                     
     MXGJPHQWV                                      
                                                     
     MXGLFLDO                                    
                                                     
                                            
                                                     
                                           
                                                   ODSVH 
                                         OH[LVQH[LV 
                                                   ODUJH 
                                                    OLJKW 
                                                     
     MXG\                                               OLPLW 
                                                     
     MXO\                                       OLPLWHG 
                                                     
                                             OLQH 
                                                   ODWH 
                                                       
                                                     
     MXPS                                         OLVW 
                                                     
     MXQH                                            OLVWHG 
                                                   ODZ 
     MXULVGLFWLRQDO                                             
                                                     
                                            OLWLJDWLRQ 
                                                     
                                                  
                                                   ODZ\HU 
     MXVWLFH                                    OLWWOH 
                                                   OHDG 
                                                            
               N                                     
                                                               
     NDUOD                                      
                                                              
     NDWKHULQH                                OHDGHU 
                                                           
     NHHS                                 OHDGLQJ 
                            NQRZOHGJH                                   
                                   OHDGV 
                            NQRZOHGJHDEOH                                   
                                       
                                                           
     NHHSLQJ                                   OHDYH 
                            NQRZV                                  ORFDO 
     NHHSV                                   OHIW 
                            NRRQV                                        
                                                     
                                                                            

                                       Exhibit O
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1606
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 151 of 167 Page ID
                                   #:5874

    >ORFDOPRQH\@                                                                  3DJH

                     PDUVKDOV         PHW 
                                 
                     ORWV                   PHWDOV 
     ORFDOV       ORYH                    
             ORZ                      PHWURSROLWDQ 
             OXQFK           PLFKDHO 
     ORFDWLRQ                            PDWHULDO          PLGGOH 
     ORFDWLRQV          OXQFKWLPH        PDWHULDOV          
                         O\QQH     PDWW          PLOOLRQ 
     ORJERRN                            
     ORJJLQJ             O\QQH V          PDWWHU            
                                              PLQG 
     ORJLVWLFV                    P            PDWWHUV            
     ORQJ                                                 PLQLPXP 
                             P 
                                    PFJHRUJH        
                             PDFGRQDOG 
                                                               
                             PDGLVRQ 
     ORQJHU                              PHDQ          
                               
     ORRN                                      
                             PDJLVWUDWH 
                                          PLQXWH 
                               
                                          
                             PDLQ 
                                        PLQXWHV 
                             PDNHU 
                                                     
                             PDNLQJ 
     ORRNHG                                PHDQLQJIXO        PLVFKDUDFWHUL]DW
                               
     ORRNLQJ                                  PHDQV        
                               
                                   PHDQW      PLWLJDWLRQ 
                             PDQDJHPHQW 
                                    PHFKDQLVP         
                               
                                   PHGLFDWLRQ        PRGXOHV 
                             PDQSRZHU 
                                       PHHW             PRPHQW 
                             PDQXDO 
     ORRNV                              PHHWLQJ           
                               
                                               PRQGD\ 
                             PDU 
     ORRPLV                                     PRQHWDU\ 
                             PDUFK 
                                   PHHWLQJV          
                               
                                                PRQH\ 
                             PDULMXDQD 
     ORRS                                     PHPEHUV            
                               
     ORV                                       
                             PDUNHG 
                                   PHPRUDQGXP             
                               
                                                     
                               
     ORVH                                     PHQWLRQ           
                             PDUVKDO 
     ORVLQJ                                   PHQWLRQHG         
                               
     ORW                                            
                             PDUVKDO V 
                                                             

                                        Exhibit O
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1607
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 152 of 167 Page ID
                                   #:5875

    >PRQH\REYLRXV@                                                              3DJH

         QDWXUH                    
                    QFLF                      
     PRQURYLD        QHDU                 
     PRQWK      QHFHVVDULO\                 
     PRQWKV                           
     PRRQ                                       
         QHFHVVDU\                 
                     QHHG                   
     PRUQLQJ                          
     PRYH                              
                      QRWLFHG              
            QHHGHG          QRWLFHV        
         QHJDWLYH                      
              QHVW     QRWLQJ         
                QXJJHWV            
                         QXPEHU          
     PRYHPHQW                                     
     PRZ             QHYHU                  
     PXOWL           QHZ                     
     PXOWLSOH        QRQ                   
                                
                     QRRQ                            
     PXOWLSO\        QRUPDO                   
     PXUUD\       QRUPDOO\                   
          QRUWK                                 
         QRWDU\          QXPEHUV           REMHFWLRQV 
                                    
         QRWH              
                         
              Q                                 
                                                       
     Q 
                          QRWHG            QXPHURXV          REMHFWLYH 
     QDPH 
                                    QXWV              REVHUYDWLRQ 
      
                          QRWHV                 R              
      
                                                         
     QDPHV                             R 
                                                           REVHUYDWLRQV 
     QDUFRWLFV                             RDWK 
                                                            
                                              
                                                                   
     QDUUDWLYH                             REMHFW 
                          QRWLFH                                  
                                  
                                                       REYLRXV 
                                           REMHFWLRQ 
                            
                                                  

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1608
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 153 of 167 Page ID
                                   #:5876

    >REYLRXVO\SDUDOHJDO@                                                      3DJH

     REYLRXVO\                                 
               RND\             RYHUEURDG 
     RFFXU                    
                                     
     RFFXUUHG                              RYHUUXOHG 
                      ROVRQ           RYHUVHH 
     RFFXUULQJ                  RO\PSLF          
     RFFXUV                    RPQLEXV        RZQHG 
                                        
     RGRU                RQFH         RZQHU 
     RIIHU                      RZQHUV 
     RIIHUHG                             S
     RIIKDQG                   
                                                                      SP 
     RIILFH             
                                                                        
                     
                                                                        
                       
                                                                        
                        
                                                                      SDFNDJH 
                  RQHV 
                                                                      SDFNDJHG 
                 
                                                                      SDFNHW 
                 RQOLQH 
                                                                        
                         
                                                                      SDJH 
                    RSHQ 
                                                                        
                   RSHQLQJ 
                                                                        
                     RSHUDWLRQ 
                                                                        
                RSHUDWLYH 
                                                                      SDLG 
                   RSLQLRQ 
                                                                      SDOPHUWRQ 
                    
                                                                      SDSHU 
                   RSSRUWXQLW\ 
                                                                      SDSHUV 
                      
                                                                        
                    RSSRVHG 
                                                                        
                  
                                                                      SDSHUZRUN 
                 RSWLRQ 
                                                                        
                 RSWLRQV 
                                                                        
     RIILFHV                    RUDQJH 
                                                                        
     RIILFLDO         RUGHU 
                                                                        
     RIILFLDOV              
                                                                        
     RIWHQWLPHV             RULJLQDO 
                                                                      SDUDJUDSK 
     RK                RULJLQDOO\ 
                                                                        
                      RULJLQDWHG 
                                                                      SDUDOHJDO 
                        RYHUDOO 
                                                                        
                      
                                                                        

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1609
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 154 of 167 Page ID
                                   #:5877

    >SDUDOHJDOSRWHQWLDOO\@                                                       3DJH

             SD\                         SRLQW 
                 SD\RX                        
                SF                            
                       SGW                  
     SDUDOHJDOV        SHQGLQJ             SHWLWLRQHU        
            SHRSOH                          
                             SHWLWLRQHUV     SRLQWV 
     SDUW                SKDVHV          SROLF\ 
                     SKRQH       
                           
                                SRSXODWHV 
                       SK\VLFDO          SRUWLRQ 
                         SK\VLFDOO\        
                SHRSOH V                         
            SHUFHQW         SLFWXUH       SRVHV 
                                          
     SDUWLFLSDQWV                         SLFWXUHV           
     SDUWLFLSDWH       SHUFHQWDJH         SLHFH         
     SDUWLFLSDWHG                      SRVLWLRQ 
                         SLHFHV      
     SDUWLFLSDWHV                              SRVLWLRQV 
     SDUWLFLSDWLQJ                       SLPHQWHO          
                  SHULRG            SODFH       SRVLWLYH 
     SDUWLFLSDWLRQ          SHULRGLF               SRVVHVV 
                       SHUPLVVLRQ                 SRVVLEOH 
     SDUWLFXODU         SHUVRQ         SODLQWLII           
                       SODLQWLIIV    SRVW 
                        SRVWDO 
            SHUVRQDOO\        SODQ             SRWHQWLDO 
              SHUVRQQHO         SODQQLQJ          
             SHUVSHFWLYH       SODQV              
               SHUWDLQLQJ       SOD\              
     SDUWLFXODUV        SHUWDLQV         SOD\HG            
           SHWLWLRQ          SOHDVH      
                                       
     SDUWLHV                       
                             SRWHQWLDOO\ 
                                    
     SDUWQHULQJ                       
     SDXO                   SOXJJHG           
                                               

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1610
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 155 of 167 Page ID
                                   #:5878

    >SUDFWLFHSXUSRVHV@                                                            3DJH

     SUDFWLFH                   SUREDWLYH           
                                 SURFHVVHG 
     SUDFWLFHV                                   
     SUHFLRXV                 SUREOHP           SURFHVVLQJ 
                              SUREOHPV             
     SUHFLVH                     SURFHHG           
     SUHGHWHUPLQHG                 SURFHHGHG         SURGXFW 
                               SURFHHGLQJ        SURIHVVLRQDO 
     SUHIHUHQFH                            SURILW 
     SUHOLPLQDU\                                SURJUDP 
     SUHSDUDWLRQ                  SURFHHGLQJV        SURSHUW\ 
                                      
     SUHSDUDWLRQV                                 
                        SULYLOHJH                      
     SUHSDUH                                      
                                  SURFHHGV            
     SUHSDUHG          SULY\                   
                                           
     SUHSDULQJ         SUREDEOH                   
                                  
     SUHVHQW                    
                               
                                   
     SUHVHQWHG               SURFHVV         
     SUHVXPH                            
                                  
     SUHWW\                         SURYLGH 
                                
     SUHYHQW                          
     SUHYLRXV                        
                                       SURYLGHG 
     SUHYLRXVO\                    SURYLGLQJ 
                                  SXEOLF 
                                        
     SULPDU\                      SXEOLFDWLRQ 
     SULRU                      SXUFKDVH 
                                SXUSRVH 
                       SUREDEO\                    
     SULYDWH                          SXUSRVHV 
                                    
                                   

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1611
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 156 of 167 Page ID
                                   #:5879

    >SXUVXDQWUHPHPEHU@                                                       3DJH

     SXUVXDQW             UHDVRQV          UHFRUGV 
                      UHFDOO        
                                 UHIHU 
     SXUVXH                    
                         UHIHUHQFH 
                          
                          UHIHUHQFHG 
           TXHVWLRQLQJ                   
             TXHVWLRQV     UHFHLSW         UHIHUHQFLQJ 
                   UHFHLSWV          UHIHUUDO 
                   UHFHLYH            
                              UHIHUUHG 
     SXUVXHG                              UHIHUULQJ 
                                   UHFHLYHG         UHIOHFWV 
     SXUVXLQJ         TXLFN                UHJDUG 
               TXLWH                  UHJDUGLQJ 
     SXVK                              
     SXW                  U                    
                               UHFHLYHV           
                          U 
                                            UHJDUGOHVV 
                          UDLVH 
                                      UHJDUGV 
                          UDLVHG 
                                                     
                          UHDG 
                                          UHFHLYLQJ          
                            
     SXWWLQJ                              UHFHVV      UHJLVWHUHG 
                            
                                                  UHJLVWUDWLRQ 
                            
              T                                                UHODWH 
                          UHDGV 
                                               UHFRJQL]H         UHODWLYH 
     TXDOLILFDWLRQV       UHDG\ 
                                               UHFRPPHQG         UHODWLYHO\ 
                       
                                                               UHOHDVHG 
     TXDOLILHG    UHDO 
                                               UHFRPPHQGDWLRQ          
                  UHDOO\ 
                                                                 UHOHYDQW 
     TXDQWLFR          
                                               UHFRPPHQGV            UHO\ 
                      
                                                     UHPDLQV 
     TXHULHG          
                                               UHFRUG         
     TXHU\             
                                                     UHPHPEHU 
     TXHVWLRQ      
                                                        
         UHDOWLPH 
                                                        
         UHDVRQ 
                                                      
           
                                                           
              
                                               UHFRUGLQJ           
              
                                                                       
             

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                       1612
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 157 of 167 Page ID
                                   #:5880

    >UHPLVVLRQVDF@                                                             3DJH

     UHPLVVLRQ        UHTXHVWHG                      
                   UHYLHZLQJ          
                             
                               UHYLHZV           
                      UHTXHVWLQJ                          
     UHPRWH               UJN                  
     UHPRWHO\                 ULJKW      
     UHPRYHG          UHTXHVWV                
     UHQWHG                                         
     UHQWHUV          UHTXLUHG                   
           UHTXLUHV                
                                     
     UHSHDW      UHVLGXH                     
                                   
     UHSKUDVH          UHVROYHV                 
             UHVRXUFHV                 
                      UHVSHFW             
     UHSRUW                                  
                UHVSRQG                  
     UHSRUWHG                               
     UHSRUWHU       UHVSRQVH                     
                              
          UHVSRQVHV                  
     UHSRUWV     UHVSRQVLELOLWLHV                   
                                 
          UHVW                      
                    UHVXOW     ULJKWV        UROH 
     UHSUHVHQW                                      
     UHSUHVHQWDWLYH        UHVXOWHG         ULQJ             URRP 
               UHWDLQHG          URDG               URXJKO\ 
                                      UREHUW        
     UHSUHVHQWHG      UHWXUQ          URGJHUV           USU 
     UHSUHVHQWLQJ                           
     UHSUHVHQWV       UHWXUQHG              UXEEHU 
                               UXOHV 
     UHTXHVW                            UXQ 
           UHYLHZ               
                                         V
                               
                                                                       V 
                     UHYLHZHG           
                                                                       VDF 
                                   
                                                                         

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1613
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 158 of 167 Page ID
                                   #:5881

    >VDIHVLPSO\@                                                                   3DJH

     VDIH                        VHSDUDWH 
             VHFRQG              
                               VHSWHPEHU 
                             
                                    VHUYHUV 
     VDZ                                        VHUYLFH 
     VD\LQJ        VHFWLRQ                      
             VHFXULQJ                  
                VHFXULW\                    
             VHH                 
                              VHW 
                                   VKDUH 
                                        VKDULQJ 
     VD\V                         
                                     
                                    
     VFDOH        VHHLQJ                           VKHHW 
            VHHNLQJ           VHL]XUHV         VKHHWV 
                        VHHQ        VHQG        VKLIW 
     VFKRRO                           VKLIWV 
                        VHHV                      
     VFRSH         VHL]H               VKLSSHG 
                                    VKRS 
                            VHQGLQJ          VKRZ 
              VHL]HG            VKRZLQJ 
                                        VLGH 
                      VHQGV        
                        VLJQ 
                                    VLJQDWXUH 
                     VHQVH      VLJQHG 
                                  
                         VHQW       VLOYHU 
                               
     VFRWW                                
     VFUDWFK                                  
            VHL]LQJ                             
     VHDOHG             VHL]XUH      VHQWHQFH         VLPSOHU 
     VHDUFK                                  VLPSO\ 
                   VHQWLQHO            
                             
                     

                                        Exhibit O
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1614
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 159 of 167 Page ID
                                   #:5882

    >VLQJOHVXEMHFW@                                                             3DJH

     VLQJOH                     VSHFXODWLRQ       VWDWHV 
     VLW                                       
     VLWH       VRUWV                      
               VRXQGHG                 
                 VRXQGV               
     VLWWLQJ                             
     VLWXDWLRQ                          
             VRXUFH                      
            VSHDN                           
                    VSHQW            VWDWXV 
     VLWXDWLRQV                    VSOLW       VWDWXWH 
             VSHDNLQJ          VSRNH       VWDWXWRU\ 
                      VSHFLDO             VWD\ 
     VL[                     VSULQJ            VWD\HG 
     VL]H                    VTXDG      VWHP 
     VOLJKW                          VWHQRJUDSKLF
     VOLJKWO\                            
                                   VWHQRJUDSKLFDOO\
     VPHOO                                 
     VPHOOV                           VWHSKDQLH 
     VPRRWK                   VWDII     VWHSV 
     VQLII                     VWHUQ 
                  VWDJH             VWHYHQ 
     VQLWNR                         VWDQGDUG        VWLFN\ 
                 VSHFLDOLVW                         VWRQHV 
     VRLO              VWDQGV          VWRUHG 
     VROHO\           VSHFLDOLVWV      VWDUW       VWRU\ 
     VROXWLRQV                     
     VRPHERG\                         VWUDLJKW 
                       VWDUWHG          VWUDLJKWIRUZDUG
                                                         
     VRPHRQH V          VSHFLDOL]HG      VWDUWLQJ     VWUHHW 
     VRRQ        VSHFLILF         VWDUWV           VWUHQJWKHQ 
                                 VWDWH          
     VRUU\        VSHFLILFDOO\                VWULNH 
                              VWURQJ 
                            VWDWHPHQW        VWXII 
     VRUW      VSHFLILFV                  VXE 
          VSHFXODWH                 VXEMHFW 
           VSHFXODWLQJ           VWDWHPHQWV         
                                             

                                      Exhibit O
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1615
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 160 of 167 Page ID
                                   #:5883

    >VXEMHFWHGWKLQN@                                                           3DJH

     VXEMHFWHG        VXSSOHPHQWDO              
     VXEPLW                          WDNHGRZQ           
           VXSSOHPHQWV                  
                                       
            VXSSOLHG                  
                 VXSSRUW                   
     VXEPLWV                         WHOOLQJ 
                                          WHPSRUDU\ 
     VXEPLWWHG                        WHQ 
                                WHQW 
                        WDNHQ              WHUP 
                     VXSSRUWLQJ        WDON       
     VXEPLWWLQJ                               WHUPLQDWH 
     VXEVFULEHG      VXSSRVHG                WHUPLQDWHG 
     VXEVHTXHQW       VXUH                  
                WDONHG       
                            WHUPLQDWHV 
     VXEVWDQFH                      WHUULEOH 
     VXIILFLHQW               WDONLQJ     WHVWLILHG 
     VXJJHVWLRQV                               
                                     WHVWLI\ 
     VXJJHVWV                               WHVWLI\LQJ 
                       VXUSULVHG               WHVWLPRQ\ 
     VXLWH         VXUURXQGLQJ              
     VXPPDU\                                  
                VZHDU                         
                     VZRUQ        WDQJLEOH         WKDQN 
     VXPPHU                 WDVNHG              
           V\VWHP           WDVNLQJ           
     VXSHUYLVLQJ                WHDFK        
     VXSHUYLVRU       V\VWHPV           WHDP       WKLQJ 
                     W                    
                                                   
                           W 
     VXSHUYLVRUV                                 WKLQJV 
                             
     VXSHUYLVRU\                                        
                           WDEOH 
                                                   
                           WDNH 
                                      WHDP V            
                             
                                     WHFKQLFDOO\      WKLQN 
                             
                                            WHFKV               
                             
     VXSSOHPHQW                              WHOO      
                             
                                           
                             

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1616
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 161 of 167 Page ID
                                   #:5884

    >WKLQNXQGHUVWDQG@                                                              3DJH

                   WRWDO                
                       WRXFK             W\SH 
                               WRXFKLQJ         
                WLPHIUDPH         WUDFLQJ            W\SHV 
                WLPHOLQH          WUDFNHG           W\SLFDOO\ 
                            WUDF\                         X
          WLPHOLQHV        WUDIILFNHU 
                                                                          X 
                         WUDIILFNLQJ 
                                                                          XV 
           WLPHO\              
                                                                            
                WLPHV      WUDLQLQJ 
                                                                            
                         
                                                                            
                                   WUDLQLQJV 
                                                                            
             WLPLQJ            WUDQVFULSW 
                                                                            
                WLQ\                
                                                                            
                   WLWOH          
                                                                            
     WKLQNLQJ          WLWXODU           WUDQVIHU 
                                                                            
     WKLUG              WRGD\       WUDQVIHUUHG 
                                                                            
     WKRXJKW                      
                                                                            
                            WUDQVPLWWHG
                                                                            
     WKRXVDQGV         WRGD\ V             
                                                                            
                       WRNHQ              WUDQVSRUWHG 
                                                                            
     WKUHH        WROG           WUXH 
                                                                            
                          
                                                                            
                       WRS              WUXWK 
                                                                            
     WKUHVKROG         WRSLF      WUXWKIXOO\ 
                                                                          XF 
                       WU\ 
                                                                          XK 
                                           
                                                                          XOWLPDWH 
     WLFNHW      WRSLFV         WU\LQJ 
                                                                            
     WLFNLQJ                     
                                                                          XOWLPDWHO\ 
     WLH                          
                                                                            
     WLHG                      
                                                                            
     WLPH                     
                                                                            
                           
                                                                            
                     
                                                                          XQFOHDU 
                           
                                                                          XQGHUVLJQHG 
                  WXHVGD\ 
                                                                          XQGHUVWDQG 
                      WXUQ 
                                                                            
                    WXUQHG 
                                                                            
                      WZR 
                                                                            
                       
                                                                            
                           
                                                                            

                                     Exhibit O
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                          1617
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 162 of 167 Page ID
                                   #:5885

    >XQGHUVWDQGZH YH@                                                           3DJH

           XQWXUQHG                 
            XSORDG                       
          XSORDGHG                 
          XVDR               
              XVGRMJRY                
          XVH                
                                     
     XQGHUVWDQGLQJ                      
                                   ZDQWHG 
                       YHUEDO              
            XVHIXO            YHUEDOO\          ZDUHKRXVH 
           XVSLV      YHULI\           ZDUUDQW 
            XVSY               YHULWH[W      
            XVXDO              YHULWH[WFRP          
              XVXDOO\                       
                          Y            YHUVLRQ           
     XQGHUZD\                                      
                           Y 
                                            YHUVXV       
                             
     XQIRUWXQDWHO\                                      
                           YD 
                                                               
                           YDJXH 
     XQLTXH                                  YLFWLPV        
                             
                                            YLFWRU       
                             
     XQLW                                         
                             
                                              
                           YDOLG 
                                                
                           YDOXDEOH 
                                              ZDUUDQWHG 
                           YDOXDEOHV 
                                   YLFWRUURGJHUV        ZDUUDQWV 
                             
                                                        
                           YDOXH 
                                      YLHZHG             
                             
                                  YLRODWLQJ         ZDVKLQJWRQ 
                           YDULDWLRQV 
     XQLWHG                             YV                  
                           YDULRXV 
                                             Z           ZDWHUPDUNHG
                             
                                                            
                           YDU\              ZDLW 
                                                        ZD\ 
                           YDXOW              
                                                         
                           YDXOWV          
                                                        
                                 ZDLWLQJ 
                                                            
                                ZDON 
                                                       ZD\V 
                                      
                                                        
                                  ZDQW 
     XQLWV                                                    ZH YH 
                                    
                                                                         
                                    

                                    Exhibit O
                                    9HULWH[W/HJDO6ROXWLRQV
                  aaa
                                        1618
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 163 of 167 Page ID
                                   #:5886

    >ZH YH]RRP@                                                               3DJH

               ZRZ 
     ZHEVWHU           ZULWH 
     ZHHN              
     ZHQW      ZULWLQJ 
            ZURWH 
                           [
      
                            [ 
     ZHVW 
     ZLONLVRQ                      \
     ZLOOLQJ            \ 
     ZLUH               \HDK 
     ZLWKGUDZDO           
     ZLWQHVV          
                
               
           \HDU 
             \HDUV 
             
                        
     ZRQGHULQJ           
                       ]
               ]HOOKDUW 
                
                 ]HUR 
                      ]RRP 
     ZRRGV 
     ZRUG 
     ZRUN 
      
      
      
      
      
     ZRUNLQJ 
      
     ZRUNLQJV 
     ZRUNORDG 
     ZRUNV 
     ZRUOG V 
     ZRUWK 
      

                                       Exhibit O
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1619
             
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 164 of 167 Page ID
                                   #:5887


                       &DOLIRUQLD&RGHRI&LYLO3URFHGXUH

                       $UWLFOH7UDQVFULSWRU5HFRUGLQJ

                                 6HFWLRQ

           

            D ,IWKHGHSRVLWLRQWHVWLPRQ\LV

           VWHQRJUDSKLFDOO\UHFRUGHGWKHGHSRVLWLRQRIILFHU

           VKDOOVHQGZULWWHQQRWLFHWRWKHGHSRQHQWDQGWR

           DOOSDUWLHVDWWHQGLQJWKHGHSRVLWLRQZKHQWKH

           2ULJLQDOWUDQVFULSWRIWKHWHVWLPRQ\IRUHDFK

           VHVVLRQRIWKHGHSRVLWLRQLVDYDLODEOHIRUUHDGLQJ

           FRUUHFWLQJDQGVLJQLQJXQOHVVWKHGHSRQHQWDQG

           WKHDWWHQGLQJSDUWLHVDJUHHRQWKHUHFRUGWKDWWKH

           UHDGLQJFRUUHFWLQJDQGVLJQLQJRIWKHWUDQVFULSW

           RIWKHWHVWLPRQ\ZLOOEHZDLYHGRUWKDWWKH

           UHDGLQJFRUUHFWLQJDQGVLJQLQJRIDWUDQVFULSWRI

           WKHWHVWLPRQ\ZLOOWDNHSODFHDIWHUWKHHQWLUH

           GHSRVLWLRQKDVEHHQFRQFOXGHGRUDWVRPHRWKHU

           VSHFLILFWLPH

            E )RUGD\VIROORZLQJHDFKQRWLFHXQGHU

           VXEGLYLVLRQ D XQOHVVWKHDWWHQGLQJSDUWLHVDQG

           WKHGHSRQHQWDJUHHRQWKHUHFRUGRURWKHUZLVHLQ

           ZULWLQJWRDORQJHURUVKRUWHUWLPHSHULRGWKH

           GHSRQHQWPD\FKDQJHWKHIRUPRUWKHVXEVWDQFHRI

           WKHDQVZHUWRDTXHVWLRQDQGPD\HLWKHUDSSURYH

           WKHWUDQVFULSWRIWKHGHSRVLWLRQE\VLJQLQJLWRU


                                 Exhibit O
                                   1620
             
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 165 of 167 Page ID
                                   #:5888


           UHIXVHWRDSSURYHWKHWUDQVFULSWE\QRWVLJQLQJLW

            F $OWHUQDWLYHO\ZLWKLQWKLVVDPHSHULRGWKH

           GHSRQHQWPD\FKDQJHWKHIRUPRUWKHVXEVWDQFHRI

           WKHDQVZHUWRDQ\TXHVWLRQDQGPD\DSSURYHRU

           UHIXVHWRDSSURYHWKHWUDQVFULSWE\PHDQVRID

           OHWWHUWRWKHGHSRVLWLRQRIILFHUVLJQHGE\WKH

           GHSRQHQWZKLFKLVPDLOHGE\FHUWLILHGRUUHJLVWHUHG

           PDLOZLWKUHWXUQUHFHLSWUHTXHVWHG$FRS\RIWKDW

           OHWWHUVKDOOEHVHQWE\ILUVWFODVVPDLOWRDOO

           SDUWLHVDWWHQGLQJWKHGHSRVLWLRQ

            G )RUJRRGFDXVHVKRZQWKHFRXUWPD\VKRUWHQ

           WKHGD\SHULRGIRUPDNLQJFKDQJHVDSSURYLQJRU

           UHIXVLQJWRDSSURYHWKHWUDQVFULSW

            H 7KHGHSRVLWLRQRIILFHUVKDOOLQGLFDWHRQWKH

           RULJLQDORIWKHWUDQVFULSWLIWKHGHSRQHQWKDVQRW

           DOUHDG\GRQHVRDWWKHRIILFHRIWKHGHSRVLWLRQ

           RIILFHUDQ\DFWLRQWDNHQE\WKHGHSRQHQWDQG

           LQGLFDWHRQWKHRULJLQDORIWKHWUDQVFULSWWKH

           GHSRQHQW VDSSURYDORIRUIDLOXUHRUUHIXVDOWR

           DSSURYHWKHWUDQVFULSW7KHGHSRVLWLRQRIILFHU

           VKDOODOVRQRWLI\LQZULWLQJWKHSDUWLHVDWWHQGLQJ

           WKHGHSRVLWLRQRIDQ\FKDQJHVZKLFKWKHGHSRQHQW

           WLPHO\PDGHLQSHUVRQ

            I ,IWKHGHSRQHQWIDLOVRUUHIXVHVWRDSSURYH

           WKHWUDQVFULSWZLWKLQWKHDOORWWHGSHULRGWKH


                                 Exhibit O
                                   1621
             
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 166 of 167 Page ID
                                   #:5889


           GHSRVLWLRQVKDOOEHJLYHQWKHVDPHHIIHFWDVWKRXJK

           LWKDGEHHQDSSURYHGVXEMHFWWRDQ\FKDQJHVWLPHO\

           PDGHE\WKHGHSRQHQW

             J 1RWZLWKVWDQGLQJVXEGLYLVLRQ I RQD

           VHDVRQDEOHPRWLRQWRVXSSUHVVWKHGHSRVLWLRQ

           DFFRPSDQLHGE\DPHHWDQGFRQIHUGHFODUDWLRQXQGHU

           6HFWLRQWKHFRXUWPD\GHWHUPLQHWKDWWKH

           UHDVRQVJLYHQIRUWKHIDLOXUHRUUHIXVDOWRDSSURYH

           WKHWUDQVFULSWUHTXLUHUHMHFWLRQRIWKHGHSRVLWLRQ

           LQZKROHRULQSDUW

             K 7KHFRXUWVKDOOLPSRVHDPRQHWDU\VDQFWLRQ

           XQGHU&KDSWHU FRPPHQFLQJZLWK6HFWLRQ 

           DJDLQVWDQ\SDUW\SHUVRQRUDWWRUQH\ZKR

           XQVXFFHVVIXOO\PDNHVRURSSRVHVDPRWLRQWR

           VXSSUHVVDGHSRVLWLRQXQGHUWKLVVHFWLRQXQOHVV

           WKHFRXUWILQGVWKDWWKHRQHVXEMHFWWRWKH

           VDQFWLRQDFWHGZLWKVXEVWDQWLDOMXVWLILFDWLRQRU

           WKDWRWKHUFLUFXPVWDQFHVPDNHWKHLPSRVLWLRQRIWKH

           VDQFWLRQXQMXVW



           ',6&/$,0(57+()25(*2,1*&,9,/352&('85(58/(6

           $5(3529,'(')25,1)250$7,21$/385326(621/<

           7+($%29(58/(6$5(&855(17$62)$35,/

           3/($6(5()(5727+($33/,&$%/(67$7(58/(6

           2)&,9,/352&('85()258372'$7(,1)250$7,21


                                 Exhibit O
                                   1622
Case 2:21-cv-04405-RGK-MAR Document 135-4 Filed 08/18/22 Page 167 of 167 Page ID
                                   #:5890
                      VERITEXT LEGAL SOLUTIONS
            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
       our litigation support and production standards.

       Veritext Legal Solutions is committed to maintaining
       the confidentiality of client and witness information,
       in accordance with the regulations promulgated under
       the Health Insurance Portability and Accountability
       Act (HIPAA), as amended with respect to protected
       health information and the Gramm-Leach-Bliley Act, as
       amended, with respect to Personally Identifiable
       Information (PII). Physical transcripts and exhibits
       are managed under strict facility and personnel access
       controls. Electronic files of documents are stored
       in encrypted form and are transmitted in an encrypted
       fashion to authenticated parties who are permitted to
       access the material. Our data is hosted in a Tier 4
       SSAE 16 certified facility.

       Veritext Legal Solutions complies with all federal and
       State regulations with respect to the provision of
       court reporting services, and maintains its neutrality
       and independence regardless of relationship or the
       financial outcome of any litigation. Veritext requires
       adherence to the foregoing professional and ethical
       standards from all of its subcontractors in their
       independent contractor agreements.

       Inquiries about Veritext Legal Solutions'
       confidentiality and security policies and practices
       should be directed to Veritext's Client Services
       Associates indicated on the cover of this document or
       at www.veritext.com.




                                 Exhibit O
                                   1623
